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 Attorneys for Plaintiff
 Corcept Therapeutics, Inc.

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 CORCEPT THERAPEUTICS, INC.,
                                                        Civil Action No. 18-3632 (SDW)(CLW)
                       Plaintiff,
                                                        FIRST AMENDED COMPLAINT FOR
        v.                                              PATENT INFRINGEMENT
 TEVA PHARMACEUTICALS USA, INC.
                                                        (Filed Electronically)
 and TEVA PHARMACEUTICALS
 INDUSTRIES LTD.,

                       Defendants.


        Plaintiff Corcept Therapeutics, Inc. (“Corcept”), by its undersigned attorneys, for its First

 Amended Complaint1 against defendants Teva Pharmaceuticals USA, Inc. (“Teva USA”) and

 Teva Pharmaceuticals Industries Ltd. (“Teva Ltd.,” collectively, “Teva”), alleges as follows:




 1
   Corcept files this First Amended Complaint for Patent Infringement as a matter of course
 pursuant to Fed. R. Civ. P. 15(a)(1)(B), as it is being filed within 21 days of service of Teva’s
 Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) (D.I. 12), which was filed on June 15,
 2018. As a result of filing the Amended Complaint, Corcept does not intend to respond to Teva’s
 June 15 Motion to Dismiss because amendment of a complaint as of right moots a previously
 filed motion to dismiss. See Harnish v. Widener Univ. Sch. Of Law, Civ. No. 12-608, 2012 WL
 2576353, at *3 (D.N.J. July 3, 2012).
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                                        Nature of the Action

        1.        This complaint is an action for patent infringement under the patent laws of the

 United States, 35 U.S.C. §100, et seq., arising from Teva’s filing of an Abbreviated New Drug

 Application (“ANDA”) No. 211436 (“Teva’s ANDA”) with the United States Food and Drug

 Administration (“FDA”) seeking approval to commercially market a generic version of

 Corcept’s 300 mg mifepristone drug product (“Teva’s Proposed Product”) prior to the expiration

 of United States Patent Nos. 8,921,348 (“’348 patent”), 9,829,495 (“’495 patent”), and 9,943,526

 (“’526 patent) (collectively, “the patents-in-suit”) owned by Corcept.

                                             The Parties

        2.        Plaintiff Corcept is a biopharmaceutical company committed to improving the

 lives of patients worldwide. Corcept focuses on, and heavily invests in, the discovery and

 development of drugs that regulate the effects of cortisol for the treatment of severe and life-

 threatening conditions, including Cushing’s syndrome. Corcept is an industry leader for the

 development of orphan-status rare disease drugs, including Korlym®. Corcept is a corporation

 organized and existing under the laws of the State of Delaware, having a principal place of

 business at 149 Commonwealth Dr., Menlo Park, CA 94025.

        3.        On information and belief, Defendant Teva USA is a corporation organized and

 existing under the laws of the State of Delaware, having a principal place of business at 1090

 Horsham Road, North Wales, Pennsylvania 19454.

        4.        On information and belief, Teva Ltd. is a corporation organized and existing

 under the laws of Israel, having a principal place of business at 5 Basel Street, Petach Tikva,

 49131, Israel.

        5.        On information and belief, Teva USA is a wholly-owned subsidiary of Teva

 Ltd.


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         6.          On information and belief, Teva is in the business of marketing, distributing,

 and selling pharmaceutical drugs, including generic pharmaceutical drugs manufactured by Teva,

 throughout the United States, including this Judicial District.

         7.          On information and belief, Teva USA, in collaboration with other Teva entities,

 prepared and submitted Teva’s ANDA and continues to collaborate in seeking FDA approval of

 that application.

         8.          On information and belief, the acts of Teva USA complained of herein were

 done at the direction of, with the authorization of, or with the cooperation, participation, or

 assistance of, or at least in part for the benefit of, Teva Ltd.

                                           The Patents-in-Suit

         9.          On December 30, 2014, the United States Patent and Trademark Office

 (“USPTO”) duly and lawfully issued the ’348 patent, entitled, “Optimizing mifepristone levels in

 plasma serum of patients suffering from mental disorders treatable with glucocorticoid receptor

 antagonists” to Corcept as assignee of the inventor Joseph K. Belanoff. A copy of the ’348

 patent is attached hereto as Exhibit A.

         10.         On November 28, 2017, the USPTO duly and lawfully issued the ’495 patent,

 entitled, “Method for differentially diagnosing ACTH dependent Cushing’s Syndrome” to

 Corcept as assignee of the inventor Andreas G. Moraitis. A copy of the ’495 patent is attached

 hereto as Exhibit B.

           11.       On April 17, 2018, the USPTO duly and lawfully issued the ’526 patent,

   entitled “Optimizing Mifepristone Levels for Cushing’s Patients” to Corcept as assignee of the

   inventors Joseph Belanoff and Coleman Gross. A copy of the ’526 patent is attached hereto as

   Exhibit C.




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                                   The KORLYM® Drug Product

        12.       Corcept holds an approved New Drug Application (“NDA”) under Section

 505(a) of the Federal Food Drug and Cosmetic Act (“FFDCA”), 21 U.S.C. § 355(a), for

 mifepristone tablets (NDA No. 202107), which it sells under the trade name KORLYM®.

 KORLYM® is an FDA-approved medication for the treatment of hyperglycemia secondary to

 hypercortisolism in adult patients with endogenous Cushing’s syndrome who have type 2

 diabetes mellitus or glucose intolerance and have failed surgery or are not candidates for surgery.

 The claims of the patents-in-suit cover, inter alia, methods of use and administration of

 mifepristone and methods of use of concurrent treatments for patients with Cushing’s syndrome.

        13.       Pursuant to 21 U.S.C. § 355(b)(1) and attendant FDA regulations, the

 patents-in-suit are listed in the FDA publication, “Approved Drug Product with Therapeutic

 Equivalence Evaluations” (the “Orange Book”), with respect to KORLYM®.

                                      Jurisdiction and Venue

        14.       This Court has jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. §§ 1331, 1338(a), 2201, and 2202.

        15.       This Court has personal jurisdiction over Teva USA by virtue of, inter alia,

 Teva USA’s systematic and continuous contacts with the State of New Jersey. On information

 and belief, Teva USA is registered with the State of New Jersey’s Division of Revenue and

 Enterprise Services as a business operating in New Jersey under Business Id. No. 0100250184.

 On information and belief, Teva USA is registered with the State of New Jersey’s Department of

 Health as a drug “manufacturer and wholesaler” and as a drug “wholesaler” under Registration

 Nos. 5000583 and 5003436, respectively. On information and belief, Teva USA has employees

 in New Jersey facilities, including at 8 Gloria Lane, Fairfield, New Jersey 07004 and at 208

 Passaic Avenue, Fairfield, New Jersey 07004. See Indivior Inc., et al. v. Teva Pharmaceuticals


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 USA, Inc., Civil Action No. 17-7115, D.I. 6 at ¶ 8. On information and belief, Teva USA also

 has employees in a New Jersey facility located at 400 Interpace Pkwy #3, Parsippany, New

 Jersey 07054. See TEVA PHARMACEUTICALS INDUSTRIES LIMITED, Annual Report (Form 10-K),

 at Ex. 10.31, Ex. 10.32 (February 12, 2018). On information and belief, Teva USA has a

 registered agent for service of process in New Jersey. See Indivior Inc., et al. v. Teva

 Pharmaceuticals USA, Inc., Civil Action No. 17-7115, D.I. 6 at ¶ 7. By virtue of Teva USA’s

 physical presence in New Jersey, this Court has personal jurisdiction over Teva USA.

         16.       On information and belief, Teva USA has conducted business in this Judicial

 District and has purposefully availed itself of this forum by, among other things, manufacturing,

 marketing, distributing, offering for sale, generating revenue or selling pharmaceutical products,

 including generic drug products, throughout the United States, including this Judicial District.

         17.       On information and belief, Teva USA has prepared and/or aided in the

 preparation and submission of ANDAs to the FDA.

         18.       On information and belief, this Judicial District will be a destination for the

 generic drug product described in Teva’s ANDA.

         19.       On information and belief, Teva USA was sued for patent infringement in this

 Judicial District and did not contest personal jurisdiction in this Judicial District in at least the

 following cases: Amarin Pharma, Inc., et al. v. Teva Pharmaceuticals USA, Inc., Civil Action

 No. 14-3558; Boehringer Ingelheim Pharma GmBH & Co. KG, et al. v. Teva Pharmaceuticals

 USA, Inc., et al., Civil Action No. 14-7811; Novo Nordisk Inc., et al., v. Teva Pharmaceuticals

 USA, Inc., Civil Action No. 14-4248; Otsuka Pharmaceutical Co., Ltd. v. Teva Pharmaceuticals

 USA, Inc., et al., Civil Action No. 14-5878; and United Therapeutics Corp. v. Teva

 Pharmaceuticals USA, Inc., Civil Action No. 14-5498. On information and belief, Teva USA




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 purposefully availed itself of the benefits of this forum by filing counterclaims in each of those

 actions.

        20.       On information and belief, Teva USA availed itself of this forum by bringing

 civil actions for patent infringement in this forum in at least the following cases: Teva

 Pharmaceuticals USA, Inc., Teva Pharmaceutical Industries Ltd., and Teva Neuroscience, Inc. v.

 Sandoz Inc., et al., Civil Action No. 17-275 (FLW)(DEA) (D.N.J.); Teva Pharmaceuticals USA,

 Inc., Teva Pharmaceutical Industries Ltd., and Teva Neuroscience, Inc. v. Dr. Reddy’s

 Laboratories, Ltd., Civil Action No. 17-517 (FLW)(DEA) (D.N.J.); Teva Neuroscience, Teva

 Pharmaceutical Industries Ltd., Teva Pharmaceutical USA, Inc., and Yeda Research and

 Development Co., Ltd. v. Dr. Reddy’s Laboratories, Inc., et al., Civil Action No. 14-5672

 (MAS)(TJB) (D.N.J.); Teva Pharmaceuticals USA, Inc., et al. v. Dr. Reddy’s Laboratories, Ltd.,

 et al., Civil Action No. 15-471; and, Teva Pharmaceuticals USA, Inc., et al. v. Synthon

 Pharmaceuticals, Inc., et al., Civil Action No. 15-472.

        21.       In its Offer of Confidential Access, Teva USA stated that it “irrevocably

 submit[ted] to and accept[ed], generally and unconditionally, the exclusive personal jurisdiction

 … of the U.S. District Court for the State of New Jersey [and] waive[d] its right to assert any

 objection or defense based on venue….”

        22.       This Court has personal jurisdiction over Teva Ltd. because, inter alia, it: (1)

 has purposely availed itself of the privilege of doing business in New Jersey, including directly

 or indirectly through its subsidiary, agent, and/or alter ego, Teva USA, a company registered

 with the State of New Jersey’s Department of Health as a drug manufacturer and wholesaler; and

 (2) has maintained extensive and systematic contacts with the State of New Jersey, including




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 manufacturing, marketing, distributing, offering for sale, generating revenue or selling

 pharmaceutical products in New Jersey, including through, directly or indirectly, Teva USA.

         23.      On information and belief, Teva Ltd. was previously sued in this Judicial

 District and did not challenge personal jurisdiction. See, e.g., Boehringer Ingelheim Pharma

 GmbH & Co., et al. v. Teva Pharmaceuticals USA, Inc., et al., Civil Action No. 14-7811;

 Janssen Prods., L.P., et al. v . Teva Pharmaceuticals USA, Inc., et al., Civil Action No. 13-7576.

         24.      Teva Ltd. availed itself of this Court’s jurisdiction by initiating litigation in this

 Judicial District. See, e.g., Teva Pharmaceuticals USA, Inc., Teva Pharmaceutical Industries

 Ltd., and Teva Neuroscience, Inc. v. Sandoz Inc., et al., Civil Action No. 17-275; Teva

 Pharmaceuticals USA, Inc., Teva Pharmaceutical Industries Ltd., and Teva Neuroscience, Inc. v.

 Dr. Reddy’s Laboratories, Ltd., Civil Action No. 17-517; Teva Neuroscience, Teva

 Pharmaceutical Industries Ltd., Teva Pharmaceutical USA, Inc., and Yeda Research and

 Development Co., Ltd. v. Dr. Reddy’s Laboratories, Inc., et al., Civil Action No. 14-5672; Teva

 Pharmaceuticals USA, Inc., et al. v. Dr. Reddy’s Laboratories, Ltd., et al., Civil Action No. 15-

 471, Teva Pharmaceuticals USA, Inc., et al. v. Synthon Pharmaceuticals, Inc., et al., Civil

 Action No. 15-472.

         25.      On information and belief, Teva USA and Teva Ltd. have worked in concert

 with respect to regulatory approval, manufacturing, marketing, distributing, offering for sale, or

 selling generic pharmaceutical products throughout the United States, including in this Judicial

 District.

         26.      On information and belief, Teva USA has acted at the direction and for the

 benefit of Teva Ltd., and Teva Ltd. has controlled and/or dominated Teva USA.




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        27.       On information and belief, Teva Ltd. has prepared and/or aided in the

 preparation and submission of ANDAs to the FDA, including through, directly or indirectly,

 Teva USA.

        28.       This Court holds personal jurisdiction over Teva because, inter alia, Teva

 committed an act of patent infringement in this Judicial District under 35 U.S.C. § 271(e)(2) and

 sent notice of that infringement to Corcept from the State of New Jersey.

        29.       On information and belief, Teva’s future course of conduct will lead to acts of

 patent infringement in New Jersey. Teva’s future course of conduct will lead to foreseeable

 harm and injury to Corcept in New Jersey and this Judicial District.

        30.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and/or

 1400(b).

                                  Acts Giving Rise To This Suit

        31.       No earlier than January 31, 2018, Teva sent written notice of a Paragraph IV

 Certification (“Teva’s 1st Notice Letter”) to Corcept. According to Teva’s 1st Notice Letter,

 Teva filed an ANDA pursuant to Section 505 of the FFDCA seeking approval to engage in the

 commercial manufacture, use, offer for sale, sale, or importation into the United States of Teva’s

 Proposed Product before the ’348 patent and ’495 patent expire.

        32.       Teva’s 1st Notice Letter alleges that the claims of the ’348 patent and ’495

 patent are invalid and/or will not be infringed by the activities described in Teva’s ANDA.

        33.       On information and belief, in connection with the filing of its ANDA as

 described above, Teva provided a written certification to the FDA, as called for by Section 505

 of the FFDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV) (“Teva’s 1st Paragraph IV Certification”),

 alleging that the claims of the ’348 patent and ’495 patent are invalid, unenforceable, and/or will

 not be infringed by the activities described in Teva’s ANDA.


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         34.       No earlier than May 14, 2018, Teva sent written notice of a second Paragraph

 IV Certification (“Teva’s 2nd Notice Letter”) to Corcept. According to Teva’s 2nd Notice Letter

 Teva filed an ANDA pursuant to Section 505 of the FFDCA seeking approval to engage in the

 commercial manufacture, use, offer for sale, sale, or importation into the United States of Teva’s

 Proposed Product before the ’526 patent expires.

         35.       Teva’s 2nd Notice Letter alleges that the claims of the ’526 patent are invalid

 and/or will not be infringed by the activities described in Teva’s ANDA.

         36.       On information and belief, in connection with ANDA No. 211436, Teva

 provided a written certification to the FDA, as called for by Section 505 of the FFDCA, 21

 U.S.C. § 355(j)(2)(A)(vii)(IV) (“Teva’s 2nd Paragraph IV Certification”), alleging that the

 claims of the ’526 patent are invalid, unenforceable, and/or will not be infringed by the activities

 described in Teva’s ANDA.

         37.       On information and belief, following FDA approval of Teva’s ANDA, Teva

 USA and Teva Ltd will work in concert with one another to make, use, offer to sell, or sell

 Teva’s Proposed Products throughout the United States, or import such generic products into the

 United States.

                             Count I: Infringement of the ’348 Patent

         38.       Corcept repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         39.       Teva’s submission of its ANDA and accompanying Paragraph IV Certifications

 to engage in the commercial manufacture, use, offer for sale, sale, or importation into the United

 States of Teva’s Proposed Products, prior to the expiration of the ’348 patent, constitutes

 infringement of one or more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).




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        40.       A justiciable controversy exists between the parties hereto as to the

 infringement of the ’348 patent.

        41.       Unless enjoined by this Court, upon FDA approval of Teva’s ANDA, Teva will

 infringe one or more claims of the ’348 patent under 35 U.S.C. § 271(a) by making, using,

 offering to sell, selling, and/or importing Teva’s Proposed Products in the United States.

        42.       Unless enjoined by this Court, upon FDA approval of Teva’s ANDA, Teva will

 induce infringement of one or more claims of the ’348 patent under 35 U.S.C. § 271(b) by

 making, using, offering to sell, selling, and/or importing Teva’s Proposed Product in the United

 States. On information and belief, upon FDA approval of Teva’s ANDA, Teva will intentionally

 encourage acts of direct infringement with knowledge of the ’348 patent and knowledge that its

 acts are encouraging infringement. For example, according to Teva’s 1st Notice Letter, Teva

 will instruct prescribers to increase the dose of Teva’s Proposed Products “based on a clinical

 assessment of tolerability and degree of improvement in Cushing’s syndrome manifestations.”

 On information and belief, Teva will also instruct prescribers that, in the absence of

 improvements in Cushing’s syndrome manifestations, prescribers should consider measuring a

 trough plasma KORLYM level to guide additional titration. On information and belief, Teva

 will further instruct prescribers that in a study of patients with Cushing’s syndrome, all patients

 who reached a trough KORLYM concentration of at least 2200 ng/ml had significant clinical

 improvement based on a centrally-adjudicated, eight-category assessment of clinical response.

 These instructions will cause the prescribers to perform the steps claimed in the ’348 patent.

        43.       Unless enjoined by this Court, upon FDA approval of Teva’s ANDA, Teva will

 contributorily infringe one or more claims of the ’348 patent under 35 U.S.C. § 271(c) by

 making, using, offering to sell, selling, and/or importing Teva’s Proposed Product in the United




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 States. On information and belief, Teva knew and knows that Teva’s Proposed Product is

 designed for a use that infringes one or more claims of the ’348 patent, and Teva’s Proposed

 Product lacks a substantial non-infringing use. For example, according to Teva’s 1st Notice

 Letter, “FDA has received an Abbreviated New Drug Application (‘ANDA’) from Teva for

 Mifepristone Tablets, 300 mg.... The ANDA was submitted under 21 U.S.C. § 355(j)(1) and

 (2)(A), and contains Paragraph IV certifications to obtain approval to engage in the commercial

 manufacture, use or sale of Mifepristone Tablets, 300 mg, before the expiration of U.S. Patent

 Nos. 8,921,348 and 9,829,495....”

         44.       Failure to enjoin Teva’s infringement of the ’348 patent will substantially and

 irreparably damage Corcept.

         45.       Corcept does not have an adequate remedy at law.

                            Count II: Infringement of the ’495 Patent

         46.       Corcept repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         47.       Teva’s submission of its ANDA and accompanying Paragraph IV Certifications

 to engage in the commercial manufacture, use, offer for sale, sale, or importation into the United

 States of Teva’s Proposed Product, prior to the expiration of the ’495 patent, constitutes

 infringement of one or more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

         48.       A justiciable controversy exists between the parties hereto as to the

 infringement of the ’495 patent.

         49.       Unless enjoined by this Court, upon FDA approval of Teva’s ANDA, Teva will

 infringe one or more claims of the ’495 patent under 35 U.S.C. § 271(a) by making, using,

 offering to sell, selling, and/or importing Teva’s Proposed Product in the United States.




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        50.         Unless enjoined by this Court, upon FDA approval of Teva’s ANDA, Teva will

 induce infringement of one or more claims of the ’495 patent under 35 U.S.C. § 271(b) by

 making, using, offering to sell, selling, and/or importing Teva’s Proposed Product in the United

 States. On information and belief, upon FDA approval of Teva’s ANDA, Teva will intentionally

 encourage acts of direct infringement with knowledge of the ’495 patent and knowledge that its

 acts are encouraging infringement. For example, according to Teva’s 1st Notice Letter, Teva

 will instruct prescribers to determine whether a patient with Cushing’s syndrome is a candidate

 for surgery. The ’495 patent covers a method for differentially diagnosing ectopic ACTH

 syndrome and Cushing’s disease, which prescribers will use to determine whether a patient with

 Cushing’s syndrome is a candidate for surgery. The ’495 patent explains that “[c]orrect

 differential diagnosis between [] Cushing Disease and ectopic ACTH syndrome is important for

 endocrinologists to recommend transphenoidal surgery or appropriate imaging to identify source

 of the ectopic ACTH secretion.” ’495 patent at 2:35-39. Teva’s instruction to prescribers to

 determine whether a patient is a candidate for surgery will cause the prescribers to differentially

 diagnose ectopic ACTH syndrome and Cushing’s disease according to the methods claimed in

 the ’495 patent.

        51.         Unless enjoined by this Court, upon FDA approval of Teva’s ANDA, Teva will

 contributorily infringe one or more claims of the ’495 patent under 35 U.S.C. § 271(c) by

 making, using, offering to sell, selling, and/or importing Teva’s Proposed Product in the United

 States. On information and belief, Teva knew and knows that Teva’s Proposed Product is

 designed for a use that infringes one or more claims of the ’495 patent, and Teva’s Proposed

 Product lacks a substantial non-infringing use. For example, according to Teva’s 1st Notice

 Letter, “FDA has received an Abbreviated New Drug Application (‘ANDA’) from Teva for




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 Mifepristone Tablets, 300 mg.... The ANDA was submitted under 21 U.S.C. § 355(j)(1) and

 (2)(A), and contains Paragraph IV certifications to obtain approval to engage in the commercial

 manufacture, use or sale of Mifepristone Tablets, 300 mg, before the expiration of U.S. Patent

 Nos. 8,921,348 and 9,829,495....”

         52.       Failure to enjoin Teva’s infringement of the ’495 patent will substantially and

 irreparably damage Corcept.

         53.       Corcept does not have an adequate remedy at law.

                            Count III: Infringement of the ’526 Patent

         54.       Corcept repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         55.       Teva’s submission of its ANDA and accompanying Paragraph IV Certifications

 to engage in the commercial manufacture, use, offer for sale, sale, or importation into the United

 States of Teva’s Proposed Products, prior to the expiration of the ’526 patent, constitutes

 infringement of one or more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

         56.       A justiciable controversy exists between the parties hereto as to the

 infringement of the ’526 patent.

         57.       Unless enjoined by this Court, upon FDA approval of Teva’s ANDA, Teva will

 infringe one or more claims of the ’526 patent under 35 U.S.C. § 271(a) by making, using,

 offering to sell, selling, and/or importing Teva’s Proposed Products in the United States.

         58.       Unless enjoined by this Court, upon FDA approval of Teva’s ANDA, Teva will

 induce infringement of one or more claims of the ’526 patent under 35 U.S.C. § 271(b) by

 making, using, offering to sell, selling, and/or importing Teva’s Proposed Product in the United

 States. On information and belief, upon FDA approval of Teva’s ANDA, Teva will intentionally

 encourage acts of direct infringement with knowledge of the ’526 patent and knowledge that its


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 acts are encouraging infringement. For example, according to Teva’s 2nd Notice Letter, Teva

 will instruct prescribers to increase the dose of Teva’s Proposed Products “based on a clinical

 assessment of tolerability and degree of improvement in Cushing’s syndrome manifestations.”

 On information and belief, Teva will also instruct prescribers that, in the absence of

 improvements in Cushing’s syndrome manifestations, prescribers should consider measuring a

 trough plasma KORLYM level to guide additional titration. On information and belief, Teva

 will further instruct prescribers that in a study of patients with Cushing’s syndrome, all patients

 who reached a trough KORLYM concentration of at least 2200 ng/ml had significant clinical

 improvement based on a centrally-adjudicated, eight-category assessment of clinical response.

 These instructions will cause the prescribers to perform the steps claimed in the ’526 patent.

        59.       Unless enjoined by this Court, upon FDA approval of Teva’s ANDA, Teva will

 contributorily infringe one or more claims of the ’526 patent under 35 U.S.C. § 271(c) by

 making, using, offering to sell, selling, and/or importing Teva’s Proposed Product in the United

 States. On information and belief, Teva knew and knows that Teva’s Proposed Product is

 designed for a use that infringes one or more claims of the ’526 patent, and Teva’s Proposed

 Product lacks a substantial non-infringing use. For example, according to Teva’s 2nd Notice

 Letter, “FDA has received a Patent Amendment to an Abbreviated New Drug Application

 (‘ANDA’) from Teva for Mifepristone Tablets, 300 mg.... The ANDA was submitted under 21

 U.S.C. § 355(j)(1) and (2)(A), and contains Paragraph IV certifications to obtain approval to

 engage in the commercial manufacture, use or sale of Mifepristone Tablets, 300 mg, before the

 expiration of U.S. Patent No. 9,943,526....”

        60.       Failure to enjoin Teva’s infringement of the ’526 patent will substantially and

 irreparably damage Corcept.




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        61.       Corcept does not have an adequate remedy at law.

                                      PRAYER FOR RELIEF

        62.       WHEREFORE, Plaintiff Corcept respectfully requests the following relief:

        (A)     A Judgment that Teva infringed the ’348, ’495, and ’526 patents by submitting

 ANDA No. 211436;

        (B)     A Judgment that Teva has infringed, and that Teva’s making, using, offering to

 sell, selling, or importing Teva’s Proposed Product will infringe one or more claims of the ’348,

 ’495, and ’526 patents;

        (C)     An Order that the effective date of FDA approval of ANDA No. 211436 be a date

 no earlier than the later of the expiration of the ’348, ’495, and ’526 patents, or any later

 expiration of exclusivity to which Corcept is or becomes entitled;

        (D)     Preliminary and permanent injunctions enjoining Teva and its officers, agents,

 attorneys and employees, and those acting in privity or concert with them, from making, using,

 offering to sell, selling, or importing Teva’s Proposed Product until after the expiration of the

 ’348, ’495, and ’526 patents, or any later expiration of exclusivity to which Corcept is or

 becomes entitled;

        (E)     A permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B), restraining and

 enjoining Teva, its officers, agents, attorneys and employees, and those acting in privity or

 concert with them, from practicing any method claimed in the ’348, ’495, and ’526 patents, or

 from actively inducing or contributing to the infringement of any claim of the ’348, ’495, and

 ’526 patents, until after the expiration of the ’348, ’495, and ’526 patents, or any later expiration

 of exclusivity to which Corcept is or becomes entitled;




                                                 - 15 -
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        (F)     A Judgment that the commercial manufacture, use, importation into the United

 States, offer for sale, and/or sale of Teva’s Proposed Product will directly infringe, induce and/or

 contribute to infringement of the ’348, ’495, and ’526 patents;

        (G)     To the extent that Teva has committed any acts with respect the methods claimed

 in the ’348, ’495, and ’526 patents, other than those acts expressly exempted by 35 U.S.C. §

 271(e)(1), a Judgment awarding Corcept damages for such acts;

        (H)     If Teva engages in the commercial manufacture, use, importation into the United

 States, offer for sale, and/or sale of Teva’s Proposed Product prior to the expiration of the ’348,

 ’495, and ’526 patents, a Judgment awarding damages to Corcept resulting from such

 infringement, together with interest;

        (I)     A Judgment declaring that the patents-in-suit remain valid and enforceable;

        (J)     A Judgment awarding Corcept its costs and expenses incurred in this action; and

        (K)     Such further and other relief as this Court may deem just and proper.



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                        EXHIBIT A
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  (12)   United States Patent                                              (10) Patent No.:     US 8,921,348 B2
         Belanoff                                                          (45) Date of Patent:     Dec. 30, 2014

  (54) OPTIMIZING MIFEPRISTONE LEVELS IN                               (52) U.S. Cl.
        PLASMA SERUM OF PATIENTS SUFFERING                                   CPC                GO1N 33/49 (2013.01); A 61K 31/56
        FROM MENTAL DISORDERS TREATABLE                                                           (2013.01); A61K 31/575 (2013.01)
        WITH GLUCOCORTICOID RECEPTOR                                           USPC                                          514/178
        ANTAGONISTS                                                    (58)    Field of Classification Search
                                                                               USPC                                          514/178
  (71) Applicant: Corcept Therapeutics, Menlo Park, CA                         See application file for complete search history.
                   (US)
                                                                       (56)                    References Cited
  (72) Inventor: Joseph K. Belanoff, Woodside, CA (US)
                                                                                       U.S. PATENT DOCUMENTS
  (73) Assignee: Corcept Therapeutics, Inc., Menlo                            6,964,953 B2     11/2005 Belanoff
                  Park, CA (US)
                                                                                         OTHER PUBLICATIONS
  ( * ) Notice:      Subject to any disclaimer, the term of this
                     patent is extended or adjusted under 35           Medical Encyclopedia of Medline (http:// http://www.nlm.nih.gov/
                                                                       medlineplus/ency/article/003430.htm), 4 pages, Oct. 2005.
                     U.S.C. 154(b) by 0 days.
                                                                       Sarkar, "Mifepristone: bioavailability, pharmacokinetics and use-
                                                                       effectiveness," European Journal of Obstetrics and Gynecology and
  (21)   Appl. No.: 14/065,792                                         Reproductive Biology, vol. 101, pp. 113-120 (2002).
  (22)   Filed:      Oct. 29, 2013                                     Primary Examiner — San-Ming Hui
                                                                       (74) Attorney, Agent, or Firm Kilpatrick Townsend &
  (65)                   Prior Publication Data                        Stockton LLP
         US 2014/0162993 Al             Jun. 12, 2014
                                                                       (57)                      ABSTRACT
                  Related U.S. Application Data                        The present invention provides a method for optimizing lev-
                                                                       els of mifepristone in a patient suffering from a mental dis-
         Continuation of application No. 12/199,114, filed on
                                                                       order amenable to treatment by mifepristone. The method
         Aug. 27, 2008, now Pat. No. 8,598,149.
                                                                       comprises the steps of treating the patient with seven or more
         Provisional application No. 60/969,027, filed on Aug.         daily doses of mifepristone over a period of seven or more
         30, 2007.                                                     days; testing the serum levels of the patient to determine
                                                                       whether the blood levels of mifepristone are greater than 1300
         Int. Cl.                                                      ng/mL; and adjusting the daily dose of the patient to achieve
         A61K 31/56                (2006.01)                           mifepristone blood levels greater than 1300 ng/mL.
         GO1N 33/49                (2006.01)
         A61K 31/575               (2006.01)                                           7 Claims, 6 Drawing Sheets



                                                        BPRS PSS -Days 7 and 56 Response


                                                           35'0
                                   35 -

                                   30 -
                   % of patients                                                             26%
                   who have at     25
                   least 50%
                   reduction
                   from baseline   20 -1
                   in BPRS PSS
                   scores at
                   days 7 and 56   15 H

                                   10




                                                         Corlux                          Placebo
                                                        n= 443                               n= 281
                                        p‹.01
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                                                                                                  lualud'S11
Figure 1.



                                           BPRS PSS -Days 7 and 56 Response
                            40
                                               35%
                            35 -

                            30 -
            % of patients                                               26%
            who have at
            least 50%       25 -
            reduction
            from baseline   20 -I




                                                                                                 9 Jo I Oat's
            in BPRS PSS
            scores at
            days 7 and 56   15

                            10 -

                             5 -?

                             0




                                                                                                 ZH8tìI Z6`8 SR
                                             Corlux                    Placebo
                                            n=443                       n= 281
                                 p‹.01
                Case 1:18-cv-03632-RMB-LDW Document 15 Filed 07/06/18 Page 20 of 64 PageID: 209




                                                                                                  lualud °Sil
Figure 1.

                                         BPRS PSS Days 7 and 56 Response
                        45
                                        40%
                        40 -
                        35 -
                        3O -                                 27%                   26%
       % of patients
       who have at
       least a 50%      25
       reduction




                                                                                                      9 .19 Z WIN
       from baseline    20
       in BPRS PSS
       scores at days   15 -
       7 and 56
                        10-
                         5




                                                                                                   Zll817£ `1Z6`8Sf1
                         0                                 <1357
                                    >1357                                        Placebo
                                      n=269                 n=146                 n=281

                                   P <.001
               Case 1:18-cv-03632-RMB-LDW Document 15 Filed 07/06/18 Page 21 of 64 PageID: 210




                                                                                                 lualud °Sil
Figure 1

                                         BPRS PSS - Days 7 and 56 Response
                        50
                        45 -            44%
                        40 -

       % of patients                                          29%
       who have at      30
       'east a 50%
       reduction        25




                                                                                                   9JO £ PaMS
       from baseline
       Ire BPRS PSS     20
       scores at days
       7 and 56         15 -
                        10 -
                             -




                                                                                                 Zll817 £`1Z6`8Sf1
                        0            >1661                 <1661                 Placebo
                                       n=166                n=249                  n=281

                                 p ‹.00001
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                                                                                                   lualud °Sil
Figure 4


                                          BPRS PSS Responses at Days 7 and 56
                         70
                        60
                         50 -                    47%
           % of patients
           who have at
           least a 50%    40
           reduction
                                                                             34%




                                                                                                       9JO17 JamiS
           from baseline
           in BPRS PSS
                          30
           scores at days
           I and 56       20
                        10




                                                                                                    Zll817 £`1Z6`8Sf1
                          0
                                           Corlux                          Placebo
                                              n=76                           n=76
                               p= .10
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                                                                                                lualud °Sil
Figure 5

                                     BPRS PSS Days 7 and 56 Response
                    70

                    60
                                     54%




                                                                                                   rtoz `of *aaa
                    50
   % of patients
   who have at
   'east a 50%      40-
   reduction
                                                                                 34%
                                                           31%




                                                                                                   9 JOS WIN
   from baseline
   in BPRS PSS
   scores at days
   7 and 56
                    2O

                    10-




                                                                                                   Zll817£`1Z6`8Sf1
                    0
                                >1357                  <1357                  Placebo
                                  n=56                   n=13                  n=76
                           p= .026
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                                                                                                 lualud*S'il
Figure 6.

                                          BPRS PSS -Days 7 and 56 Response
                        70

                        60 -              58%

                        50 -
       % of patients
       who have at      40 --                               39%
       least a 50%                                                                34%
       reduction




                                                                                                     9 JO9 laatiS
       from baseline    30
       in BPRS PSS
       scores at days
       7 and 56         20




                                                                                                 Zil817£`1Z6`8Sfl
                                                                                Placebo
                                                                                 n=76
                                p= .016
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                                                      US 8,921,348 B2
                               1                                                                   2
       OPTIMIZING MIFEPRISTONE LEVELS IN                                In a second embodiment, the present invention provides a
      PLASMA SERUM OF PATIENTS SUFFERING                             kit for treating a mental disorder amenable to treatment by
       FROM MENTAL DISORDERS TREATABLE                               mifepristone, the kit comprising: seven daily doses of mife-
        WITH GLUCOCORTICOID RECEPTOR                                 pristone; and a plasma sampling collection device suitable for
                 ANTAGONISTS                                     5   detecting mifepristone serum levels.

            CROSS-REFERENCES TO RELATED                                    BRIEF DESCRIPTION OF THE DRAWINGS
                    APPLICATIONS
                                                                       FIG. 1 shows a comparison of patients receiving Corlux vs.
     This application claims priority to U.S. Provisional Appli-10  placebo   on primary endpoint (OC) for all studies. Of the
  cation No. 60/969,027, filed Aug. 30, 2007, the disclosure of     patients receiving Corlux, 35% of the patients showed at least
  which is incorporated herein in its entirety.                     a 50% reduction from baseline in BPRS PSS scores at days 7
                                                                    and 56, versus 26% of patients receiving the placebo.
        STATEMENT AS TO RIGHTS TO INVENTIONS                           FIG. 2 shows a comparison of patients with plasma
          MADE UNDER FEDERALLY SPONSORED                         15 levels >1357 ng/mL vs. <1357 ng/mL vs. placebo (OC) for all

              RESEARCH AND DEVELOPMENT                              studies. Of the patients having plasma levels of greater than
                                                                    1357 ng/mL, 40% of the patients showed at least a 50%
     Not Applicable                                                 reduction from baseline in BPRS PSS scores at days 7 and 56,
                                                                    versus 27% of patients having plasma levels of less than 1357
         REFERENCE TO A "SEQUENCE LISTING," A                    20 ng/mL and 26% of patients receiving the placebo.

       TABLE, OR A COMPUTER PROGRAM LISTING                            FIG. 3 shows a comparison of patients with plasma
      APPENDIX SUBMITTED ON A COMPACT DISK                          levels >1661 ng/ml vs. placebo (OC) for all studies. Of the
                                                                    patients having plasma levels of greater than 1661 ng/mL,
     Not Applicable                                                 44% of the patients showed at least a 50% reduction from
                                                                 25 baseline in BPRS PSS scores at days 7 and 56, versus 29% of
             BACKGROUND OF THE INVENTION                            patients having plasma levels of less than 1661 ng/mL and
                                                                    26% of patients receiving the placebo.
     It has been surprisingly discovered that administration of        FIG. 4 shows a comparison of patients receiving Corlux vs.
  the same dose of mifepristone can produce widely varying          placebo on primary endpoint (OC) for the 1200 mg group. Of
  blood serum levels in different patients. The varied blood 30 the patients receiving the 1200 mg dose of Corlux, 47% of the
  serum levels can result in some patients not receiving an         patients showed at least a 50% reduction from baseline in
  efficacious dose of mifepristone. For the same dose of mife-      BPRS PSS scores at days 7 and 56, versus 34% of patients
  pristone, the blood serum levels can differ by as much as         receiving the placebo.
  800% from one patient to another. Thus, a method for ensur-          FIG. 5 shows a comparison of patients with plasma
  ing that the blood serum levels of mifepristone remain in an 35 levels >1357 ng/ml vs. placebo (OC) for the 1200 mg group.
  efficacious and safe range is needed.                             Of the patients in the 1200 mg group having plasma levels of
                                                                    greater than 1357 ng/mL, 54% of the patients showed at least
           BRIEF SUMMARY OF THE INVENTION                           a 50% reduction from baseline in BPRS PSS scores at days 7
                                                                    and 56, versus 31% of patients having plasma levels of less
     In one embodiment, the present invention provides a 40 than 1357 ng/mL and 34% of patients receiving the placebo.
  method for optimizing levels of mifepristone in a patient            FIG. 6 shows a comparison of patients with plasma
  suffering from a mental disorder amenable to treatment by         levels >1661 ng/ml vs. placebo (OC) for the 1200 mg group.
  mifepristone, the method comprising: treating the patient         Of the patients in the 1200 mg group having plasma levels of
  with seven or more daily doses of mifepristone over a period      greater than 1661 ng/mL, 58% of the patients showed at least
  of seven or more days; testing the serum levels of the patient 45 a 50% reduction from baseline in BPRS PSS scores at days 7
  to determine whether the blood levels of mifepristone are         and 56, versus 39% of patients having plasma levels of less
  greater than 1300 ng/mL; and adjusting the daily dose of the      than 1661 ng/mL and 34% of patients receiving the placebo.
  patient to achieve mifepristone blood levels greater than 1300
  ng/mL.                                                                 DETAILED DESCRIPTION OF THE INVENTION
     In some embodiments, the mental disorder is a member so
  selected from the group consisting of a stress disorder,          I. Introduction
  delirium, mild cognitive impairment (MCI), dementia, psy-            Administration of the same dose of mifepristone can pro-
  chosis and psychotic major depression. In other embodi-           duce widely varying mifepristone blood serum levels in dif-
  ments, the stress disorder is a member selected from the group    ferent patients. For the same dose, the blood serum levels can
  consisting of Acute Stress Disorder, Post-Traumatic Stress 55 differ by as much as 800% from one patient to another. For
  Disorder and Brief Psychotic Disorder with Marked                 those patients with lower blood serum levels, the effective-
  Stressor(s).                                                      ness of mifepristone treatment can suffer significantly. The
     In another embodiment, each of the seven or more daily         present invention provides a method for optimizing the blood
  doses of mifepristone are administered orally. In other           serum levels of mifepristone so that the blood serum levels
  embodiments, the patient is treated with 28 or more daily 60 remain in an efficacious range and the patient receives the
  doses over a period of 28 or more days.                           necessary treatment.
     In a further embodiment, the testing is performed by a            The method of the present invention optimizes blood
  plasma sampling collection device suitable for detecting          serum levels of mifepristone in a patient suffering from a
  mifepristone serum levels.                                        mental disorder amenable to treatment by mifepristone by
     In other embodiments, the adjusting step comprises 65 first treating the patient with mifepristone. The treatment can
  increasing the daily dose of the patient to achieve mifepris-     be for any appropriate period of time, such as seven or more
  tone blood levels greater than 1300 ng/mL.                        daily doses over a period of seven or more days. Following
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                                3                                                                  4
  treatment for an appropriate period of time, the serum levels       impairment is preferably measured using tests such as a
  of the patient are tested to determine whether the blood levels     "paragraph test". A patient diagnosed with MCI often exhib-
  of mifepristone are greater than 1300 ng/mL. The daily dose         its impaired delayed recall performance. MCI is typically
  of the patient is then adjusted in order to achieve mifepristone    associated with aging and generally occurs in patients who
  blood levels of greater than 1300 ng/mL.                         5 are 45 years of age or older.
  II. Definitions                                                        The term "mifepristone" refers to a family of compositions
     The term "amenable to treatment by mifepristone" refers to       also referred to as RU486, or RU38.486, or 17-beta-hydroxy-
  a condition that is known to be treated by glucocorticoid           11 -beta- (4 -dimethyl-aminopheny1)-17 -alpha- (1 -propyny1)-
  antagonists such as mifepristone. Conditions such as mental         estra-4,9-dien-3 -one), or 11-beta-(4-dimethylaminophenyl)-
  disorders (discussed below) are amenable to treatment by 10 17-beta-hydroxy-17 -alpha-(1 -propyny1)-estra-4,9-dien-3 -
  mifepristone.                                                       one), or analogs thereof, which bind to the glucocorticoid
     The term "mental disorder" refers to disorders of the mind       receptor (GR), typically with high affinity, and inhibit the
  that can be treated with a glucocorticoid antagonist such as        biological effects initiated/mediated by the binding of any
  mifepristone. Mental disorders amenable to treatment by the         cortisol or cortisol analogue to a GR receptor (as discussed
  methods of the present invention include, but are not limited 15 within). Salts, hydrates and prodrugs of mifepristone are all
  to, a stress disorder, delirium, mild cognitive impairment          within the scope of the present invention.
  (MCI), dementia, psychosis and psychotic major depression.             The term "Post-Traumatic Stress Disorder" refers to a psy-
     The term "stress disorder" refers to a psychiatric condition     chiatric condition in its broadest sense, as defined in DSM-
  precipitated by exposure to a traumatic or stressful event.         IV-TR. The DSM-IV-TR defines "Post-Traumatic Stress Dis-
  Stress disorders include Acute Stress Disorder, Post-Trau- 20 order" as characterized by persistent re-experiencing of an
  matic Stress Disorder, and Brief Psychotic Disorder with            extreme traumatic event. The DSM-IV-TR sets forth a gen-
  Marked Stressor(s).                                                 erally accepted standard for diagnosing and categorizing
     The term "Acute Stress Disorder" refers to a psychiatric         Post-Traumatic Stress Disorder.
  condition in its broadest sense, as defined in American Psy-           The term "psychotic" as used herein refers to a psychiatric
  chiatric Association: Diagnostic and Statistical Manual of 25 condition in its broadest sense, as defined in the DSM-IV
  Mental Disorders, Fourth Edition, Text Revision, Washing-           (Kaplan, ed. (1995) supra) and described below. The term
  ton, D.C., 2000 ("DSM-IV-TR"). The DSM-IV-TR defines                "psychotic" has historically received a number of different
  "Acute Stress Disorder" as characterized by anxiety, disso-         definitions, ranging from narrow to broadly described. A
  ciative, and other symptoms occurring within 1 month after          psychotic condition can include delusions or prominent hal-
  exposure to an extreme traumatic stressor. The DSM-IV-TR 30 lucinations, including prominent hallucinations that the indi-
  sets forth a generally accepted standard for diagnosing and         vidual realizes are hallucinatory experiences, and those with
  categorizing Acute Stress Disorder.                                 hallucinations occurring in the absence of insight into their
     The term "Brief Psychotic Disorder with Marked                   pathological nature. Finally, the term includes a psychotic
  Stressor(s)" refers to a psychiatric condition in its broadest      condition characterized by a loss of ego boundaries or a gross
  sense, as defined in DSM-IV-TR. The DSM-IV-TR defines 35 impairment in reality testing. Unlike this definition, which is
  "Brief Psychotic Disorder with Marked Stressor(s)" as a sud-        broad and based primarily on symptoms, characterization of
  den but brief onset of psychotic symptoms developing shortly        psychosis in earlier classifications (e.g., DSM-II and ICD-9)
  after and apparently in response to one or more stressful           were more inclusive and focused on the severity of functional
  events. The DSM-IV-TR sets forth a generally accepted stan-         impairment (so that a mental disorder was termed "psy-
  dard for diagnosing and categorizing Brief Psychotic Disor- 40 chotic" if it resulted in "impairment" that grossly interferes
  der with Marked Stressor(s).                                        with the capacity to meet ordinary demands of life). Different
     The term "delirium" refers to a psychiatric condition in its     disorders which have a psychotic component comprise dif-
  broadest sense, as defined in American Psychiatric Associa-         ferent aspects of this definition of "psychotic." For example,
  tion: Diagnostic and Statistical Manual of Mental Disorders,        in schizophreniform disorder, schizoaffective disorder and
  Fourth Edition, Text Revision, Washington, D.C., 2000 45 brief psychotic disorder, the term "psychotic" refers to delu-
  ("DSM-IV-TR"). The DSM-IV-TR defines "delirium" as a                sions, any prominent hallucinations, disorganized speech, or
  disturbance of consciousness, developing over a short period        disorganized or catatonic behavior. In psychotic disorder due
  of time, accompanied by a change in cognition that cannot be        to a general medical condition and in substance-induced psy-
  better accounted for by a preexisting or evolving dementia.         chotic disorder, "psychotic" refers to delusions or only those
  The DSM-IV-TR sets forth a generally accepted standard for so hallucinations that are not accompanied by insight. Finally, in
  diagnosing and categorizing delirium.                               delusional disorder and shared psychotic disorder, "psy-
     The term "dementia" refers to a psychiatric condition in its     chotic" is equivalent to "delusional" (see DSM-IV, supra,
  broadest sense, as defined in American Psychiatric Associa-         page 273).
  tion: Diagnostic and Statistical Manual of Mental Disorders,           Objective tests can be also be used to determine whether an
  Fourth Edition, Washington, D.C., 1994 ("DSM-IV"). The 55 individual is psychotic and to measure and assess the success
  DSM-IV defines "dementia" as characterized by multiple              of a particular treatment schedule or regimen. For example,
  cognitive deficits that include impairments in memory and           measuring changes in cognitive ability aids in the diagnosis
  lists various dementias according to presumed etiology. The         and treatment assessment of the psychotic patient. Any test
  DSM-IV sets forth a generally accepted standard for such            known in the art can be used, such as the so-called "Wallach
  diagnosing, categorizing and treating of dementia and asso- 60 Test," which assesses recognition memory (see below,
  ciated psychiatric disorders.                                       Wallach (1980) J. Gerontol. 35:371-375). Another example
     The term "mild cognitive impairment (MCI)" refers to a           of an objective text which can be used to determine whether
  category of memory and cognitive impairment that is typi-           an individual is psychotic and to measure efficacy of an anti-
  cally characterized by a clinical dementia rating (CDR) of 0.5      psychotic treatment is the Stroop Color and Word Test
  (see, e.g., Hughes et al., Brit. I. Psychiat. 140:566-572, 1982) 65 ("Stroop Test") (see Golden, C. J., Cat. No. 30150M, In A
  and further characterized by memory impairment, but not             Manual for Clinical and Experimental Uses, Stoelting, Wood
  impaired function in other cognitive domains. Memory                Dale, Ill.) The Stroop Test is an objective neuropsychiatric
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  test that can differentiate between individuals with psychosis      results of a physical examination, neuropsychiatric exams,
  and those without, and is described in detail below.                and/or a psychiatric evaluation.
     The term "psychosis" refers to a psychiatric symptom,               The term "testing" refers to determining the mifepristone
  condition or syndrome in its broadest sense, as defined in the      blood levels in a patient. The testing can be performed by any
  DSM-IV (Kaplan, ed. (1995) supra), comprising a "psy- 5 suitable instrument, such as a plasma sampling collection
  chotic" component, as broadly defined above. The term psy-          device capable of detecting mifepristone serum levels.
  chosis can refer to a symptom associated with a general             III. Method for Optimizing Mifepristone Levels
  medical condition, a disease state or other condition, such as         Administration of the same dose of mifepristone to differ-
  a side effect of drug abuse (a substance-induced disorder) or       ent patients can produce widely varying blood serum levels,
  as a side effect of a medication. Alternatively, the term psy- io varying by up to 800% from one patient to another, resulting
  chosis can refer to a condition or syndrome not associated          in decreased efficacy. The present invention provides a
  with any disease state, medical condition, drug intake or the       method for optimizing the blood serum levels of mifepristone
  like.                                                               so that the blood serum levels remain in an efficacious range
     Psychosis is typically defined as a mental disorder or con-      and the patient receives the necessary treatment.
  dition causing gross distortion or disorganization of a per- 15        A. Patients in Need
  son's mental capacity, affective response, and capacity to             Patients amenable to treatment with mifepristone accord-
  recognize reality, communicate, and relate to others to the         ing to the method of the present invention suffer from any
  degree of interfering with his capacity to cope with the ordi-      mental disorder. Exemplary mental disorders include, but are
  nary demands of everyday life.                                      not limited to, a stress disorder, delirium, mild cognitive
     The term "psychotic major depression," also referred to as 20 impairment (MCI), dementia, psychosis and psychotic major
  "psychotic depression" (Schatzberg (1992) Am. J. Psychiatry         depression.
  149:733-745), "psychotic (delusional) depression" (Ibid.),             Stress disorders treatable by the methods of the present
  "delusional depression" (Glassman (1981) supra) and,                invention include, but are not limited to, Acute Stress Disor-
  "major depression with psychotic features" (see the DSM-            der (ASD), Post-Traumatic Stress Disorder and Brief Psy-
  III-R), refers to a distinct psychiatric disorder which includes 25 chotic Disorder with Marked Stressor(s).
  both depressive and psychotic features. Individuals manifest-          Acute Stress Disorder (ASD) is characterized by a constel-
  ing both depression and psychosis, i.e. psychotic depression,       lation of symptoms, lasting at least two days, that appear and
  are herein referred to as "psychotic depressives." It has been      resolve within one month of exposure to an extreme traumatic
  long-recognized in the art as a distinct syndrome, as               stressor. If symptoms appear or persist beyond one month
  described, for example, by Schatzberg (1992) supra. Illustra- 30 after exposure to the traumatic stressor, the patient may be
  tive of this distinctness are studies which have found signifi-     considered to suffer from Post-Traumatic Stress Disorder
  cant differences between patients with psychotic and nonpsy-        rather than ASD. ASD is a common precursor to Post-Trau-
  chotic depression in glucocorticoid activity, dopamine-beta-        matic Stress Disorder, and up to 80% of trauma survivors
  hydroxylase activity, levels of dopamine and serotonin              initially suffering from ASD will meet the diagnostic criteria
  metabolites, sleep measures and ventricle to brain ratios. 35 for Post-Traumatic Stress Disorder six months later (see
  Psychotic depressives respond very differently to treatment         Brewin et al., Am J Psychiatry 156:360-6, 1999).
  compared to individuals with other forms of depression, such           Patients develop ASD following exposure to an extreme
  as "non-psychotic major depression." Psychotic depressives          traumatic stressor (DSM-IV-TR Criterion A). A person must
  have a low placebo response rate and respond poorly to anti-        respond to the stressor with intense fear, helplessness, or
  depressant therapy alone (without concurrent anti-psychotic 40 horror to be diagnosed with ASD. ASD may develop from
  treatment). Psychotic depressives are markedly unresponsive         direct experience of traumatic events, including violent
  to tricyclic (anti-depressive) drug therapy (Glassman, et al.       crimes, physical trauma, combat, diagnosis with a life-threat-
  (1975) supra). While psychotic depressives can respond to           ening illness, and natural or manmade disasters. Patients may
  electroconvulsive therapy (ECT), their response time is rela-       also develop ASD from witnessing or learning about trau-
  tively slow and the ECT has a high level of related morbidity. 45 matic events that happen to others, especially family mem-
  Clinical manifestations and diagnostic parameters of "psy-          bers or close friends. Unexpected exposure to death, dead
  chotic major depression" is described in detail in the DSM-IV       bodies, or body parts may also induce ASD.
  (Kaplan, ed. (1995) supra). Thus, due to its unique patho-             A diagnosis of ASD requires that the person meet several
  physiology, high rate of morbidity and response to treatment,       other symptomatic criteria. The person must experience three
  there is great practical need to differentially diagnose and 50 or more dissociative symptoms in connection with the trau-
  specifically treat psychotic major depression as compared to        matic stressor (Criterion B). Dissociative symptoms include a
  non-psychotic depression.                                           subjective sense of numbing or detachment, a reduction in
     The term "optimizing" refers to the process of testing mife-     awareness of surroundings, derealization, depersonalization,
  pri stone blood levels and adjusting the dosage of mifepristone     and dissociative amnesia. Furthermore, ASD requires that the
  administered to the patient in need in order to achieve mife- 55 victim persistently re-experience the traumatic event, though
  pristone blood levels above 1300 ng/mL.                             recurrent images, thoughts, dreams, illusions, flashbacks,
     The terms "treat", "treating" and "treatment" collectively       sense of reliving the event, or distress upon exposure to
  refer to any indicia of success in the treatment or amelioration    reminders of the event (Criterion C). The person must display
  of an injury, pathology or condition, including any objective       marked avoidance of stimuli that arouse recollection of the
  or subjective parameter such as abatement; remission; dimin- 60 trauma (Criterion D) and marked symptoms of anxiety or
  ishing of symptoms or making the injury, pathology or con-          increased arousal (Criterion E). Finally, in addition to the time
  dition more tolerable to the patient; slowing in the rate of        requirements described above, a diagnosis of ASD requires
  degeneration or decline; making the final point of degenera-        that the disturbance cause significant distress; or life impair-
  tion less debilitating; improving a patient's physical or men-      ment, and not be due to another psychiatric or physiological
  tal well-being; or, in some situations, preventing the onset of 65 condition (Criteria F-H).
  dementia. The treatment or amelioration of symptoms can be             Like Acute Stress Disorder, Post-Traumatic Stress Disor-
  based on objective or subjective parameters; including the          der (PTSD) emerges following exposure to an extreme trau-
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  matic stressor, and is characterized by persistent reexperienc-    patient does not demonstrate impairment in functioning in the
  ing of the traumatic event, avoidance of stimuli associated        community or at home. A patient with MCI scores normally
  with the trauma, and anxiety or increased arousal. The types       on standard tests of dementia.
  of traumatic stressors giving rise to PTSD, and the manifes-          There are various means to diagnose the onset of MCI and
  tations of PTSD symptoms, are identical to those described 5 to assess the efficacy of treatment using the methods of the
  above for ASD, but for three differences. First, the dissocia-     invention. These include the administration of psychiatric
  tive symptoms required for a diagnosis of ASD are not              tests to determine the CDR, the administration of memory
  required for a diagnosis of PTSD, although dissociative            tests, and the administration of psychiatric tests for dementia,
  symptoms may commonly be seen in PTSD patients. Sec-               which are used to exclude a diagnosis of dementia. The results
                                                                  10 of these test may be considered in conjunction with other
  ondly, PTSD need not arise within one month of exposure to
                                                                     objective physical tests as described below. These means are
  the traumatic stressor, and may emerge months or years after
                                                                     also useful for assessing the efficacy of the methods of the
  the traumatic event. Thirdly, in contrast to the one month
                                                                     invention in improving memory or decreasing or diminishing
  maximum duration of symptoms required for a diagnosis of           further impairment in memory or cognitive decline in a
  ASD, symptoms must persist for at least one month in order 15 patient with MCI. Subjective and objective criteria can be
  for a diagnosis of PTSD to be made.                                used to measure and assess the success of a particular GR
     A Brief Psychotic Disorder is a short-term (between one         antagonist, pharmaceutical formulation, dosage, treatment
  day and one month) disturbance involving the sudden onset of       schedule or regimen. The features (symptoms) of and criteria
  at least one psychotic symptom, such as delusions, halluci-        for diagnosing MCI are described, e.g., in Petersen et al.,
  nations, disorganized speech, or grossly disorganized or cata- 20 Arch. Neurol. 56:303-308, 1999.
  tonic behavior. Brief Psychotic Disorders exclude those               The dementia treated in the methods of the invention
  induced by a general medical condition. If psychotic symp-         encompasses a broad range of mental conditions and symp-
  toms develop shortly after, and apparently in response to, one     toms, as broadly described in the DSM-IV. While the practi-
  or more severely stressful events, the disturbance is diag-        tioner can use any set of prescribed or empirical criteria to
  nosed as Brief Psychotic Disorder with Marked Stressor(s) 25 diagnose the presence of dementia as an indication to practice
  (formerly labeled "brief reactive psychosis" in DSM-III-R).        the methods of the invention, some illustrative diagnostic
  Brief Psychotic Disorder with Marked Stressor(s) is treatable      guidelines and examples of relevant symptoms and condi-
  by the glucocorticoid receptor antagonists of the present          tions are described below.
  invention.                                                            The DSM-IV states that dementias typically associated
                                                                  30 with Alzheimer's disease (dementia of the Alzheimer's type),
     Delirium is characterized by disturbances of consciousness
                                                                     "vascular dementia" (also known as multi-infarct dementia),
  and changes in cognition that develop over a relatively short
                                                                     or "dementia due to general medical conditions," e.g., human
  period of time. The disturbance in consciousness is often
                                                                     immunodeficiency virus (HIV-1) disease, head trauma, Par-
  manifested by a reduced clarity of awareness of the environ-
                                                                     kinson's disease, or Huntington's disease (further discussed,
  ment. The patient displays reduced ability to focus, sustain or 35 below). Dementias can also be "substance-induced persisting
  shift attention (DSM-IV-TR diagnostic Criterion A). Accom-         dementia," i.e., due to a drug of abuse, a medication, or toxin
  panying the disturbance in consciousness, delirium patients        exposure, "dementia due to multiple etiologies," or a "demen-
  display a disturbance in cognition (e.g., memory impairment,       tia not otherwise specified" if the etiology is indeterminate.
  disorientation, language difficulties) or perceptual distur-          Psychosis can be manifested as a mental illness in the form
  bances (e.g., misinterpretations, illusions, or hallucinations) 40 of a syndrome or as an element of a variety of disease pro-
  (Criterion B). To be considered delirium, these disturbances       cesses. There are various means to diagnose these various
  in consciousness, cognition, or perception should develop          forms of psychosis and assess the success of treatment. These
  over a short period of time and tend to fluctuate during the       means include classical psychological evaluations in addition
  course of the day (Criterion C).                                   to the various laboratory procedures described above. Such
     Delirium may arise from a number of general medical 45 means are well-described in the scientific and patent litera-
  conditions, including central nervous system disorders (e.g.,      ture, and some illustrative examples are provided below.
  trauma, stroke, encephalopathies), metabolic disorders (e.g.,         The psychosis ameliorated in the methods of the invention
  renal or hepatic insufficiency, fluid or electrolyte imbal-        encompasses a broad range of mental conditions and symp-
  ances), cardiopulmonary disorders (e.g., congestive heart          toms, as broadly described in the DSM-IV (Kaplan, ed.
  failure, myocardial infarction, shock), and systemic illnesses so (1995) supra). Psychosis can refer to a symptom associated
  or effects (e.g., infections, sensory deprivation, and postop-     with a general medical condition, a disease state or other
  erative states). Glucocorticoid receptor antagonists are also      condition, such as a side effect of drug abuse (a substance-
  effective to treat Substance-Induced Delirium (e.g., delirium      induced disorder) or as a side effect of a medication. While
  induced by substance intoxication or withdrawal, medication        the practitioner can use any set of proscribed or empirical
  side effects, and toxin exposure). Delirium may arise from 55 criteria to diagnose the presence of a psychosis as an indica-
  multiple simultaneous etiologies (e.g., a combination of a         tion to practice the methods of the invention, some illustrative
  general medical condition and substance intoxication) and          diagnostic guidelines and examples of relevant symptoms
  such delirium, as well as delirium of unknown or unclassified      and conditions are described below.
  origin, may be treated with the glucocorticoid receptor               Psychiatric conditions, such as psychosis, can be further
  antagonists of the present invention.                           60 diagnosed and evaluated using any of the many tests or crite-
     Mild cognitive impairment (MCI) is characterized as a           ria well-known and accepted in the fields of psychology or
  mild impairment of cognition categorized as a CDR of 0.5           psychiatry.
  that is associated with deficits in a memory task test, such as       The features (symptoms) of and criteria for diagnosing
  a paragraph test. An MCI patient is fully oriented, but dem-       psychotic disorders, such as psychotic major depression, are
  onstrates mild consistent forgetfulness. Impairment in cogni- 65 further described DSM-IV, supra. While the practitioner can
  tive domains other than memory, such as problem solving and        use any criteria or means to evaluate whether an individual is
  judgment is doubtful, if present at all, and, further, the MCI     psychotic to practice the methods of the invention, the DSM-
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  IV sets forth a generally accepted standard for such diagnos-         stearic acid, and other excipients, colorants, fillers, binders,
  ing, categorizing and treating of p sychiatric disorders, includ-     diluents, buffering agents, moistening agents, preservatives,
  ing psychosis. Several illustrative examples of such criteria         flavoring agents, dyes, disintegrating agents, and pharmaceu-
  utilized in the methods of the invention are set forth below.         tically compatible carriers. Lozenge forms can comprise the
     Psychosis is typically characterized as a mental disorder or 5 active ingredient in a flavor, e.g., sucrose, as well as pastilles
  condition causing gross distortion or disorganization of a            comprising the active ingredient in an inert base, such as
  person's mental capacity, affective response, and capacity to         gelatin and glycerin or sucrose and acacia emulsions, gels,
  recognize reality, communicate, and relate to others to the           and the like containing, in addition to the active ingredient,
  degree of interfering with his capacity to cope with the ordi-        carriers known in the art.
  nary demands of everyday life. In a condition or illness 10              The pharmaceutical preparation is preferably in unit dos-
  involving psychosis, delusions or hallucinations can be               age form. In such form the preparation is subdivided into unit
  present. The content of the delusions or hallucinations have          doses containing appropriate quantities of the active compo-
  many depressive themes. In psychotic major depression there           nent. The unit dosage form can be a packaged preparation, the
  can be "mood-congruent" psychotic features, including, for            package containing discrete quantities of preparation, such as
  example, delusions of guilt, delusions one deserves punish- 15 packeted tablets, capsules, and powders in vials or ampoules.
  ment (e.g. because of a personal inadequacy or moral trans-           Also, the unit dosage form can be a capsule, tablet, cachet, or
  gression), nihilistic delusions (e.g. of world or personal            lozenge itself, or it can be the appropriate number of any of
  destruction), somatic delusions (e.g. having cancer), or delu-        these in packaged form. The composition can, if desired, also
  sions of poverty. Hallucinations, when present in psychotic           contain other compatible therapeutic agents. Preferred phar-
  major depression are usually transient and not elaborate and 2o maceutical preparations can deliver the compounds of the
  may involve voices that berate the patient for shortcomings or        invention in a sustained release formulation.
  sins. More rarely, the content of the delusions or hallucina-            C. Administration of Mifepristone
  tions has no apparent relationship to depressive themes. In              The formulations of the present invention provide serum
  this situation these "mood-incongruent" psychotic features            levels of mifepristone of at least 1300 ng/mL. The mifepris-
  include, for example, grandiose delusions.                        25 tone utilized in the pharmaceutical method of the invention is
     Psychosis can also include bipolar I disorder with psy-            administered at the initial dosage of about 0.001 mg/kg to
  chotic features, brief psychotic disorder, delusional disorder,       about 1000 mg/kg daily. A daily dose range of about 0.01
  shared psychotic disorder, substance induced psychotic dis-           mg/kg to about 500 mg/kg, or about 0.1 mg/kg to about 200
  order and psychotic disorder not otherwise specified.                 mg/kg, or about 1 mg/kg to about 100 mg/kg, or about 10
     B. Formulations of Mifepristone                                30 mg/kg to about 50 mg/kg, can be used. The dosages, however,
     Formulations of the present invention include mifepristone         may be varied depending upon the requirements of the patient
  in combination with pharmaceutical excipients. Mifepristone           and the condition being treated. The dose administered to a
  is commercially available from a variety of sources such as           patient, in the context of the present invention, should be
  Eurolabs Ltd. (London, England). Mifepristone can also be             sufficient to effect a beneficial therapeutic response in the
  synthesized by one of skill in the art using known synthetic 35 patient over time. The size of the dose also will be determined
  procedures.                                                           by the existence, nature, and extent of any adverse side-
     The term "mifepristone" refers to a family of compositions         effects that accompany the administration of a particular
  also referred to as RU486, or RU38.486, or 17-beta-hydroxy-           compound in a particular patient. Determination of the proper
  11 -beta- (4 -dimethyl-aminopheny1)-17 -alpha- (1 -propyny1)-         dosage for a particular situation is within the skill of the
  estra-4,9-dien-3 -one), or 11-beta-(4-dimethylaminopheny1)- 40 practitioner.
  17 -beta-hydroxy-17 -alpha-(1 -propyny1)-estra-4,9-dien-3 -              Generally, treatment is initiated with six daily doses, with
  one), or analogs thereof, which bind to the GR, typically with        the blood levels tested on the day of the seventh daily dose in
  high affinity, and inhibit the biological effects initiated/me-       order to determine whether the dose used is providing a
  diated by the binding of any cortisol or cortisol analogue to a       mifepristone blood level of at least 1300 ng/mL. The testing is
  GR receptor. Chemical names for RU-486 vary; for example, 45 also performed to ensure the blood levels are below those
  RU486 has also been termed: 11B-[p-(Dimethylamino)phe-                afforded by an LD50 dose of about 1000 mg/kg. If the mife-
  nyl] -17B -hydroxy-17 -(1 -propyny1)-estra-4,9-dien-3 -one;           pristone blood level is lower than 1300 ng/mL. Additional
  11B- (4 -dimethyl-aminopheny1)-17B -hydroxy-17A-(prop -               testing of mifepristone blood levels can be necessary in order
  1 -yny1)-estra-4,9-dien-3 -one ;    17B -hydroxy-11B -(4-dim-         to confirm a mifepristone blood level of at least 1300 ng/mL
  ethylaminophenyl-1)-17A -(propyny1-1)-estra-4,9-diene-3- so or to adjust the mifepristone daily dose higher. For conve-
  one; 17B -hydroxy-11B - (4 -dimethylaminophenyl-1)-17A -              nience, the total daily dosage may be divided and adminis-
  (propynyl -1)-E ; (11B,17B)-11-[4-dimethylamino)-phenyl] -            tered in portions during the day, if desired. In addition, the
  17 -hydroxy-17- (1 -propynyl)estra-4,9-dien-3 -one ; and 11B -        interval from initiation of treatment and testing for mifepris-
  [4- (N,N-dimethylamino) phenyl] -17A-(prop -1 -yny1)-D-4,9-           tone blood levels can be as short as 1 daily dose, or up to 28
  estradiene-17B -o1-3-one. Salts, hydrates and prodrug forms 55 daily doses and longer.
  of mifepristone are also useful in the formulations of the               Mifepristone can be administered for any period of time,
  present invention.                                                    such as 7 daily doses over a period of seven days. Mifepris-
     Formulations suitable for oral administration can consist of       tone can also be administered using more daily doses over a
  (a) liquid solutions, such as an effective amount of mifepris-        longer period of time, such as via 28 daily doses over a period
  tone suspended in diluents, such as water, saline or PEG 400; 60 of 28 days. Longer times for administration of mifepristone
  (b) capsules, sachets or tablets, each containing a predeter-         are also within the scope of the present invention.
  mined amount of the active ingredient, as liquids, solids,               D. Assay for Testing Mifepristone Levels
  granules or gelatin; (c) suspensions in an appropriate liquid;           Mifepristone levels can be determined by any method
  and (d) suitable emulsions. Tablet forms can include one or           known in the art. Methods for detecting mifepristone levels
  more of lactose, sucrose, mannitol, sorbitol, calcium phos- 65 include, but are not limited to, radio-immuno assay and mass
  phates, corn starch, potato starch, microcrystalline cellulose,       spectrometry (MALDI, SELDI, LS/MS, LS/MS/MS, among
  gelatin, colloidal silicon dioxide, talc, magnesium stearate,         others). Liquid chromatography mass spectrometry (LC/MS
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  or LC-MS) separates compounds chromatographically                        The reverse-phase HPLC column can be a phenyl column
  before they are introduced to the ion source and mass spec-           maintained at 50° C. Mifepristone elutes at 4.2 minutes. Fol-
  trometer. It differs from GC/MS in that the mobile phase is           lowing elution, the mobile phase can be nebulized using
  liquid, usually a combination of water and organic solvents,          heated nitrogen in a Z-spray source/interface and the ionized
  instead of gas. Most commonly, an electrospray ionization 5 compounds detected using a tandem quadrupole mass spec-
  source is used in LC/MS.                                              trometer. Mifepristone (molecular weight of 430 g/mol) can
     Tandem mass spectrometry (MS/MS) involves multiple                 be detected at m/z 372.30. The internal standard mifepris-
  steps of mass selection or analysis, usually separated by some        tone-d4 can be detected at m/z 376.30. The ratio of the mife-
  form of fragmentation. A tandem mass spectrometer is one              pristone peak height to the peak height for the internal stan-
  capable of multiple rounds of mass spectrometry. For 1o dard can then be calculated.
  example, one mass analyzer can isolate one peptide from                  The plasma concentration of mifepristone is then calcu-
  many entering a mass spectrometer. A second mass analyzer             lated by comparing the experimental ratio to a standard curve
  then stabilizes the peptide ions while they collide with a gas,       of mifepristone:mifepristone-d4 peak height ratio v. mifepris-
  causing them to fragment by collision-induced dissociation            tone concentration. The standard curve is generated by first
  (CID). A third mass analyzer then catalogs the fragments 15 measuring the mifepristone:mifepristone-d4 peak height
  produced from the peptides. Tandem MS can also be done in             ratios for mifepristone samples at 10, 20, 50, 100, 200, 500,
  a single mass analyzer over time as in a quadrupole ion trap.         1000 and 2000 ng/mL where the mifepristone-d4 internal
  There are various methods for fragmenting molecules for               standard has a concentration of 2000 ng/mL. The mifepris-
  tandem MS, including collision-induced dissociation (CID),            tone:mifepristone-d4 peak height ratios of these known solu-
  electron capture dissociation (ECD), electron transfer disso- 2o tions are then fit to a power equation (Mass Lynx by Micro-
  ciation (ETD), infrared multiphoton dissociation (IRMPD)              mass, Beverly, Mass.), against which future samples with
  and blackbody infrared radiative dissociation (BIRD). One of          unknown concentrations of mifepristone are compared.
  skill in the art will appreciate that other assays for testing           The plasma levels of mifepristone derivatives such as
  mifepristone levels are known to one of skill in the art.             RU42633, RU42698 and RU42848, among others, can also
     In some embodiments, the assay can be performed as fol- 2 5 be determined using the assay described above.
  lows. Blood is collected from a patient in a vacutainer con-             E. Kits for Treating Mental Disorders with Mifepristone
  taining sodium heparin. The blood is centrifuged and the                 The present invention provides kits. The kits of the present
  resulting plasma frozen at an appropriate temperature until           invention comprise seven daily doses and a plasma sampling
  assay. In some embodiments, the temperature is about —70°             collection device. The kits of the present invention can also
  C. In other embodiments, other blood components can be 3o comprise any other component necessary for a kit, such as a
  collected and stored. Prior to analysis, the plasma is thawed         container.
  and a fraction of the plasma is mixed with an internal standard          Patient plasma can be collected by any known plasma
  in a solvent such as acetonitrile, to obtain a fixed concentra-       collection device. Some plasma collection devices useful in
  tion of the standard. In some embodiments, the internal stan-         the present invention include, but are not limited to, vacutain-
  dard can be mifepristone-d4. The concentration of the internal 3 5 ers. The plasma collection devices of the present invention
  standard is selected in order to be greater than the expected         can optionally comprise additives in the device, such as anti-
  concentration of mifepristone in the plasma. For example, the         coagulants (EDTA, sodium citrate, heparin, oxalate), a gel
  internal standard can have a concentration of 2000 ng/mL.             with intermediate density between blood cells and blood
  One of skill in the art will appreciate that other internal           plasma, particles causing the blood to clot, a gel to separate
  standards, and other concentrations, are useful in the present 4o blood cells from serum, thrombin and fluoride, among others.
  invention.                                                               The kits can also contain additional vessels used for further
     Base is then added to the sample solution. The base can be         analysis of the plasma. For example, when the plasma is
  any amine or ammonium base, such as ammonium hydrox-                  centrifuged, the centrifuged plasma can be transferred to a
  ide. One of skill in the art will appreciate that other bases are     vessel, such as a cryostat tube. One of skill in the art will
  useful in the present invention.                                  45 appreciate that other vessels and containers are useful in the
     Solvent is then added to the solution and the mifepristone         present invention.
  (along with the internal standard) are extracted from the
  plasma. Solvents useful for the extraction of mifepristone                                    IV. EXAMPLES
  include, but are not limited to, hexanes, pentanes, ethers (such
  as diethylether, tetrahydrofuran and methyl-t-butyl ether 50                                     Example 1
  (MTBE)), ethyl acetate, chloroform and methylene chloride.
  One of skill in the art will appreciate that other solvents are                Determination of Mifepristone Plasma Level
  useful in the present invention.
     Following separation and concentration of the organic                 This example provides a procedure for determining the
  layer, the sample is reconstituted in a solvent mixture com- 55 plasma level of mifepristone in a patient.
  prising water, acetonitrile and formic acid. The ratio of the            Three (3) mL of blood was collected from a patient in a
  solvent components can vary. In some embodiments, the sol-            vacutainer containing sodium heparin. The blood was centri-
  vent mixture is water: acetonitrile: formic acid (75:25:0.1, v/v/     fuged and the resulting plasma frozen at —70 to —80° C. until
  v). One of skill in the art will appreciate that other solvent        assay. For analysis, the plasma samples were warmed and
  mixtures are useful in the present invention.                     60 prepared as follows:
     The sample can then be analyzed by reverse-phase high                 1. Using a pipette, 50.0 [IL of the sample was aliquoted into
  pressure liquid chromatography (HPLC). In some embodi-                      a 16x100-mm glass test tube. When a partial volume
  ments, the reverse-phase HPLC is performed using a water:                   aliquot was needed, the aliquot was added to the tube and
  acetonitrile:formic acid (60:40:0.1) mobile phase (isocratic)               diluted to full volume with blank human plasma.
  at a flow rate of 0.3 mL/min. One of skill in the art will 65            2. 20.0 [IL of the internal standard, mifepristone-d4 (5.00
  appreciate that other mobile phases and flow rates are useful               1,1g/mL in acetonitrile), was added to the tube, resulting
  in the present invention.                                                   in 2000.0 ng/mL mifepristone-d4 in plasma.
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     3. The tube was vortexed for approximately 1 minute.                The number of patients was less than 440. Patients eligible
     4. 50.0 [IL of 6% ammonium hydroxide was added to the            for randomization were male or nonpregnant female outpa-
        tube.                                                         tients, and inpatients, if clinically required, with a diagnosis
     5. The tube was vortexed for approximately 1 minute.             of Major Depressive Disorder with Psychotic Features
     6. 2.00 mL of MTBE was added to the tube.                     5 (DSM-IV 296.24 or 296.34), and a BPRS Positive Symptom
     7. 2.00 mL of hexane was added to the tube.                      sub scale score of at least 12, a BPRS total score of at least 38,
     8. The tube was vortexed for at least 15 minutes.                and a HAMD-24 score of at least 20.
     9. The tube was centrifuged for at least 10 minutes at 2500         CORLUX was used as the test drug at 300 (1x300 mg
        RPM (575xg).                                                  tablet), 600 (2x300 mg tablet), and 1200 mg (4x300 mg
     10. The aqueous layer was frozen in a freezer set to main- 10 tablet) once a day by mouth for the initial 7 days. Appropriate
        tain —70° C.                                                  numbers of active and placebo tablets will be given to all dose
     11. The upper organic layer was poured into a 13 x100-mm         groups so that each patient takes a total of 4 tablets at each
        polypropylene tube.                                           daily dose. The reference drug was a placebo (1, 2, or 4 tablets
     12. The organic layer was evaporated in a Turbovap set to        matching CORLUX 300 mg tablets) once a day by mouth for
        40° C.                                                     15 the initial 7 days.
     13. 200.0 [IL of a solution of water:acetonitrile:formic acid       Up to 440 patients were randomly assigned to receive
        (75:25:0.1, v/v/v) was added to the tube.                     CORLUX 300, 600, or 1200 mg/day or placebo (in a 1:1:1:1
     14. The tube was vortexed for approximately 1 minute.            ratio) each day for 7 days. An antidepressant selected from a
     15. The tube was sonicated for approximately 1 minute.           prescribed list was started simultaneously with the study
     16. The tube was vortexed for approximately 1 minute.         20 drug, and continued to the end of the trial. BPRS and HAM-D
     17.The sample was transferred to a labeled injection vial or     assessments were performed at Screen and on Days 0, 7, 14,
        well plate.                                                   28, 42, and 56, and at early termination when it occurred.
     18. The vial or plate was capped and checked for air             Safety visits occurred at Days 21 and 35. The patients who are
        bubbles.                                                      seen as outpatients made daily visits to the clinic setting to
     The sample was then analyzed by reverse-phase high pres- 25 receive study medications for the first 7 days. If clinically
  sure liquid chromatography using a water:acetonitrile:formic        necessary, a patient was treated as an inpatient.
  acid (60:40:0.1) mobile phase (isocratic) at a flow rate of 0.3        In addition to the selected antidepressant, continuing ben-
  mL/min. The column was a phenyl column maintained at 50°            zodiazepines was allowed up to specified dose levels, but
  C. Mifepristone elutes at 4.2 minutes. Following elution, the       antipsychotics, mood stabilizers and additional antidepres-
  mobile phase was nebulized using heated nitrogen in a 30 sants were not allowed during the entire study. If the patient
  Z-spray source/interface and the ionized compounds detected         was at imminent risk to him/herself and/or others and there-
  using a tandem quadrupole mass spectrometer. Mifepristone           fore could not be adequately treated within the study (e.g.,
  (molecular weight of 430 g/mol) was detected at m/z 372.30.         required ECT, new or re-hospitalization for PMD, antipsy-
  The internal standard mifepristone-d4 was detected at m/z           chotics or mood stabilizers, or a second antidepressant), the
  376.30. The ratio of the mifepristone peak height to the mife- 35 patient underwent an early termination visit on the day that
  pristone-d4 peak height was calculated.                             rescue therapy was started and completed final efficacy evalu-
     The plasma concentration of mifepristone was then calcu-         ations. If early termination occurred prior to day 35, the
  lated by comparing the experimental ratio to a standard curve       patient returned for a safety follow up visit at day 35.
  of mifepri stone:mifepristone-d4 peak height ratio v. mifepris-        The primary efficacy endpoint was the proportion of
  tone concentration. The standard curve was generated by first 40 patients with at least a 50% reduction from baseline of the
  measuring the mifepristone:mifepristone-d4 peak height              BPRS Positive Symptom Sub scale (PSS) scores at Days 7 and
  ratios for mifepristone samples at 10, 20, 50, 100, 200, 500,       56. The secondary endpoints were: (1) the proportion of
  1000 and 2000 ng/mL where the mifepristone-d4 internal              responders at days 7 and 28; and (2) the mean change from
  standard has a concentration of 2000 ng/mL. The mifepris-           baseline to day 56 in the HAM-D-24 total score.
  tone:mifepristone-d4 peak height ratios of these known solu- 45        Adverse events, laboratory assessments including electro-
  tions were then fit to a power equation (Mass Lynx by Micro-        cardiograms, and physical examination were used to assess
  mass, Beverly, Mass.), and the sample with unknown                  safety.
  concentrations of mifepristone was compared.                           The criteria for assessing study efficacy objective was the
                                                                      proportion of patients with a reduction of at least 50% from
                             Example 2                             50 baseline in BPRS Positive Symptom Subscale scores at Days
                                                                      7 and 56.
             Phase III Trial with Three Dose Levels of
                            CORLUXTM                                                              Example 3

     This example provides a randomized, double-blind, pla- 55             Phase III Trial for Study of the Efficacy and Safety
  cebo-controlled, parallel group study of the safety and effi-                               of CORLUXTM
  cacy of three dose levels of CORLUXTM (Mifepristone) plus
  an antidepressant vs. placebo plus an antidepressant in the           This example provides an international, double-blind, pla-
  treatment of psychotic symptoms in patients with major              cebo-controlled study of the efficacy and safety of COR-
  depressive disorder with psychotic features (PMD).               60 LUXTM (Mifepristone) vs. placebo in the treatment of psy-
     The study was a Phase III trial performed using several          chotic symptoms in patients with Psychotic Major
  investigators at several different sites. The objectives were to    Depression (PMD).
  demonstrate the efficacy and safety of three dose levels of           The study was a Phase III trial performed using several
  CORLUX (mifepristone) combined with an antidepressant               investigators at several different international sites. The
  compared to placebo combined with an antidepressant in the 65 objective of the trial was to demonstrate the efficacy and
  treatment of psychotic symptoms in patients with Major              safety of CORLUX (mifepristone) combined with an antide-
  Depressive Disorder with Psychotic Features (PMD).                  pressant compared to placebo combined with an antidepres-
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                                                        US 8,921,348 B2
                                15                                                                    16
  sant in the treatment of psychotic symptoms in patients with                                     Example 4
  Major Depressive Disorder with Psychotic Features (PMD).
     The number of patients was 220 evaluable subjects.                              Treatment of Male Patient with PMD
  Patients eligible for randomization were male or non-preg-
  nant female outpatients, or inpatients, if necessary for patient 5       A 50 year-old male, weighing 175 pounds, presents to
                                                                        physician with psychotic major depression (PMD). The phy-
  well-being, with a diagnosis of Major Depressive Disorder
                                                                        sician prescribes 300 mg of mifepristone for seven daily
  with Psychotic Features (ICD-10 F32.3 or F33.3 or DSM-IV              doses over a period of seven days. One week later on the day
  296.24 or 296.34). At the screening and baseline visits,              of the seventh daily dose, three (3) mL of blood are collected
  patients demonstrated the following severity of illness: BPRS         from the patient and analyzed as described above in the speci-
                                                                     0
  Positive Symptom Subscale (PSS) score 12; BPRS total                  fication. The dose of mifepristone is then adjusted, if neces-
  score       and HAMD-24 total score                                   sary, to achieve mifepri stone blood levels of greater than 1300
     CORLUX was administered in a 600 mg dose once a day                ng/mL. The mifepri stone dose can be adjusted a single time to
  by mouth for the initial 7 days (administered as two 300 mg           achieve mifepristone blood levels of greater than 1300
  tablets). Reference drug, dose, dosage regimen, route of              ng/mL. Alternatively, several adjustments to the mifepristone
                                                                    15 dose can be necessary to safely achieve mifepristone blood
  administration: Matching placebo was administered once a
                                                                        levels of greater than 1300 ng/mL.
  day by mouth for the initial 7 days.                                     Although the foregoing invention has been described in
     Up to 280 patients were randomly assigned (1:1 ratio) to           some detail by way of illustration and example for purposes
  receive either CORLUX 600 mg/day or placebo daily for 7               of clarity of understanding, one of skill in the art will appre-
  days. After the 7-day dosing period, patients were evaluated 2o ciate that certain changes and modifications may be practiced
  at Days 14, 21, 28, 35, 42 and 56. An antidepressant was              within the scope of the appended claims. In addition, each
  administered simultaneously with study drug, and continued            reference provided herein is incorporated by reference in its
  to the end of the trial (Day 56). BPRS and HAMD-24 assess-            entirety to the same extent as if each reference was individu-
  ments were performed at Screen and on Days 0, 7, 14, 28, 42           ally incorporated by reference.
  and 56, or at early termination. A safety visit occurred on 2 5          What is claimed is:
                                                                           1. A method for optimizing levels of mifepristone in a
  Days 21 and 35, and at study termination on Day 56. Subjects
                                                                        patient suffering from a disorder amenable to treatment by
  treated on an outpatient basis made daily visits to the clinic to
                                                                        mifepristone, the method comprising:
  receive study medication for the first 7 days. Subjects were
                                                                           treating the patient with seven or more daily doses of mife-
  treated on an inpatient basis for as long as deemed clinically              pristone over a period of seven or more days;
                                                                    30
  necessary by the investigator.                                           testing the serum levels of the patient to determine whether
     In addition to the selected antidepressant, concomitant                  the blood levels of mifepristone are greater than 1300
  benzodiazepine treatment was allowed up to specified dose                   ng/mL; and
  levels. Antipsychotics, mood stabilizers and a second antide-            adjusting the daily dose of the patient to achieve mifepris-
  pressant were prohibited during the entire study. If the patient 35         tone blood levels greater than 1300 ng/mL.
  was at imminent risk to him/herself and/or others and there-             2. The method of claim 1, wherein the disorder is a member
  fore could not be adequately treated within the study (i.e.,          selected from the group consisting of a stress disorder,
  required ECT, new or re-hospitalization for PMD, antipsy-             delirium, mild cognitive impairment (MCI), dementia, psy-
  chotics or mood stabilizers, or a second antidepressant), the         chosis and psychotic major depression.
  patient underwent an early termination visit on the day that 40          3. The method of claim 2, wherein the stress disorder is a
  rescue therapy was started, and completed procedures listed           member selected from the group consisting of Acute Stress
  for the day 56 termination visit, including final efficacy evalu-     Disorder, Post-Traumatic Stress Disorder and Brief Psy-
  ations. If early termination occurred prior to day 35, the            chotic Disorder with Marked Stressor(s).
  patient returned for a safety follow-up visit at regularly sched-        4. The method of claim 1, wherein each of the seven or
                                                                    45 more daily doses of mifepristone are administered orally.
  uled day 35.
     The Primary efficacy endpoint was determined by the pro-              5. The method of claim 1, wherein the patient is treated
  portion of patients with 50% reduction from baseline on the           with 28 or more daily doses over a period of 28 or more days.
  BPRS-PSS at Days 7 and 28. Key secondary efficacy end-                   6. The method of claim 1, wherein the testing is performed
  points include (1) the proportion of patients with 50% reduc-         by a plasma sampling collection device suitable for detecting
  tion from baseline on the BPRS-PSS at Days 7 and 56; and (2) 50 mifepristone serum levels.
  change from baseline on the HAMD-24 at Day 56.                           7. The method of claim 1, wherein the adjusting step com-
     Adverse events, laboratory assessments including electro-          prises  increasing the daily dose of the patient to achieve
  cardiograms, and physical examination were used to assess             mifepristone blood levels greater than 1300 ng/mL.
  safety.
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                        EXHIBIT B
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  (12)   United States Patent                                          (10) Patent No.:     US 9,829,495 B2
         Moraitis                                                      (45) Date of Patent:     Nov. 28, 2017

  (54) METHOD FOR DIFFERENTIALLY                                                      OTHER PUBLICATIONS
        DIAGNOSING ACTH-DEPENDENT
        CUSHING'S SYNDROME                                          Tsigos et al. in Annu. Rev. Med. 47:443-461 (1996).*
                                                                    Fleseriu et al. in the Journal of Clinical Endocrinology and Metabo-
                                                                    lism, 2012; 97:2039-2049.*
  (71) Applicant: Corcept Therapeutics, Inc., Menlo                 Lee et al. in Office of Clinical Pharmacology Review NDA 20687
                  Park, CA (US)                                     (Addendum, KorlynTM, Mifepristone) (2012).*
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                                                                    sinus sampling in the differential diagnosis of ACTH-dependent
  (72) Inventor: Andreas G. Moraitis, Menlo Park, CA                Cushing's syndrome," Clinical Endocrinology (1997) 46:607-618.
                  (US)                                              Fleseriu, Maria, et al., "Changes in Plasma ACTH Levels and
                                                                    Corticotroph Tumor Size in Patients With Cushing's Disease During
                                                                    Long-term Treatment With the Glucocorticoid Receptor Antagonist
  (73) Assignee: Corcept Therapeutics, Inc., Menlo                  Mifepristone," J. Clin. Endocrinol Metab, Oct. 2014, 99(10):3718-
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  (* ) Notice:        Subject to any disclaimer, the term of this
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                      patent is extended or adjusted under 35       Fleseriu et al., "Mifepristone, a Glucocorticoid Receptor Antago-
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                                                                    H295R human adrenocortical cell function," Mol. Cell. Endocrino.
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                  (2013.01); A61K 31/567 (2013.01); A61K            Cushing's Disease from Cushing's Syndrome," The Endocrine
              31/573 (2013.01); G01N 2333/695 (2013.01);            Society's 95th Annual Meeting and Expo, Jun. 15-18, 2013 (San
                                   GO1N 2800/048 (2013.01)          Francisco) Abstract.

  (58) Field of Classification Search                                                          (Continued)
        None
                                                                    Primary Examiner — Dennis Heyer
        See application file for complete search history.
                                                                    (74) Attorney, Agent, or Firm — Kilpatrick Townsend &
                                                                    Stockton LLP
  (56)                  References Cited
                                                                    (57)                      ABSTRACT
                   U.S. PATENT DOCUMENTS
                                                                    This invention provides for an improved method for differ-
      8,557,839 B2       10/2013 Clark et al.                       entially diagnosing ACTH-dependent Cushing's syndrome.
   2004/0138516 Al        7/2004 Osorio et al.                      Current practice for differentially diagnosing ectopic ACTH
   2014/0038926 Al        2/2014 Hunt et al.                        syndrome and Cushing's Disease measures relative ACTH
   2014/0162361 Al        6/2014 Clark et al.
   2014/0170768 Al        6/2014 Ehrenkranz                         concentrations from the inferior petrosal venous sinus com-
                                                                    pared to fluid obtained from a periphery venous sample. This
             FOREIGN PATENT DOCUMENTS                               is performed before and after administration of exogenous
                                                                    corticotropin releasing factor, or after administration of
  WO              2004041215 A2     5/2004                          metyrapone. This invention uses glucocorticoid receptor
  WO              2005070893 A2     8/2005                          antagonists to induce release of endogenous CRH which
  WO              2005087769 Al     9/2005
  WO              2006014394 Al     2/2006
                                                                    stimulates ACTH to increase in patients with ectopic ACTH
  WO              2007131041       11/2007                          syndrome but not in those with Cushing's Disease.
  WO              2008060391 A2     5/2008
  WO              2009050136 A2     4/2009                                            18 Claims, No Drawings
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  Cushing's Syndrome: Use of an octreotide trial to distinguish            crinology, (2003) 58:718-724.
  between pituitary or ectopic sources," Sultan Qaboos University          Ritzel et al.. "ACTH after 15 min distinguishes between Cushing's
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  Healy et al., "Pituitary and adrenal responses to the antiprogesterone   Reproductive Biology, vol. 101, pp. 113-120 (2002).
  and anti-glucocorticoid steroid RU486 in primates," J. Clin              PCT/US2017/013974, International Search Report and Written
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                                                     US 9,829,495 B2
                               1                                                                  2
            METHOD FOR DIFFERENTIALLY                               and Parkinson's disease), cognition enhancement, Cushing's
            DIAGNOSING ACTH-DEPENDENT                               Syndrome, Addison's Disease, osteoporosis, frailty, inflam-
               CUSHING'S SYNDROME                                   matory diseases (e.g., osteoarthritis, rheumatoid arthritis,
                                                                    asthma and rhinitis), adrenal function-related ailments, viral
             CROSS-REFERENCES TO RELATED                          5 infection, immunodeficiency, immunomodulation, autoim-
                         APPLICATIONS                               mune diseases, allergies, wound healing, compulsive behav-
                                                                    ior, multi-drug resistance, addiction, psychosis, anorexia,
     This application claims benefit of U.S. provisional appli-     cachexia, post-traumatic stress syndrome post-surgical bone
  cation No. 62/204,723, filed Aug. 13, 2015, the entire            fracture, medical catabolism, and muscle frailty. The meth-
  content of which is hereby incorporated by reference.          10 ods of treatment include administering to a patient in need
                                                                    of such treatment, a therapeutically effective amount of a
            BACKGROUND OF THE INVENTION                             glucocorticoid receptor modulator compound.
                                                                       Cushing's syndrome is one of these problems. Patients
     Cortisol is a steroid produced by the adrenal glands and is    having Cushing's syndrome usually have easy bruising;
  used in the body to respond to physical and emotional stress 15 abdominal obesity and thin arms and legs; facial plethora;
  and to maintain adequate energy supply and blood sugar            acne; proximal muscle weakness; and/or red purple stripes
  levels. Cortisol production is highly regulated by the hypo-      across the body. Cushing's syndrome is accompanied by
  thalamic-pituitary-adrenal axis (HPA) through a complex set       hypercortisolemia, a condition involving a prolonged excess
  of direct influences and negative feedback interactions. In       of circulating cortisol. Cushing's syndrome can be classified
  healthy individuals, insufficient cortisol in the bloodstream 20 as exogenous Cushing's syndrome, which is caused by
  triggers the hypothalamus to release corticotropin-releasing      excess use of glucocorticoids drugs, such as prednisone,
  hormone (CRH) which signals to the pituitary gland to             dexamethasone, and hydrocortisone, and endogenous Cush-
  release adrenocorticotropic hormone (ACTH), which in turn         ing's syndrome, which is caused by deregulatory abnormali-
  stimulates the adrenal glands to produce more cortisol.           ties in the HPA axis. Endogenous Cushing's syndrome
  Excessive cortisol inhibits hypothalamus from producing 25 consists of the ACTH-independent Cushing's syndrome,
  CRH, thus inhibiting the pituitary gland from releasing           characterized by an overproduction of cortisol in the absence
  ACTH, which in turn suppresses cortisol production. The           of elevation of ACTH secretion; the ACTH-dependent Cush-
  HPA regulation also results in a diurnal rhythm of cortisol       ing's syndrome, characterized by excessive ACTH secre-
  levels, reaching peaks in the morning and nadirs around           tion.
  midnight. Pathological conditions associated with the HPA 30         ACTH-dependent Cushing's syndrome includes roughly
  can affect the diurnal rhythm of the cortisol and ACTH            80% of patients having endogenous Cushing's syndrome
  production and cause serious health problems.                     and consists of two major forms: Cushing Disease and
     The biologic effects of cortisol, including those caused by    ectopic ACTH syndrome. The former is caused by a pitu-
  hypercortisolemia, can be modulated at the GR level using         itary tumor and the latter is caused by a tumor outside the
  receptor modulators, such as agonists, partial agonists and 35 pituitary. Correct differential diagnosis between the Cushing
  antagonists. Several different classes of agents are able to      Disease and ectopic ACTH syndrome is important for endo-
  block the physiologic effects of GR-agonist binding. These        crinologists to recommend transphenoidal surgery or appro-
  antagonists include compositions which, by binding to GR,         priate imaging to identify source of the ectopic ACTH
  block the ability of an agonist to effectively bind to and/or     secretion.
  activate the GR. One such known GR antagonist, mifepris- 40          One current approach of differentially diagnosing patients
  tone, has been found to be an effective anti-glucocorticoid       with ACTH-dependent Cushing's syndrome involves mea-
  agent in humans (Bertagna (1984) J. Clin. Endocrinol.             suring ACTH levels from samples obtained simultaneously
  Metab. 59:25). Mifepristone binds to the GR with high             from both inferior petrosal venous sinus (IPS) a procedure
  affinity, with a dissociation constant (K,) of 10-9 M (Cade-      referred to as inferior petrosal venous sinus sampling
  pond (1997) Annu. Rev. Med. 48:129).                           45 (IPSS) and from the internal jugular or another peripheral
     A variety of disease states are capable of being treated       vein. In one approach, referred herein as CRH-IPSS, 5 blood
  with glucocorticoid receptor modulators, including, e.g.,         samples are taken from each IPS and the internal jugular
  mifepristone; glucocorticoid receptor modulators (e.g, glu-       vein, two before and three after administration of CRH. A
  cocorticoid receptor antagonists) disclosed in U.S. Pat. No.      central-to-periphery ACTH ratio of >2 before and >3 after
  7,928,237 and in U.S. Pat. No. 8,461,172; glucocorticoid so the administration of CRH is consistent with Cushing Dis-
  receptor modulators disclosed in U.S. Pat. No. 8,685,973;         ease while a lower ratio favors ectopic ACTH syndrome.
  glucocorticoid receptor modulators disclosed in U.S. Patent       This procedure requires prolonged catheterization with the
  Publication 2014/0038926 (now U.S. Pat. No. 8,859,774);           likelihood of infection, thrombosis, or bleeding rising with
  and other glucocorticoid receptor modulators. Exemplary           the duration of catheterization. In addition CRH is a protein
  disease states include major psychotic depression, mild 55 which is expensive to produce, causing a shortage in supply
  cognitive impairment, psychosis, dementia, hyperglycemia,         between 2011 and early 2013, and requires sophisticated
  stress disorders, antipsychotic induced weight gain,              handling. Thus, the results from CRH-IPSS for differentially
  delirium, cognitive impairment in depressed patients, cog-        diagnosing patients with ACTH-dependent Cushing's syn-
  nitive deterioration in individuals with Down's syndrome,         drome often fall in the gray area. Desmopressin acetate
  psychosis associated with interferon-alpha therapy, chronic 60 (DDAVP), the alternative to CRH, which has also been used
  pain (e.g. pain associate with gastroesophageal reflux dis-       for IPSS, has similar disadvantages.
  ease), postpartum psychosis, postpartum depression, neuro-           Another approach, referred to herein as metyrapone-IPSS,
  logical disorders in premature infants, migraine headaches,       is similar to the one above, except that metyrapone instead
  obesity, diabetes, cardiovascular disease, hypertension, Syn-     of CRH is administered to the patient before IPSS and that
  drome X, depression, anxiety, glaucoma, human immuno- 65 samples are only taken from the patients after the
  deficiency virus (HIV) or acquired immunodeficiency syn-          metyrapone administration. Although metyrapone-IPSS
  drome (AIDS), neurodegeneration (e.g. Alzheimer's disease         improves the CRH-IPSS since it dispenses with the need
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                                                          US 9,829,495 B2
                                  3                                                                        4
  for sampling before the administration of metyrapone, and
  thus reduces the duration of catheterization and likelihood of                                  0
  infection, thrombis, or bleeding associated therewith it                                R2
  also has serious limitations. First, metyrapone acts to block
  the conversion of 11-deoxycortisol to cortisol by 1113-hy- 5
  droxylase, causing a decrease in cortisol level, which in turn
  stimulates ACTH production and release. Since its effect on                                                            Ar,
  the ACTH secretion is indirect, the test result may be skewed                                   R3
  by other factors affecting the cortisol synthesis. Second, as
                                                                  10
  a cortisol synthesis blocker, treatment of metyrapone
  especially at a high dose may result in adrenal insuffi-           the dashed line is absent or a bond; X is selected from the
  ciency or have deleterious effects on various normal bodily        group consisting of 0 and S; R1 is selected from the group
  functions that require cortisol for example, the anti-stress       consisting of cycloalkyl, heterocycloalkyl, aryl, and het-
  and anti-inflammation functions. Third, metyrapone is cur- 15 eroaryl, optionally substituted with 1-3 R" groups; each R"
  rently not available in the United States, consequently this       is independently selected from the group consisting of H,
  diagnosis method is out of reach for many patients in this         C1 _ 6 alkyl, C2 _ 6 alkenyl, C2 _ 6 alkynyl, C1 _ 6 alkoxy, C1 _ 6 alkyl
  country.                                                           OR1b, halogen, C1 _ 6 haloalkyl, C1 _ 6 haloaloxy, OR1b,
                                                                     NR1bRic, C(0)R1b, C(0)0R1b, OC(0)R1b, C(0)NR1bRic,
           BRIEF SUMMARY OF THE INVENTION                         20 NR1bC(0)Ric, 52R1b, SO2NR1bR1c, cycloalkyl, heterocy-
                                                                     cloalkyl, aryl, and heteroaryl; Rib and Ric are each inde-
     In one aspect, provided herein is a method of differentially    pendently selected from the group consisting of H and C1 _ 6
  diagnosing adrenocorticotropic hormone (ACTH)-depen-               alkyl; R2 is selected from the group consisting of H, C1 _ 6
  dent Cushing's syndrome in a patient with hypercorti-              alkyl, C1 _ 6 alkyl-OR1b, C1 _ 6 alkyl NR1bRlc and C1 _ 6 alkylene
  solemia where the differential diagnosis is between ectopic 25 heterocycloalkyl; R3 is selected from the group consisting of
  ACTH syndrome and Cushing Disease. The method com-                 H and C1 _ 6 alkyl; AT is aryl, optionally substituted with 1-4
  prises: (i) selecting a patient with Cushing's syndrome and        R4 groups; each R4 is independently selected from the group
  elevated ACTH levels; (ii) administering a dose of gluco-          consisting of H, C1 _ 6 alkyl, C1 _ 6 alkoxy, halogen, Ci _ 6
  corticoid receptor antagonist (GRA) sufficient to increase         haloalkyl, and C1 _ 6 haloalkoxy; Li is a bond or C1 _ 6 alky-
  ACTH from the pituitary gland by at least two fold in 30 lene; and subscript n is an integer from 0 to 3, or salts and
  persons with normal HPA function; (iii) waiting for at least       isomers thereof.
  two hours; and (iv) obtaining from the patient an ACTH                In some cases, the GRA backbone is a fused azadecalin.
  concentration ratio, which is derived both from the ACTH           In some cases, the fused azadecalin is a compound having
  concentrations in fluid obtained from either the left or right     the following formula:
                                                                  35
  inferior petrosal venous sinus and from fluid obtained from
  a periphery vein, e.g., a jugular vein. The patient is diag-
  nosed with Cushing Disease if the ACTH concentration ratio
  is greater than 3.                                                                                                L2 —R2,
     In some embodiments, the periphery venous sample is a 40
  jugular venous sample. In some embodiments, the ratio is
  derived from the ACTH concentration in fluid obtained from
  the left and right inferior petrosal venous sinuses. In some
  embodiments, the GRA is a selective inhibitor of the glu-
  cocorticoid receptor. In some cases, the first and second 45
  samplings of ACTH are taken 5-10 minutes apart from both           wherein Li and L2 are members independently selected from
  the inferior petrosal venous sinus and a periphery venous          a bond and unsubstituted alkylene; R1 is a member selected
  sample.                                                            from unsubstituted alkyl, unsubstituted heteroalkyl, unsub-
     In some cases, the GRA is a selective inhibitor of the          stituted heterocycloalkyl,                      NR1CR1D,            C(0)
                                                                          1CR1D, and         C(0)0R1A,      wherein     RiA is a member
  glucocorticoid receptor. In some embodiments, the GRA           so NR
  comprises a steroidal backbone with at least one phenyl-           selected from hydrogen, unsubstituted alkyl, and unsubsti-
  containing moiety in the 11-(3 position of the steroidal           tuted heteroalkyl; Ric and RlD are members independently
                                                                     selected from unsubstituted alkyl and unsubstituted het-
  backbone. In some cases, the phenyl-containing moiety in
                                                                     eroalkyl, and are optionally joined to form an unsubstituted
  the 11-(3 position of the steroidal backbone is a dimethyl-
                                                                  55 ring with the nitrogen to which they are attached, wherein
  aminophenyl moiety. In some cases, the GRA is mifepris-
                                                                     said ring optionally comprises an additional ring nitrogen.
  tone. In some embodiments, the GRA is selected from the            R2 has the formula:
  group consisting of 1113-(4-dimethylaminoethoxypheny1)-
  17a-propyny1-1713-hydroxy-4,9 estradien-3-one and (17a)-
  17 -hydroxy-19 -(4 -methylphenyl)andro sta-4,9 (11)-dien-3 -    60
  one. In some embodiments, the glucocorticoid receptor                                       —x
  antagonist is (1113,17(3)-11 -(1,3 -benzodioxo1-5 -y1)-17 -hy-
  droxy-17- (1 -propynyl)estra-4,9 -dien-3 -one.
     In some embodiments, the GRA has a non-steroidal                wherein R2G is a member selected from hydrogen, halogen,
  backbone. In some cases, the GRA backbone is a cyclohexyl 65 unsubstituted alkyl, unsubstituted heteroalkyl, unsubstituted
  pyrimidine. In some cases, wherein the cyclohexyl pyrimi-          cycloalkyl, unsubstituted heterocycloalkyl,                  CN, and
  dine has the following formula:                                       CF3; J is phenyl; t is an integer from 0 to 5; X is
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     S(02) ; and R5 is phenyl optionally substituted with 1-5
  RSA groups, wherein RSA is a member selected from hydro-
  gen, halogen,                 S(02)NR5A2R5A3,     CN, and
  unsubstituted alkyl, and RSA' is a member selected from
  hydrogen and unsubstituted alkyl, and RSA2 and RSA3 are 5                                                                 (R2)1-4,
  members independently selected from hydrogen and unsub-
  stituted alkyl, or salts and isomers thereof.
     In some cases, the GRA backbone is a heteroaryl ketone
  fused azadecalin or an octahydro fused azadecalin. In some
                                                              10
  cases, the heteroaryl ketone fused azadecalin has the for-
  mula:                                                                                (R3a
                                                                                              ),,



                               0 0                                      wherein R' is a heteroaryl ring having from 5 to 6 ring
                                                                     15
                                                                        members and from 1 to 4 heteroatoms each independently
                                                          (R2 )1-4,     selected from the group consisting of N, 0, and S, optionally
       N                                                                substituted with 1-4 groups each independently selected
          N                                                             from R"; each R" is independently selected from the group
                                                                    20 consisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,
          R3                                                            C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, N-oxide, and C3 _ 8 cycloalkyl;
                                                                        ring J is selected from the group consisting of an aryl ring
  wherein R' is a heteroaryl ring having from 5 to 6 ring               and a heteroaryl ring having from 5 to 6 ring members and
  members and from 1 to 4 heteroatoms each independently                from 1 to 4 heteroatoms each independently selected from
  selected from the group consisting of N, 0 and S, optionally      25  the   group consisting of N, 0, and S; each R2 is indepen-
  substituted with 1-4 groups each independently selected               dently   selected from the group consisting of hydrogen, C1 _ 6
                                                                        alkyl, halogen, C1 _ 6 haloalkyl, C1 _ 6 alkoxy, C1 _ 6 haloalkoxy,
  from R"; each R" is independently selected from the group
                                                                        C1 _ 6 alkyl-C1 _ 6 alkoxy, CN, OH, NR2aR2b, C(0)R2a, C(0)
  consisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,      0R2a, C(0)NR2aR2b, SR2a, S(0)R2a, S(0)2R2a, C3 _ 8
  C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, CN, N-oxide, C3 _ 8 cycloalkyl, 30 cycloalkyl, and C3 _ 8 heterocycloalkyl having from 1 to 3
  and C3 _ 8 heterocycloalkyl; ring J is selected from the group        heteroatoms each independently selected from the group
  consisting of a cycloalkyl ring, a heterocycloalkyl ring, an          consisting of N, 0, and S; alternatively, the two R2 groups
  aryl ring, and a heteroaryl ring, wherein the heterocycloalkyl        on adjacent ring atoms are combined to form a heterocy-
                                                                        cloalkyl ring having from 5 to 6 ring members and from 1
  and heteroaryl rings have from 5 to 6 ring members and from
                                                                    35 to 3 heteroatoms each independently selected from the group
  1 to 4 heteroatoms each independently selected from the               consisting of N, 0, and S, wherein the heterocycloalkyl ring
  group consisting of N, 0, and S; each R2 is independently             is optionally substituted with 1-3 R2' groups; Rea, R2b, and
  selected from the group consisting of hydrogen, C1 _ 6 alkyl,         R2' are each independently selected from the group consist-
  halogen, C1 6 haloalkyl, C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, C1 _ 6     ing of hydrogen and C1 _ 6 alkyl; each R3a is independently
  alkyl-C1 _ 6 alkoxy, CN, OH, NR2aR2b, c(o)R2a, C(0)0R2a, 40 halogen; and subscript n is an integer from 0 to 3, or salts
  C(0)NR2aR2b, SR2', S(0)R2a, S(0)2R2a, C3 _ 8 cycloalkyl,              and isomers thereof.
                                                                           In yet another aspect, provided herein is a diagnostic
  and C3 _ 8 heterocycloalkyl, wherein the heterocycloalkyl
                                                                        composition, or a diagnostic kit comprising a glucocorticoid
  groups are optionally substituted with 1-4 R2' groups; alter-         receptor antagonist (GRA) for use in a method of differen-
  natively, two R2 groups linked to the same carbon are 45 tially diagnosing adrenocorticotropic hormone (ACTH)-de-
  combined to form an oxo group (=0); alternatively, two R2             pendent Cushing's syndrome in a patient where the differ-
  groups are combined to form a heterocycloalkyl ring having            ential diagnosis is between ectopic ACTH syndrome and
  from 5 to 6 ring members and from 1 to 3 heteroatoms each             Cushing Disease, the method comprising the step of deter-
  independently selected from the group consisting of N, 0,             mining the ACTH concentration ratio from a patient with
                                                                    so Cushing's syndrome and an elevated ACTH level, where the
  and S, wherein the heterocycloalkyl ring is optionally sub-
                                                                        patient has been administered a dose of glucocorticoid
  stituted with 1-3 R2d groups; Rea and R2b are each indepen-           receptor antagonist (GRA) at least two hours prior to the
  dently selected from the group consisting of hydrogen and             removal of venous samples and where the amount of GRA
  C1 _ 6 alkyl; each R2' is independently selected from the group       administered to the patient is sufficient to increase ACTH
  consisting of hydrogen, halogen, hydroxy, C1 _ 6 alkoxy, C1 _ 6 55 from the pituitary gland by at least two fold in persons with
  haloalkoxy, CN, and NR2aR2b; each R2d is independently                normal Hypothalamus Pituitary Adrenal (HPA) function;
  selected from the group consisting of hydrogen and C1 _ 6             wherein the ACTH concentration ratio is derived from the
  alkyl, or two R2d groups attached to the same ring atom are           ACTH concentrations in fluid obtained from either the left
  combined to form (=0); R3 is selected from the group                  or right inferior petrosal venous sinus and from fluid
                                                                    60 obtained from a periphery venous sample; and wherein an
  consisting of phenyl and pyridyl, each optionally substituted
                                                                        ACTH concentration ratio of greater than 3 for the ACTH
  with 1-4 R3a groups; each R3a is independently selected               concentration from the inferior venous sinus sample over the
  from the group consisting of hydrogen, halogen, and C1 _ 6            periphery venous sinus sample is diagnostic indicative of
  haloalkyl; and subscript n is an integer from 0 to 3; or salts        Cushing's disease.
  and isomers thereof.                                              65     In yet another aspect, provided here in is a method of
     In some cases, the octahydro fused azadecalin has the              obtaining a measurement indicative of differential diagnosis
  formula:                                                              of adrenocorticotropic hormone (ACTH)-dependent Cush-
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  ing's syndrome in a patient where the differential diagnosis      manufacture and store. Third, compared to CRH/DDAVP-
  is between ectopic ACTH syndrome and Cushing Disease,             IPSS, the method disclosed herein dispenses with the need
  the method comprising the step of: (i) determining the            to sample blood before the administration of GRAs, and thus
  ACTH concentration ratio from a patient with Cushing's            reduces the duration of catheterization and minimizes com-
  syndrome and an elevated ACTH level, where the patient 5 plications associated with prolonged catheterization.
  has been administered a dose of glucocorticoid receptor
  antagonist (GRA) at least two hours prior to the removal of                                II. Definitions
  venous samples and where the amount of GRA administered
  to the patient is sufficient to increase ACTH from the               The term "endogenous Cushing's syndrome" refers to a
  pituitary gland by at least two fold in persons with normal 10 form of Cushing's syndrome, where the excess cortisol level
  Hypothalamus Pituitary Adrenal (HPA) function; wherein            is caused by the body's own overproduction of corti sol.
  the ACTH concentration ratio is derived from the ACTH                The term "Adrenocorticotropic hormone (ACTH)-depen-
  concentrations in fluid obtained from either the left or right    dent Cushings syndrome" refers to a form of endogenous
  inferior petrosal venous sinus and from fluid obtained from       Cushing's syndrome, which is caused by abnormal produc-
  a periphery venous sample; and wherein an ACTH concen- 15
                                                                    tion of ACTH. There are two major forms of ACTH-
  tration ratio of greater than 3 for the ACTH concentration
                                                                    dependent Cushing's syndrome: Cushing Disease (account-
  from the inferior venous sinus sample over the periphery
                                                                    ing for about 80% of the cases) and ectopic ACTH syndrome
  venous sinus sample is indicative of Cushing's disease.
     In yet another aspect, provided herein is a glucocorticoid     (accounting for 20% of the cases).
  receptor antagonist (GRA) for use in a method of differen- 20        The term "ACTH concentration ratio", "ACTH ratio",
  tially diagnosing adrenocorticotropic hormone (ACTH)-de-          "pituitary to periphery ACTH ratio", or "central to periphery
  pendent Cushing's syndrome in a patient where the differ-         ACTH ratio" disclosed herein refers to the ratio between the
  ential diagnosis is between ectopic ACTH syndrome and             amount, level, or concentration of ACTH in the blood
  Cushing Disease, the method comprising the steps of: (i)          sample obtained from inferior petrosal sinus and the blood
  selecting a patient with Cushing's syndrome and also 25 sample obtained from the periphery veins. In one embodi-
  elevated ACTH levels; (ii) administering a dose of the GRA        ment, the periphery vein is the jugular vein.
  sufficient to increase ACTH from the pituitary gland by at           The term "prolactin concentration ratio", "prolactin
  least two fold in persons with normal Hypothalamus Pitu-          ratio", "pituitary to periphery prolactin ratio", or "central to
  itary Adrenal (HPA) function; (iii) waiting for at least two      periphery prolactin ratio" disclosed herein refers to the ratio
  hours; and (iv) obtaining from the patient an ACTH con- 30 between the amount, level, or concentration of prolactin in
  centration ratio wherein the ratio is derived from the ACTH       the blood sample obtained from inferior petrosal sinus and
  concentrations in fluid obtained from either the left or right    the blood sample obtained from the periphery veins. In one
  inferior petrosal venous sinus and from fluid obtained from       embodiment, the periphery vein is the jugular vein.
  a periphery venous sample; wherein an ACTH concentration             The term "differentially diagnosing" refers to the distin-
  ratio of greater than 3 for the ACTH concentration from the 3 5 guishing of a particular disease or condition from others that
  inferior venous sinus sample over the periphery venous
                                                                    present similar symptoms. A differential diagnostic method
  sinus sample is diagnostic of Cushing's disease.
                                                                    is a systematic diagnostic method used to identify the
     Other objects, features, and advantages of the present
                                                                    presence of a condition where multiple alternatives are
  invention will be apparent to one of skill in the art from the
  following detailed description and figures.                    40
                                                                    possible. This method is essentially a process of elimination
                                                                    or a process of obtaining information that shrinks the
              DETAILED DESCRIPTION OF THE                           "probabilities" of candidate conditions to negligible levels.
                           INVENTION                                The method uses evidence such as symptoms, test results,
                                                                    patient history, and medical knowledge to adjust epistemic
                          I. Introduction                        45 confidences in the mind of the diagnostician (or, for com-
                                                                    puterized or computer-assisted diagnosis, the software of the
     This invention involves the use of GRAs to provide a           system). Often each individual option of a possible disease
  robust and reproducible means to stimulate ACTH produc-           is called a differential diagnosis.
  tion in the pituitary gland for the differential diagnosis of        The term "ectopic ACTH syndrome" refers to the abnor-
  patients with ACTH-dependent Cushing's syndrome, where 50 mal production of ACTH due to ectopic ACTH secretion by
  the differential diagnosis is between ectopic ACTH syn-           an extrapituitary tumor. These extrapituitary tumors fre-
  drome and Cushing Disease. GRAs are first administered,           quently originate in lungs, but in some cases originate from
  and blood samples are then taken by IPSS after sufficient         the thymus, pancreas, adrenal gland or thyroid.
  time for the assessment of ACTH levels.                              The term "Cushing Disease" refers to the condition in
     The claimed methods have many advantages over the 55 which the pituitary gland releases too much ACTH as a
  existing differential diagnosis methods, such as CRH-IPSS,        result of a tumor located in—or excess growth (hyperplasia)
  DDAVP-IPSS and metyrapone-IPSS. First, the claimed                of the pituitary gland. Cushing Disease is a form of
  methods are more robust compared to metyrapone-IPSS.              Cushing's syndrome.
  GRAs used in the invention act to block cortisol binding to          The term "hypercortisolemia" refers a condition of having
  the receptor thus preventing cortisol from inhibiting 60 a higher than normal amount of circulating cortisol.
  ACTH production and resulting in increased ACTH produc-              The term "inferior petrosal sinus sampling (IPSS)" refers
  tion/secretion. Compared to metyrapone, which acts to block       to an invasive procedure performed to obtain blood samples
  the cortisol synthesis pathway, GRAs' effect on ACTH              from one or both petrosal venous sinuses by inserting
  stimulation is more direct, thus making the test results more     catheters in one or both inferior petrosal veins via the jugular
  reliable. Second, compared to CRH/DDAVP-IPSS, the 65 or femoral veins. The petrosal venous sinus drains the
  methods are cost-effective and convenient to use because          pituitary via the cavernous sinus. Thus, samples obtained
  GRAs are orally deliverable and less expensive than CRH to        from IPSS are often analyzed and compared with the
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  samples obtained from periphery blood for the amount of a             is typically at least 5%, at least 10%, or at least 20%, 30%,
  particular analyte to detect signs of a disease relating to the       or 50%, or even as high as at least 80% or 90% of the control
  pituitary gland.                                                      value. Other terms indicating quantitative changes or dif-
     The term "jugular venous sampling" refers to an invasive           ferences from a comparative basis, such as "more," "less,"
  procedure performed to obtain blood samples from jugular 5 "higher," and "lower," are used in this application in the
  veins (a periphery vein) by inserting catheters in the internal       same fashion as described above.
  jugular vein via femoral veins. The tips of the catheters are            The term "normal reference value", "reference value", or
  typically advanced to the level of the angles of the mandible.        "standard control level" refers to the a predetermined
     The term "periphery venous sinus sampling" refers to an            amount, level, or concentration of a particular analyte, e.g.,
  invasive procedure performed to obtain blood samples from 10 ACTH, cortisol, or prolactin by comparison to which a
  periphery veins by catheterization. Non-limiting examples             diagnosis of the presence or absence of a particular condi-
  of periphery veins include adrenal veins, high inferior vena          tion can be made, e.g., hypercortisolemia. Normal reference
  cava, hepatic vein, azygos and hemiazygos veins, right                values referred to in this disclosure are in some cases
  atrium, right and left innominate and thymic veins, jugular           provided by the commercial test that is used to determine the
  veins, and both superior and middle thyroid veins.                 15 analyte levels. In some cases, a normal reference value,
     The term "patient," "individual", or "subject" is used             reference value, or standard control level is established as
  interchangeably to refer to a human subject. In some cases,           the average of the amount, level, or concentration of an
  the individual is suspected of having Cushing's Syndrome.             analyte from one or more normal, healthy subjects, e.g.,
     The term "administering" includes oral administration,             subjects who have normal HPA function. In some cases, they
  topical contact, administration as a suppository, intravenous, 20 are established as a range of the level, amount, or concen-
  intraperitoneal, intramuscular, intralesional, intrathecal,           tration of the analyte in a group of healthy subjects. Normal
  intranasal, or subcutaneous administration, or the implanta-          reference values may vary depending on the nature of the
  tion of a slow-release device, e.g., a mini-osmotic pump, to          sample, the manner or timing of sample collection, as well
  a subject. Administration is by any route, including paren-           as other factors such as the sex, age, and ethnicity of the
  teral and transmucosal (e.g., buccal, sublingual, palatal, 25 subjects for whom such a control value is established.
  gingival, nasal, vaginal, rectal, or transdermal). Parenteral            The term "elevated level", "elevated amount", or
  administration includes, e.g., intravenous, intramuscular,            "elevated concentration" refers to the level or amount of the
  intra-arteriole, intradermal, epicutaneous, subcutaneous,             analyte that is higher than the normal reference value for that
  intraperitoneal, intraventricular, and intracranial. Other            analyte.
  modes of delivery include, but are not limited to, the use of 30         The term "chromatography" refers to a process in which
  liposomal formulations, intravenous infusion, and transder-           a chemical mixture carried by a liquid or gas is separated
  mal patches.                                                          into components as a result of the differential distribution of
     The term "sample" refers to a biological sample obtained           the chemical entities as they flow around or over a stationary
  from a human subject. The sample can be any cell, tissue or           liquid or solid phase.
  fluid from a human subject. Samples can be subject to 35                 The term "liquid chromatography" or "LC" refers to a
  various treatment, storage or processing procedures before            process of selective retardation of one or more components
  being analyzed according to the methods described herein.             of a fluid solution when the fluid uniformly percolates either
  Generally, the terms "sample" or "samples" are not intended           through a column of a finely divided substance or through
  to be limited by their source, origin, manner of procurement,         capillary passageways. The retardation results from the
  treatment, processing, storage or analysis, or any modifica- 40 distribution of the components of the mixture between one
  tion.                                                                 or more stationary phases and the bulk fluid, (i.e., mobile
     The term "cortisol" refers to a glucocorticoid hormone             phase), as this fluid moves relative to the stationary phase(s).
  that is produced by the zona fasciculata of the adrenal gland.        Examples of "liquid chromatography" include reverse phase
     The term "adrenocorticotropic hormone" or "ACTH"                   liquid chromatography (RPLC), high performance liquid
  refers to a polypeptide-based hormone that is normally 45 chromatography (HPLC), and turbulent flow liquid chroma-
  produced and secreted by the anterior pituitary gland. ACTH           tography (TFLC) (sometimes known as high turbulence
  stimulates secretion of cortisol and other glucocorticoids            liquid chromatography (HTLC) or high throughput liquid
  (GCs) by specialized cells of the adrenal cortex. In healthy          chromatography).
  mammals, ACTH secretion is tightly regulated. ACTH                       The term "high performance liquid chromatography" or
  secretion is positively regulated by corticotropin releasing 50 "HPLC" (also sometimes known as "high pressure liquid
  hormone (CRH), which is released by the hypothalamus.                 chromatography") refers to liquid chromatography in which
  ACTH secretion is negatively regulated by cortisol and other          the degree of separation is increased by forcing the mobile
  glucocorticoids.                                                      phase under pressure through a stationary phase typically
     The term "measuring the level," in the context of cortisol,        a densely packed column. As used herein, the term "ultra
  ACTH, or other steroids, refers determining, detecting, or 55 high performance liquid chromatography", "HPLC" or
  quantitating the amount, level, or concentration of, for              "UHPLC" (sometimes known as "ultra high pressure liquid
  example, cortisol, ACTH or other steroids in a sample                 chromatography") refers to HPLC which occurs at much
  obtained from a subject.                                              higher pressures than in traditional HPLC techniques.
     The term a "increase" or a "decrease" refers to a detect-             The term "glucocorticosteroid" ("GC") or "glucocorti-
  able positive or negative change in quantity from a com- 60 coid" refers to a steroid hormone that binds to a glucocor-
  parison control, e.g., an established standard control (such as       ticoid receptor. Glucocorticosteroids are typically character-
  an average level of cortisol in a normal, healthy subject who         ized by having 21 carbon atoms, an a,(3-unsaturated ketone
  does not have hypercortisolemia). An increase is a positive           in ring A, and an a-ketol group attached to ring D. They
  change that is typically at least 5%, at least 10%, or at least       differ in the extent of oxygenation or hydroxylation at C-11,
  20%, or 50%, or 100%, and can be as high as at least 65 C-17, and C-19; see Rawn, "Biosynthesis and Transport of
  1.5-fold, at least 2-fold, at least 5-fold, or even 10-fold of the    Membrane Lipids and Formation of Cholesterol Deriva-
  control value. Similarly, a decrease is a negative change that        tives," in Biochemistry, Daisy et al. (eds.), 1989, pg. 567.
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     The term "glucocorticoid receptor" ("GR") refers to the           backbone, a fused azadecalin backbone, a heteroaryl ketone
  type II GR which specifically binds to cortisol and/or               fused azadecalin backbone, or an octahydro fused azadeca-
  cortisol analogs such as dexamethasone; See, e.g., Turner &          lin backbone. Exemplary glucocorticoid receptor antago-
  Muller, J Mol. Endocrinol, 2005 (35): 283-292. The GR is             nists having a cyclohexyl-pyrimidine backbone include
  also referred to as the cortisol receptor. The term includes 5 those described in U.S. Pat. No. 8,685,973. Exemplary
  isoforms of GR, recombinant GR and mutated GR. Inhibi-               GRAs having a fused azadecalin backbone include those
  tion constants (K,) against the human GR receptor type II            described in U.S. Pat. Nos. 7,928,237 and 8,461,172. Exem-
  (Genbank: P04150) are between 0.0001 nM and 1,000 nM;                plary GRAs having a heteroaryl ketone fused azadecalin
  preferably between 0.0005 nM and 10 nM, and most pref-               backbone include those described in U.S. Pat. Pub. 2014/
  erably between 0.001 nM and 1 nM.                                  o 0038926. Exemplary GRAs having an octohydro fused
     The term "glucocorticoid receptor antagonist" or "GRA"            azadecalin backbone include those described in U.S. Provi-
  refers to any composition or compound which partially or             sional Patent Appl. No. 61/908,333, entitled Octahydro
  completely inhibits (antagonizes) the binding of a glucocor-         Fused Azadecalin Glucocorticoid Receptor Modulators,
  ticoid receptor (GR) agonist, such as cortisol, or cortisol          filed on Nov. 25, 2013.
  analogs, synthetic or natural, to a GR. A "specific glucocor- 15        Where substituent groups are specified by their conven-
  ticoid receptor antagonist" refers to any composition or             tional chemical formulae, written from left to right, they
  compound which inhibits any biological response associated           equally encompass the chemically identical substituents that
  with the binding of a GR to an agonist. By "specific," the           would result from writing the structure from right to left,
  drug preferentially binds to the GR rather than to other             e.g., CH2O is equivalent to OCH2 .
  nuclear receptors, such as the mineralocorticoid receptor 20            "Alkyl" refers to a straight or branched, saturated, ali-
  (MR), androgen receptor (AR), or progesterone receptor               phatic radical having the number of carbon atoms indicated.
  (PR). It is preferred that the specific glucocorticoid receptor      Alkyl can include any number of carbons, such as C1 _ 2, C1 _ 3,
  antagonist binds GR with an affinity that is 10x greater (IA oth     C1_4, c1-51 c1-61 c1-71 c1-81 c1-91 c1-101 c2-31 c2-4.1 c2-51 c2-61
  the Kd value) than its affinity to the MR, AR, or PR, both the       C3 _ 4, C3 _ 5, C3 _ 6, C4_ 5, C4_ 6, and C5 _ 6. For example, C1 _ 6 alkyl
  MR and PR, both the MR and AR, both the AR and PR, or 25 includes, but is not limited to, methyl, ethyl, propyl, isopro-
  to the MR, AR, and PR. In a more preferred embodiment, the           pyl, butyl, isobutyl, sec.butyl, tert.butyl, pentyl, isopentyl,
  specific glucocorticoid receptor antagonist binds a GR with          and hexyl.
  an affinity that is 100x greater (Viooth the Kd value) than its         "Alkoxy" refers to an alkyl group having an oxygen atom
  affinity to the MR, AR, or PR, both the MR and PR, both the          that connects the alkyl group to the point of attachment:
  MR and AR, both the AR and PR, or to the MR, AR, and PR. 30 alkyl-0 . As for the alkyl group, alkoxy groups can have
     The term "selective inhibitor" in the context of a gluco-         any suitable number of carbon atoms, such as C1 _ 6. Alkoxy
  corticoid receptor refers to a chemical compound that selec-         groups include, for example, methoxy, ethoxy, propoxy,
  tively interferes with the binding of a specific glucocorticoid      iso-propoxy, butoxy, 2-butoxy, iso-butoxy, sec-butoxy, tert-
  receptor agonist and a glucocorticoid receptor.                      butoxy, pentoxy, hexoxy, etc.
     The term "steroidal backbone" in the context of gluco- 35            "Halogen" refers to fluorine, chlorine, bromine, and
  corticoid receptor antagonists containing such refers to             iodine.
  glucocorticoid receptor antagonists that contain modifica-              "Haloalkyl" refers to alkyl, as defined above, where some
  tions of the basic structure of cortisol, an endogenous              or all of the hydrogen atoms are replaced with halogen
  steroidal glucocorticoid receptor ligand. The basic structure        atoms. As for the alkyl group, haloalkyl groups can have any
  of a steroidal backbone is provided as Formula I:                 40 suitable number of carbon atoms, such as C1 _ 6, and include
                                                                       trifluoromethyl, fluoromethyl, etc.
                                                                          The term "perfluoro" can be used to define a compound or
                                                          Formula I    radical where all the hydrogens are replaced with fluorine.
                                          17                           For example, perfluoromethane includes 1,1,1-trifluorom-
                                                                    45 ethyl.
                                             16
                                                                          "Haloalkoxy" refers to an alkoxy group where some or all
                                                                       of the hydrogen atoms are substituted with halogen atoms.
                                                                       As for the alkyl group, haloalkoxy groups can have any
                                                                       suitable number of carbon atoms, such as C1 _ 6. The alkoxy
                                                                    so groups can be substituted with 1, 2, 3, or more halogens.
                                                                       When all the hydrogens are replaced with a halogen, for
                       Steroidal Backbone
                                                                       example by fluorine, the compounds are per-substituted, for
                                                                       example, perfluorinated. Haloalkoxy includes, but is not
  The two most commonly known classes of structural modi-              limited to, trifluoromethoxy, 2,2,2,-trifluoroethoxy, and per-
  fications of the cortisol steroid backbone to create gluco- 55 fluoroethoxy.
  corticoid antagonists include modifications of the 11-13                "Cycloalkyl" refers to a saturated or partially unsaturated,
  hydroxy group and modification of the 17-0 side chain (See,          monocyclic, fused bicyclic, or bridged polycyclic ring
  e. g., Lefebvre (1989) J. Steroid Biochem. 33: 557-563).             assembly containing from 3 to 12 ring atoms, or the number
     As used herein, the term "non-steroidal backbone" in the          of atoms indicated. Cycloalkyl can include any number of
  context of glucocorticoid receptor antagonists containing 60 carbons, such as C3 _ 6, C4_ 6, C5 _ 6, C3 _ 8, C4 _8, C5 _ 8, C6 _8, C3 _ 9,
  such refers to glucocorticoid receptor antagonists that do not       C3-101 C3 _11, and C3 _ 12. Saturated monocyclic cycloalkyl
  share structural homology to, or are not modifications of,           rings include, for example, cyclopropyl, cyclobutyl, cyclo-
  cortisol. Such compounds include synthetic mimetics and              pentyl, cyclohexyl, and cyclooctyl. Saturated bicyclic and
  analogs of proteins, including partially peptidic, pseudopep-        polycyclic cycloalkyl rings include, for example, norbor-
  tidic, and non-peptidic molecular entities.                       65 nave, [2.2.2] bicyclooctane, decahydronaphthalene, and
     Non-steroidal GRA compounds also include glucocorti-              adamantane. Cycloalkyl groups can also be partially unsatu-
  coid receptor antagonists having a cyclohexyl-pyrimidine             rated, having one or more double or triple bonds in the ring.
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  Representative cycloalkyl groups that are partially unsatu-          include any number of ring atoms, such as 3 to 6, 4 to 6, 5
  rated include, but are not limited to, cyclobutene, cyclopen-        to 6, 3 to 8, 4 to 8, 5 to 8, 6 to 8, 3 to 9, 3 to 10, 3 to 11,
  tene, cyclohexene, cyclohexadiene (1,3- and 1,4-isomers),            or 3 to 12 ring members. Any suitable number of heteroa-
  cycloheptene, cycloheptadiene, cyclooctene, cyclooctadiene           toms can be included in the heteroaryl groups, such as 1, 2,
  (1,3-, 1,4- and 1,5-isomers), norbornene, and norbornadiene. 5 3, 4, or 5; or 1 to 2, 1 to 3, 1 to 4, 1 to 5, 2 to 3, 2 to 4, 2
  When cycloalkyl is a saturated monocyclic C3 _ 8 cycloalkyl,         to 5, 3 to 4, or 3 to 5. Heteroaryl groups can have from 5 to
  exemplary groups include, but are not limited to, cyclopro-          8 ring members and from 1 to 4 heteroatoms, or from 5 to
  pyl, cyclobutyl, cyclopentyl, cyclohexyl, cycloheptyl, and           8 ring members and from 1 to 3 heteroatoms, or from 5 to
  cyclooctyl. When cycloalkyl is a saturated monocyclic C3 _ 6         6 ring members and from 1 to 4 heteroatoms, or from 5 to
  cycloalkyl, exemplary groups include, but are not limited to, 10 6 ring members and from 1 to 3 heteroatoms. The heteroaryl
  cyclopropyl, cyclobutyl, cyclopentyl, and cyclohexyl.                group can include groups such as pyrrole, pyridine, imida-
     "Heterocycloalkyl" refers to a saturated ring system hav-         zole, pyrazole, triazole, tetrazole, pyrazine, pyrimidine,
  ing from 3 to 12 ring members and from 1 to 4 heteroatoms            pyridazine, triazine (1,2,3-, 1,2,4-, and 1,3,5-isomers), thio-
  of N, 0, and S. Additional heteroatoms can also be useful,           phene, furan, thiazole, isothiazole, oxazole, and isoxazole.
  including but not limited to, B, Al, Si, and P. The heteroa- 15 The heteroaryl groups can also be fused to aromatic ring
  toms can also be oxidized, such as, but not limited to,              systems, such as a phenyl ring, to form members including,
     S(0) and          S(0)2 . Heterocycloalkyl groups can             but not limited to, benzopyrroles such as indole and isoin-
  include any number of ring atoms, such as 3 to 6, 4 to 6, 5          dole, benzopyridines such as quinoline and isoquinoline,
  to 6, 3 to 8, 4 to 8, 5 to 8, 6 to 8, 3 to 9, 3 to 10, 3 to 11,      benzopyrazine (quinoxaline), benzopyrimidine (quinazo-
  or 3 to 12 ring members. Any suitable number of heteroa- 20 line), benzopyridazines such as phthalazine and cinnoline,
  toms can be included in the heterocycloalkyl groups, such as         benzothiophene, and benzofuran. Other heteroaryl groups
  1, 2, 3, or 4, or 1 to 2, 1 to 3, 1 to 4, 2 to 3, 2 to 4, or 3 to    include heteroaryl rings linked by a bond, such as bipyri-
  4. The heterocycloalkyl group can include groups such as             dine. Heteroaryl groups can be substituted or unsubstituted.
  aziridine, azetidine, pyrrolidine, piperidine, azepane, azo-            The heteroaryl groups can be linked via any position on
  cane, quinuclidine, pyrazolidine, imidazolidine, piperazine 25 the ring. For example, pyrrole includes 1-, 2-, and 3-pyrrole;
  (1,2-, 1,3- and 1,4-isomers), oxirane, oxetane, tetrahydro-          pyridine includes 2-, 3- and 4-pyridine; imidazole includes
  furan, oxane (tetrahydropyran), oxepane, thiirane, thietane,         1-, 2-, 4- and 5-imidazole; pyrazole includes 1-, 3-, 4- and
  thiolane (tetrahydrothiophene), thiane (tetrahydrothiopy-            5-pyrazole; triazole includes 1-, 4- and 5-triazole; tetrazole
  ran), oxazolidine, isoxalidine, thiazolidine, isothiazolidine,       includes 1- and 5-tetrazole; pyrimidine includes 2-, 4-, 5-
  dioxolane, dithiolane, morpholine, thiomorpholine, dioxane, 30 and 6-pyrimidine; pyridazine includes 3- and 4-pyridazine;
  or dithiane. The heterocycloalkyl groups can also be fused to        1,2,3-triazine includes 4- and 5-triazine; 1,2,4-triazine
  aromatic or non-aromatic ring systems to form members                includes 3-, 5- and 6-triazine; 1,3,5-triazine includes 2-tri-
  including, but not limited to, indoline.                             azine; thiophene includes 2- and 3-thiophene; furan includes
     When heterocycloalkyl includes 3 to 8 ring members and            2- and 3-furan; thiazole includes 2-, 4- and 5-thiazole;
  1 to 3 heteroatoms, representative members include, but are 35 isothiazole includes 3-, 4- and 5-isothiazole; oxazole
  not limited to, pyrrolidine, piperidine, tetrahydrofuran,            includes 2-, 4- and 5-oxazole; isoxazole includes 3-, 4- and
  oxane, tetrahydrothiophene, thiane, pyrazolidine, imidazo-           5-isoxazole; indole includes 1-, 2- and 3-indole; isoindole
  lidine, piperazine, oxazolidine, isoxazolidine, thiazolidine,        includes 1- and 2-isoindole; quinoline includes 2-, 3- and
  isothiazolidine, morpholine, thiomorpholine, dioxane and             4-quinoline; isoquinoline includes 1-, 3- and 4-isoquinoline;
  dithiane. Heterocycloalkyl can also form a ring having 5 to 40 quinazoline includes 2- and 4-quinoazoline; cinnoline
  6 ring members and 1 to 2 heteroatoms, with representative           includes 3- and 4-cinnoline; benzothiophene includes 2- and
  members including, but not limited to, pyrrolidine, piperi-          3-benzothiophene; and benzofuran includes 2- and 3-ben-
  dine, tetrahydrofuran, tetrahydrothiophene, pyrazolidine,            zofuran.
  imidazolidine, piperazine, oxazolidine, isoxazolidine, thi-             Some heteroaryl groups include those having from 5 to 10
  azolidine, isothiazolidine, and morpholine.                       45 ring members and from 1 to 3 ring atoms including N, 0, or
     "Aryl" refers to an aromatic ring system having any               S, such as pyrrole, pyridine, imidazole, pyrazole, triazole,
  suitable number of ring atoms and any suitable number of             pyrazine, pyrimidine, pyridazine, triazine (1,2,3-, 1,2,4- and
  rings. Aryl groups can include any suitable number of ring           1,3,5-isomers), thiophene, furan, thiazole, isothiazole,
  atoms, such as 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, or 16 ring        oxazole, isoxazole, indole, isoindole, quinoline, isoquino-
  atoms, as well as from 6 to 10, 6 to 12, or 6 to 14 ring 50 line, quinoxaline, quinazoline, phthalazine, cinnoline, ben-
  members. Aryl groups can be monocyclic, fused to form                zothiophene, and benzofuran. Other heteroaryl groups
  bicyclic or tricyclic groups, or linked by a bond to form a          include those having from 5 to 8 ring members and from 1
  biaryl group. Representative aryl groups include phenyl,             to 3 heteroatoms, such as pyrrole, pyridine, imidazole,
  naphthyl and biphenyl. Other aryl groups include benzyl,             pyrazole, triazole, pyrazine, pyrimidine, pyridazine, triazine
  that has a methylene linking group. Some aryl groups have 55 (1,2,3-, 1,2,4- and 1,3,5-isomers), thiophene, furan, thiazole,
  from 6 to 12 ring members, such as phenyl, naphthyl, or              isothiazole, oxazole, and isoxazole. Some other heteroaryl
  biphenyl. Other aryl groups have from 6 to 10 ring members,          groups include those having from 9 to 12 ring members and
  such as phenyl or naphthyl. Some other aryl groups have 6            from 1 to 3 heteroatoms, such as indole, isoindole, quino-
  ring members, such as phenyl. Aryl groups can be substi-             line, isoquinoline, quinoxaline, quinazoline, phthalazine,
  tuted or unsubstituted.                                           60 cinnoline, benzothiophene, benzofuran and bipyridine. Still
     "Heteroaryl" refers to a monocyclic, fused bicyclic, or           other heteroaryl groups include those having from 5 to 6 ring
  tricyclic aromatic ring assembly containing 5 to 16 ring             members and from 1 to 2 ring heteroatoms including N, 0
  atoms, where from 1 to 5 of the ring atoms are a heteroatom          or S, such as pyrrole, pyridine, imidazole, pyrazole, pyra-
  such as N, 0, or S. Additional heteroatoms can also be               zine, pyrimidine, pyridazine, thiophene, furan, thiazole, iso-
  useful, including but not limited to, B, Al, Si, and P. The 65 thiazole, oxazole, and isoxazole.
  heteroatoms can also be oxidized, such as, but not limited to,          Some heteroaryl groups include from 5 to 10 ring mem-
  N-oxide, S(0) , and S(0)2 . Heteroaryl groups can                    bers and only nitrogen heteroatoms, such as pyrrole, pyri-
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  dine, imidazole, pyrazole, triazole, pyrazine, pyrimidine,          diagnosis of ACTH-dependent Cushing's syndrome can be
  pyridazine, triazine (1,2,3-, 1,2,4- and 1,3,5-isomers),            made based on observation of certain clinical symptoms, the
  indole, isoindole, quinoline, isoquinoline, quinoxaline, qui-       detection of hypercortisolemia and elevated blood ACTH
  nazoline, phthalazine, and cinnoline. Other heteroaryl              levels.
  groups include from 5 to 10 ring members and only oxygen 5             a. Clinical Symptoms
  heteroatoms, such as furan and benzofuran. Some other                  Eligible patients may exhibit one or more of the following
  heteroaryl groups include from 5 to 10 ring members and             symptoms: easy bruising; abdominal obesity and thin arms
  only sulfur heteroatoms, such as thiophene and benzothio-           and legs; facial plethora; acne; proximal myopathy (or
  phene. Still other heteroaryl groups include from 5 to 10 ring      proximal muscle weakness); striae (especially if reddish
  members and at least two heteroatoms, such as imidazole,            purple and 1 cm wide); and thin skin. Patients may also
  pyrazole, triazole, pyrazine, pyrimidine, pyridazine, triazine      frequently feel changes in mood; change in appetite, head-
  (1,2,3-, 1,2,4- and 1,3,5-isomers), thiazole, isothiazole,
                                                                      aches; a chronic feeling of tiredness; osteoporosis; low
  oxazole, isoxazole, quinoxaline, quinazoline, phthalazine,
                                                                      potassium; diabetes, and high blood pressure; decreased
  and cinnoline.
                                                                      concentration peripheral edema hypokalemia; decreased
     "Heteroatoms" refers to 0, S, or N.                           15
     "Salt" refers to acid or base salts of the compounds used        libido acne kidney stones; impaired memory (especially
  in the methods of the present invention. Illustrative               short term); and unusual infections. Females patients may
  examples of pharmaceutically-acceptable salts are mineral           have irregular menstruation, hirsutism, or female balding.
  acid (hydrochloric acid, hydrobromic acid, phosphoric acid,         Pediatric patients may have weight gain with decreasing
  and the like) salts, organic acid (acetic acid, propionic acid, 20 growth velocity; abnormal genital virilization; short stature;
  glutamic acid, citric acid, and the like) salts, and quaternary     and pseudoprecocious puberty or delayed puberty. The next
  ammonium (methyl iodide, ethyl iodide, and the like) salts.         step is to confirm these patients have hypercortisolemia.
  It is understood that the pharmaceutically-acceptable salts            b Hypercortisolemia
  are non-toxic. Additional information on suitable pharma-              A diagnosis of hypercortisolemia requires the determina-
  ceutically-acceptable salts can be found in Remington's 25 tion of the patient's circulating cortisol level. Various types
  Pharmaceutical Sciences, 17th ed., Mack Publishing Com-             of samples that can be used for this purpose, such as saliva,
  pany, Easton, Pa., 1985, which is incorporated herein by            urine, whole blood, serum, and plasma. Samples may also be
  reference.                                                          collected at different time during the day. In one approach,
     "Isomers" refers to compounds with the same chemical             the patient's whole blood sample is collected and processed
  formula but which are structurally distinguishable.              30 to collect serum, i.e., in the morning, e.g., at 8 am. or in the
     "Tautomer" refers to one of two or more structural iso-          afternoon, e.g., at 4 pm. The collected serum sample is
  mers which exist in equilibrium and which are readily               refrigerated or frozen within, e.g., 2 hours of collection.
  converted from one form to another.                                 Analysis of the serum sample is performed in a timely
     Descriptions of compounds of the present invention are           fashion, e.g. within 7 days from sample collection. In
  limited by principles of chemical bonding known to those 35 another approach, the patient's cortisol levels are measured
  skilled in the art. Accordingly, where a group may be               from his or her saliva samples. Salivary cortisol is in
  substituted by one or more of a number of substituents, such        equilibrium with the free cortisol in blood circulation.
  substitutions are selected so as to comply with principles of       Changes of cortisol levels in the bloodstream are paralleled,
  chemical bonding and to produce compounds which are not             within minutes, by similar alterations in salivary cortisol
  inherently unstable and/or would be known to one of 40 concentrations, such that one can use the latter as a surrogate
  ordinary skill in the art as likely to be unstable under            of the former. The commonly used saliva-based cortisol test
  ambient conditions such as aqueous, neutral, or physi-              is the midnight saliva test, which measures cortisol levels
  ological conditions.                                                from saliva samples collected at between 11 pm and mid-
     "Pharmaceutically-acceptable excipient" and "pharma-             night. Intake of food or drink is prohibited at least 15
  ceutically-acceptable carrier" refer to a substance that aids 45 minutes prior to sample collection. Saliva samples are
  the administration of an active agent to and absorption             collected by keeping and rolling a swab in mouth for
  by a subject and can be included in the compositions of the         approximately 2 minutes. The saliva samples, ambient or
  present invention without causing a significant adverse             refrigerated, are then sent to a laboratory for cortisol level
  toxicological effect on the patient. Non-limiting examples of       determination in a timely fashion, e.g., within 7 days from
  pharmaceutically-acceptable excipients include water, so sample collection.
  NaCl, normal saline solutions, lactated Ringer's, normal               Methods for measuring cortisol levels are known to those
  sucrose, normal glucose, binders, fillers, disintegrants, lubri-    in the art. Useful assays include immunoassays, e.g., com-
  cants, coatings, sweeteners, flavors and colors, and the like.      petitive immunoassay, radioimmunoassay, immunofluoro-
  One of ordinary skill in the art will recognize that other          metric enzyme assay, and ELISA, competitive protein-
  pharmaceutical excipients are useful in the present inven- 55 binding assay and mass spectrometry, e.g., high-
  tion.                                                               performance liquid chromatography/triple quadrupole-mass
                                                                      spectrometry (LC-MS/MS). Commercial kits for measuring
           III. Detailed Descriptions of Embodiments                  cortisol in samples are available from Beckman-Coulter,
                                                                      Seimens, Roche Diagnostics, and the like. Non-limiting
  A. Method for Differential Diagnosis of ACTH-Dependent 60 examples of cortisol tests are Mayo Clinic's SALCT, CORT,
  Cushing's Syndrome                                                  CORTU, and CINP tests; an ADVIA Centaur® Cortisol
     1. Selecting Patients Having ACTH-Dependent Cushing's            assay (Siemens Healthcare Global); ARCHITECT i2000SR
  Syndrome                                                            cortisol (Abbott); Immulite® 2000 Cortisol assay (Siemans
     The methods disclosed herein is used to provide differ-          Healthcare Global; #L2KCO2), Vitros ECi Cortisol assay
  ential diagnosis between Cushing Disease and ectopic 65 (Ortho Clinical Diagnostics; #107 4053), and Elecsys®
  ACTH syndrome to patients who have already been diag-               Cortisol Immunoassay (Roche Molecular Diagnostics;
  nosed as having ACTH-dependent Cushing's syndrome. A                #11875116160).
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     The patient's cortisol measurement is then compared with           If the patient is confirmed to have Cushing's syndrome by
  the normal reference value; a level higher than the normal         two of the three tests, or by the detection of a 3 to 4-fold
  reference value indicates the patient has hypercortisolemia.       cortisol level increase in the 24-hour Urine Free Cortisol
  The normal reference values for cortisol levels vary depend-       test, the next step is to measure ACTH to confirm he or she
  ing on the nature of the samples, the manner and timing of 5 has ACTH-dependent Cushing's syndrome.
  sample collection (higher for samples collected in the morn-          d ACTH-Dependent Cushing's Syndrome
  ing and lower for samples collected at night), and the                There are two kinds of endogenous Cushing's syndrome:
  detection method. Thus, it is essential to interpret test results  ACTH-dependent and ACTH-independent. The high corti-
  in the context of the appropriate normal reference values.         sol level associated with ACTH-dependent Cushing's syn-
  Various commercial kits provide the normal reference values 1 o drome is caused by the overproduction of ACTH from a
  in testing protocols. For example, normal reference values         tumor, e.g., a pituitary tumor or an extrapituitary tumor. The
  for the Mayo Clinic's SALCT test that determines cortisol          excess cortisol level associated with ACTH-independent
  level in saliva is <100 ng/dL; a saliva cortisol level higher      Cushing's syndrome, on the other hand, is caused by the
  than 100 ng/dL is thus an indication of hypercortisolemia.         overproduction of cortisol by a tumor in the adrenal gland or
  After being diagnosed with hypercortisolemia, the patient is 15 the overgrowth of the adrenal gland—either of which inhib-
  subject to additional tests to confirm the presence of Cush-       its ACTH production and release. Thus, the ACTH levels are
  ing's syndrome.                                                    high in patients having ACTH-dependent Cushing's syn-
     c Cushing's Syndrome                                            drome but low or even undetectable in patients having
     At least one, preferably two or more, of the following tests    ACTH-independent Cushing's syndrome.
  are performed to diagnose Cushing's syndrome: 1) dexam- 20            The biological samples that are suitable for ACTH deter-
  ethasone suppression test, which documents a loss of feed-         mination can be serum, plasma, saliva, urine, or any other
  back inhibition of cortisol on the hypothalamic-pituitary-         biological fluid taken from a subject. The sample can be the
  adrenal (HPA) axis; 2) 24-hour Urine Free Cortisol test,           same or different from the sample used for cortisol level
  which assesses cortisol secretion in a 24-hour period; and 3)      measurement. In some cases, the same sample that is used to
  midnight salivary cortisol, which evaluates the loss of nor- 25 measure cortisol level can be used to measure ACTH level.
  mal diurnal variation in cortisol secretion. If two of the three   In other cases, different samples are used to measure cortisol
  tests show abnormal cortisol levels, the Cushing's syndrome        and ACTH levels. For example, the cortisol levels can be
  is confirmed.                                                      measured in saliva and the ACTH levels can be measured in
     The dexamethasone suppression test is typically used as a       plasma. In yet other cases, different samples of the same type
  screen test for Cushing's syndrome. Dexamethasone is an 30 are used to measure the levels.
  exogenous steroid that binds glucocorticoid receptors in the          The level of ACTH can be measured using various
  anterior pituitary gland. When healthy individuals are             methods, including but not limited to, immunoassays, e.g.,
  treated with a low dose (1-2 mg) of dexamethasone, binding         competitive immunoassay, radioimmunoassay, immuno-
  of dexamethasone to the glucocorticoid receptors provides          fluorometric enzyme assay, and ELISA; competitive pro-
  negative feedback to the pituitary gland and results in 35 tein-binding assays; liquid chromatography (e.g., HPLC);
  suppression of ACTH secretion. The suppression of ACTH             and mass spectrometry, e.g., high-performance liquid chro-
  secretion, in turn, results in suppression of cortisol release     matography/triple quadrupole-mass spectrometry (LC-MS/
  and therefore a detectable decrease in cortisol level in           MS). Commercial kits for measuring ACTH are readily
  circulation. In contrast, when patients having Cushing's           available, e.g., from Mayo clinic (Test ID: ACTH), Siemans
  syndrome are treated with a low dose of dexamethasone, no 40 Healthcare Global (Immulite® 2000 ACTH assay), and
  or little decrease in cortisol levels can be detected because      Roche Molecular Diagnostics (Catalog No. 03255751190).
  of the excessive cortisol production associated with the              A plasma ACTH concentration higher than the normal
  disease. In one approach, the dexamethasone suppression            reference value indicates that the patient has ACTH-depen-
  test is performed by administering a low dose of dexam-            dent Cushing's syndrome. Normal reference values vary
  ethasone, e.g., 1 mg, the night before at, e.g., 11 pm. The 45 depending on the assay method, type of sample, and timing
  next morning, e.g., between 8-9 am; the patient's blood is         of sample collection; like cortisol, ACTH in healthy indi-
  then sampled and serum cortisol levels measured. Since             viduals varies during a 24-hour period, reaching its highest
  normal subjects typically have serum cortisol levels reduced       level in the morning around 6-8 am and lowest at night
  to less than 1.8 mg/di, a serum cortisol level of more than 1.8    around 11 pm. Various commercial kits provide the normal
  mg/dL is indicative of the presence of Cushing's syndrome, so reference values in their testing protocols. For example, the
     The 24-hour Urine Free Cortisol test is the gold standard       normal reference values for Mayo Clinc Test ID: ACTH are
  for diagnosing Cushing's syndrome. This test uses the              about 10-60 pg/mL.
  principle that cortisol production is increased with Cush-            Patients diagnosed with ACTH-dependent Cushing's syn-
  ing's syndrome, and measurements of urinary excretion              drome are selected, and the differential diagnosis performed
  provide an integral estimate of that increase. A result more 55 as described below.
  than the normal reference values is indicative of the pres-           2. Method of Differential Diagnosis of ACTH-Dependent
  ence of Cushing's syndrome. A 3 to 4-fold increase over            Cushing's Syndrome
  normal reference values provides definite diagnosis of Cush-          The differential diagnosis method uses GRAs to discrimi-
  ing's syndrome; if this increase is present, no additional         nate between Cushing Disease and ectopic ACTH Cushing's
  testing is required to confirm the diagnosis. For less dramatic 60 syndrome, the two major forms of ACTH-dependent Cush-
  increases in the urinary free-cortisol (UFC) level, other tests,   ing's syndrome. GRAs prevent cortisol from inhibiting both
  such as the overnight dexamethasone suppression test and           the CRH production in the hypothalamus and ACTH pro-
  the midnight salivary cortisol test, as described above, are       duction in the pituitary gland through a negative feedback
  required.                                                          interaction, resulting in increased ACTH production and
     The midnight saliva test is another test commonly used to 65 release. Patients with Cushing Disease have ACTH-produc-
  confirm Cushing's syndrome. See the description of the test        ing tumors in the pituitary gland and thus will have a higher
  in the section above.                                              increase in ACTH level around the pituitary region than the
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  periphery region (outside the pituitary region). In contrast,           ACTH levels are determined using the methods described
  patients with ectopic ACTH syndrome have the tumor                   above. The patient's ACTH levels from one or both inferior
  growing outside the pituitary gland and thus will have a             petrosal sinuses are then compared with the ACTH levels in
  higher ACTH increase in the periphery than around the               the periphery blood, and the petrosal sinus-to-periphery
  pituitary region. Thus a pituitary-to-periphery ratio can be 5 ACTH ratios are then determined. If the patient's inferior
  used to discriminate between the two major types of ACTH-            petrosal to periphery prolactin ratio is less than 1.8 (espe-
  dependent Cushing's syndrome.                                        cially if less than 1.5) an indication that the catheterization
     a Administration of GRA                                          was improper no diagnosis can be made and a new IPSS
     GRA is administered at a dosage that is sufficient to            may need to be performed. If the patient's inferior petrosal-
                                                                   10 to-periphery prolactin ratio is more than 1.8 and the inferior
  increase ACTH in the pituitary gland by at least two fold in
                                                                       petrosal-to-periphery ACTH ratio is greater than 3, he or she
  persons with normal HPA functions. In one embodiment, the
                                                                       is then diagnosed as having Cushing Disease. If the patient's
  GRA is mifepristone. In one embodiment, mifepristone is
                                                                       inferior petrosal-to-periphery prolactin ratio is more than 1.8
  administered orally to the patient. In one embodiment, the           and the inferior petrosal-to periphery-ACTH ratio is less
  mifepristone is administered at 300-1500 mg. In one 15 than 3, he or she is then diagnosed as having ectopic ACTH
  embodiment, the GRA is administered at 11 pm the night               syndrome.
  before IPSS.                                                         B. Establishing a Standard Control Level
     b. IPSS                                                              As disclosed above, the differential diagnosis of ACTH
     The pituitary ACTH is measured from the blood sample              dependent Cushing's syndrome involves comparisons of
  obtained from the left, right, or both inferior petrosal sinuses 20 measurements of different hormones, e.g., prolactin, ACTH,
  (IPSs), which drain the pituitary gland. The periphery ACTH          and cortisol, with their respective normal reference values.
  level is determined from the blood sample from a periphery           In most cases, normal reference values, or standard control
  vein. The procedure of sampling from inferior petrosal               levels, are provided in the commercial kits that are used for
  sinuses (known as IPSS) and the periphery is typically              the testing. Depending on circumstances, it may be neces-
  performed by an interventional radiologist.                      25 sary in some cases to establish a standard control level for
     IPSS is typically performed in the morning after admin-          the diagnosis. In order to establish a standard control for a
  istration of GRA, e.g., between 8 and 10 am, by advancing            particular sample type (e.g., a saliva sample, urine sample,
  one or two microcatheters from the femoral vein up to one            plasma sample, or serum sample) for practicing the method
  or both inferior petrosal sinuses. Meanwhile, another micro-         of this disclosure, a group of healthy subjects, such as a
  catheter is advanced to a periphery vein, e.g., the jugular 30 group of subjects who do not have Cushing's Syndrome, is
  vein. Venogram, or a digital venography, which documents             selected. These individuals are within the appropriate
  the position of the catheters, is used to ensure the proper          parameters, if applicable, for the purpose of diagnosing
  placement of the catheter; sampling begins only after con-           Cushing's Syndrome using the methods of the present
  firming the microcatheter is positioned well in the IPS. Two         invention. For instance, the individuals may be of similar
  samplings are made, at 5-10 minutes apart, by drawing 35 age, gender, and comparable health status. Optionally, the
  blood simultaneously from the IPSs and the jugular vein at           individuals are of similar ethnic background.
  each sampling. Samples obtained are immediately placed in               The healthy status of the selected individuals can be
  EDTA-containing tubes on ice. In some cases, an IPSS is              confirmed by well-established, routinely employed methods,
  performed only on one sinus, i.e., the left or right sinus. In       including but not limited to, general physical examination of
  some cases, the IPSS is performed for both sinuses (BIPSS). 40 the individuals and general review of their medical history.
  BIPSS provides values of ACTH from both right and left                  Furthermore, the selected group of healthy individual
  sinuses, a comparison of which provides useful information          must be of a reasonable size, such that the average amount,
  as to which side of the pituitary gland the tumor is located.        level, or concentration of cortisol, ACTH, or other steroid in
     c. Diagnosis Based on the Central-to-Peripheral ACTH             the biological sample obtained from the group can be
  Ratio with Reference to Prolactin                                45 reasonably regarded as representative of the normal or
     The central-to-periphery ratio is the basis for the diagno-       average level among the general population of healthy
  sis; however the IPSS requires high level of expertise; since        individuals who do not experience Cushing's Syndrome.
  anomalous venous drainage, e.g., misplacement of the cath-           Preferably, the selected group comprises at least 10 normal,
  erter tip when sampling the inferior petrosal sinus, may             healthy human subjects.
  cause false negative results. In addition to IPSS venogram so           Once an average value of cortisol, ACTH, or other steroid
  (described above), prolactin which is also secreted by               is established on the individual values found in each subject
  pituitary gland and circulated to the periphery is often used        of the selected healthy control group, this average, median,
  as a marker for successful catheterization during IPSS.              or representative value or profile is considered a standard
  Prolactin levels are assessed from the same blood samples            control level. A standard deviation is also determined during
  that are used for the ACTH analysis. A ratio of the central to 55 the same process. In some cases, separate standard control
  periphery prolactin of more than 1.8 indicates successful            levels may be established for separately defined groups
  catheterization.                                                     having distinct characteristics such as age, sex or ethnic
     Methods for measuring prolactin are known in the art.             background.
  Useful assays include immunoassays, e.g., competitive                C. Glucocorticoid Receptor Antagonists
  immunoassay, radioimmunoassay, immunofluorometric 60                    The methods of the present invention generally provide
  enzyme assay, and ELISA; competitive protein-binding                 administering a GRA. In some cases, the glucocorticoid
  assay; and mass spectrometry, e.g., high-performance liquid          receptor antagonist is a specific GRA. As used herein, a
  chromatography/triple quadrupole-mass spectrometry (LC-              specific glucocorticoid receptor antagonist refers to a com-
  MS/MS). Commerical kits for measuring prolactin are also             position or compound which inhibits any biological
  readily available, e.g., from Abcam (Catalog # ab108655), 65 response associated with the binding of a glucocorticoid
  R&D systems (Human Prolactin Quantikine ELISA Kit),                  receptor to an agonist by preferentially binding to the
  and Cayman Chemical (Prolactin EIA Kit).                             glucocorticoid receptor rather than to another nuclear recep-
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  tor (NR). In some embodiments, the specific GRA binds                 reference. EP 0 763 541 B1 and Hoyberg et al., Int'l J. of
  preferentially to the glucocorticoid receptor rather than the         Neuro-psychopharmacology, 5:Supp. 1, S148 (2002) dis-
  mineralocorticoid receptor (MR), androgen receptor (AR),              close the compound (1113,17(3)-11-(1,3-benzodioxo1-5-y1)-
  or progesterone receptor (PR). In an exemplary embodi-                17-hydroxy-17- (1 -propynyl)estra-4,9-dien-3 -one        (ORG
  ment, the specific GRA binds preferentially to glucocorti- 5 34517), which in one embodiment, is administered in an
  coid receptor rather than the mineralocorticoid receptor              amount effective to treat an ACTH-secreting tumor in a
  (MR). In another exemplary embodiment, the specific GRA               subject.
  binds preferentially to the glucocorticoid receptor rather               2. Removal or Substitution of the 11-13 Hydroxy Group
  than the progesterone receptor (PR). In another exemplary                Glucocorticoid antagonists with modified steroidal back-
  embodiment, the specific GRA binds preferentially to the
                                                                        bones comprising removal or substitution of the 11-13
  glucocorticoid receptor rather than the androgen receptor
                                                                        hydroxy group are administered in one embodiment of the
  (AR). In yet another exemplary embodiment, the specific
                                                                        invention. This class includes natural GRAs, including cor-
  GRA binds preferentially to the glucocorticoid receptor in
  comparison to MR and PR, MR and AR, PR and AR, or MR,                 texolone,   progesterone and testosterone derivatives, and
  PR, and AR.                                                       15
                                                                        synthetic compositions, such as mifepristone (Lefebvre, et
     In a related embodiment, the specific GRA binds to the             al. supra). Preferred embodiments of the invention include
  glucocorticoid receptor with an association constant (Kd)             all 11-13 aryl steroid backbone derivatives because, in some
  that is at least 10-fold less than the Kd for other nuclear           cases, these compounds can be devoid of progesterone
  receptors. In another embodiment, the specific GRA binds to           receptor (PR) binding activity (Agarwal, FEBS 217:221-
  the glucocorticoid receptor with an association constant (Kd) 20 226, 1987). In another embodiment an 11-n phenyl-amin-
  that is at least 100-fold less than the Kd for the other nuclear      odimethyl steroid backbone derivative, which is both an
  receptors. In another embodiment, the specific GRA binds to           effective anti-glucocorticoid and anti-progesterone agent, is
  the glucocorticoid receptor with an association constant (Kd)         administered. These compositions can act as reversibly-
  that is at least 1000-fold less than the Kd for the other nuclear     binding steroid receptor antagonists. For example, when
  receptors.                                                        25 bound to a 1113 phenyl-aminodimethyl steroid, the steroid
     Generally, treatment can be provided by administering an           receptor can be maintained in a conformation that cannot
  effective amount of a GRA of any chemical structure or                bind its natural ligand, such as cortisol in the case of GR
  mechanism of action and a glucocorticosteroid of any                  (Cadepond, 1997, supra).
  chemical structure or mechanism of action. Provided herein,              Synthetic 11-beta phenyl-aminodimethyl steroids include
  are classes of exemplary GRAs and specific members of 30 mifepristone, also known as RU486, or 17-P-hydrox-1113-
  such classes. However, one of skill in the art will readily
                                                                        (4 -dimethyl -aminopheny1)17-a- (1 -propynyl)estra-4,9-dien-
  recognize other related or unrelated GRAs that can be
                                                                        3-one). Mifepristone has been shown to be a powerful
  employed in the treatment methods described herein.
                                                                        antagonist of both the progesterone and glucocorticoid (GR)
     1. GRAs Having a Steroidal Backbone
     In some embodiments, an effective amount of a GRA with 35 receptors. Thus, in some embodiments, the GRA adminis-
  a steroidal backbone is administered to a subject for treat-          tered to treat an ACTH-secreting tumor is mifepristone, or a
  ment of an ACTH-secreting tumor. Steroidal GRAs can be                salt, tautomer, or derivative thereof. In other embodiments,
  obtained by modification of the basic structure of glucocor-          however, administration of mifepristone is specifically
  ticoid agonists, i.e., varied forms of the steroid backbone.          excluded as a GRA for treatment of an ACTH-secreting
  The structure of cortisol can be modified in a variety of 40 tumor.
  ways. The two most commonly known classes of structural                  Another 1113 phenyl-aminodimethyl steroid shown to
  modifications of the cortisol steroid backbone to create              have GR antagonist effects includes the dimethyl aminoeth-
  GRAs include modifications of the 1113 hydroxy group and              oxyphenyl derivative RU009 (RU39.009), 11-P-(4-dim-
  modification of the 17-P side chain (See, e.g., Lefebvre, J.          ethyl-aminoethoxypheny1)-17-a-(propyny1-17-(3-hydroxy-
  Steroid Biochem. 33:557-563, 1989).                               45 4,9-estradien-3-one) (see Bocquel, J. Steroid Biochem.
     Examples of steroidal GR antagonists include androgen-             Molec. Biol. 45:205-215, 1993). Another GR antagonist
  type steroidal compounds as described in U.S. Pat. No.                related to RU486 is RU044 (RU43.044) 17-133-hydrox-17-
  5,929,058, and the compounds disclosed in U.S. Pat. Nos.              a-19- (4 -methyl-pheny1)-andro sta-4,9 (11)-dien-3 -one)
  4,296,206; 4,386,085; 4,447,424; 4,477,445; 4,519,946;                (Bocquel, 1993, supra). See also Teutsch, Steroids 38:651-
  4,540,686; 4,547,493; 4,634,695; 4,634,696; 4,753,932; 50 665, 1981; U.S. Pat. Nos. 4,386,085 and 4,912,097.
  4,774,236; 4,808,710; 4,814,327; 4,829,060; 4,861,763;                   One embodiment includes compositions that are irrevers-
  4,912,097; 4,921,638; 4,943,566; 4,954,490; 4,978,657;                ible anti-glucocorticoids. Such compounds include a-keto-
  5,006,518; 5,043,332; 5,064,822; 5,073,548; 5,089,488;                methanesulfonate derivatives of cortisol, including cortisol-
  5,089,635; 5,093,507; 5,095,010; 5,095,129; 5,132,299;                21-mesylate (4-pregnene-1113, 17-a, 21-triol-3, 20-dione-
  5,166,146; 5,166,199; 5,173,405; 5,276,023; 5,380,839; 55 21-methane-sulfonate and dexamethasone-21-mesylate (16-
  5,348,729; 5,426,102; 5,439,913; 5,616,458, 5,696,127, and            methy1-9-a-fluoro -1,4-pregnadiene-11(3,17-a,       21 -trio1-3,
  6,303,591. Such steroidal GR antagonists include cortex-              20-dione-21-methane-sulfonte). See Simons, J. Steroid Bio-
  olone, dexamethasone-oxetanone, 19-nordeoxycorticoster-               chem. 24:25-32, 1986; Mercier, J. Steroid Biochem. 25:11-
  one, 19-norprogesterone, cortisol-21-mesylate; dexametha-             20, 1986; U.S. Pat. No. 4,296,206.
  sone-21 -mesylate,       111344 -dimethylaminoethoxypheny1)- 60          3. Modification of the 17-Beta Side Chain Group
  17a-propyny1-1713-hydroxy-4,9-estradien-3-one (RU009),                   Steroidal anti-glucocorticoids which can be obtained by
  and      (17a)-17-hydroxy-19-(4-methylphenyl)androsta-4,9             various structural modifications of the 17-P side chain are
  (11)-dien-3-one (RU044).                                              also used in the methods of the invention. This class includes
     Other examples of steroidal antiglucocorticoids are dis-           synthetic antiglucocorticoids, such as dexamethasone-oxet-
  closed in Van Kampen et al. (2002) Eur. J. Pharmacol. 65 anon, various 17, 21-acetonide derivatives and 17-beta-
  457(2-3):207, WO 03/043640, EP 0 683 172 B1, and EP 0                 carboxamide derivatives of dexamethasone (Lefebvre, 1989,
  763 541 B1, each of which is incorporated herein by                   supra; Rousseau, Nature 279:158-160, 1979).
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    4. Other Steroid Backbone Modifications
                                                                                               0
    GRAs used in the various embodiments of the invention
  include any steroid backbone modification which effects a
  biological response resulting from a GR-agonist interaction.
                                                                5
  Steroid backbone antagonists can be any natural or synthetic
  variation of cortisol, such as adrenal steroids missing the
  C-19 methyl group, such as 19-nordeoxycorticosterone and
  19-norprogesterone (Wynne, Endocrinology 107:1278-                                           R3
  1280, 1980).                                                 10
     In general, the 11-13 side chain substituent, and particu-
                                                                   wherein
  larly the size of that substituent, can play a key role in
                                                                     the dashed line is absent or a bond;
  determining the extent of a steroid's antiglucocorticoid
                                                                     X is selected from the group consisting of 0 and S;
  activity. Substitutions in the A ring of the steroid backbone       fe is selected from the group consisting of cycloalkyl,
  can also be important. For example, 17-hydroxypropenyl        15
                                                                         heterocycloalkyl, aryl and heteroaryl, optionally sub-
  side chains can, in some cases, decrease antiglucocorticoid            stituted with from 1 to 3 R" groups;
  activity in comparison to 17-propynyl side chain containing         each R" is independently selected from the group con-
  compounds.                                                             sisting of H, C1_, alkyl, C2 _ 6 alkenyl, C2_, alkynyl, C1_,
     Additional glucocorticoid receptor antagonists known in 20          alkoxy, C1 _ 6 alkyl-OR1b, halogen, C1_, haloalkyl, Ci _ 6
  the art and suitable for practice of the invention include             haloaloxy,      OR1b,      NR1bRic,      C(0)R1b,     C(0)
  21-hydroxy-6,19-oxidoprogesterone (See Vicent, Mol.                    OR1b,       OC(0)Rib,        C(0)NR1bRic,        NR1bC(0)
  Pharm. 52:749-753, 1997), Org31710 (See Mizutani, J Ste-               Ric, SO2Rm, SO2NR1bR1c, cycloalkyl, heterocy-
  roid Biochem Mol Biol 42(7):695-704, 1992), RU43044,                   cloalkyl, aryl and heteroaryl;
  RU40555 (See Kim, J Steroid Biochem Mol Biol. 67(3): 25             Rib and Ric are each independently selected from the
                                                                         group consisting of H and C1 _ 6 alkyl;
  213-22, 1998), and RU28362.
                                                                      R2 is selected from the group consisting of H, C1_, alkyl,
     5. Non-Steroidal Anti-Glucocorticoids as Antagonists                C1 _ 6 alkyl-OR"', C1_, alkyl-NR1bRic and C1 _ 6 alkylene-
     Non-steroidal glucocorticoid receptor antagonists                   heterocycloalkyl;
  (GRAs) are also used in the methods of the invention to 30          R3 is selected from the group consisting of H and ci _ 6
  diagnose and treat Cushing's Syndrome in a subject. These              alkyl;
  include synthetic mimetics and analogs of proteins, includ-        AT is aryl, optionally substituted with 1-4 R4 groups;
  ing partially peptidic, pseudopeptidic and non-peptidic             each R4 is independently selected from the group consist-
  molecular entities. For example, oligomeric peptidomimet-              ing of H, C1 _ 6 alkyl, C1 _ 6 alkoxy, halogen, C1 _ 6
                                                                         haloalkyl   and C1 _ 6 haloalkoxy;
  ics useful in the invention include (a-(3-unsaturated) pepti- 35
                                                                      Li is a bond or C1 _ 6 alkylene; and
  dosulfonamides, N-substituted glycine derivatives, oligo
                                                                      subscript n is an integer from 0 to 3,
  carbamates, oligo urea peptidomimetics, hydrazinopeptides,
                                                                   or a salts and isomers thereof.
  oligosulfones and the like (See, e.g., Amour, Int. J. Pept.         Exemplary GRAs having a fused azadecalin backbone
  Protein Res. 43:297-304, 1994; de Bont, Bioorganic &             include those described in U.S. Pat. Nos. 7,928,237; and
  Medicinal Chem. 4:667-672, 1996).                             40
                                                                   8,461,172. In some cases, the GRA having a fused azadeca-
     Examples of non-steroidal GR antagonists include the GR        lin backbone has the following structure:
  antagonist compounds disclosed in U.S. Pat. Nos. 5,696,
  127; 6,570,020; and 6,051,573; the GR antagonist com-
  pounds disclosed in US Patent Application 20020077356, 45                                 RI
  the glucocorticoid receptor antagonists disclosed in Bradley
  et al., J. Med. Chem. 45, 2417-2424 (2002), e.g., 4a(S)-
  benzy1-2(R)-chloroethyny1-1,2,3,4,4a,9,10,10a(R)-octa-
  hydro-phenanthrene-2,7-diol ("CP 394531") and 4a(S)-ben-
  zy1-2(R)-prop-1 -yny1-1,2,3,4,4a,9,10,10a(R)-octahydro-        50
  phenanthrene-2,7-diol ("CP 409069"); and the compounds
  disclosed in PCT International Application No. WO
  96/19458, which describes non-steroidal compounds that are           wherein
  high-affinity, highly selective antagonists for steroid recep-       Li and L2 are members independently selected from a
  tors, such as 6-substituted-1,2-dihydro-N-protected-quino- 55          bond and unsubstituted alkylene;
  lines.                                                               RI is a member selected from unsubstituted alkyl, unsub-
     In some embodiments, Cushing's Syndrome is diagnosed                 stituted heteroalkyl, unsubstituted heterocycloalkyl,
  and treated with an effective amount of a non-steroidal GRA                 OR", NR1CR1D,         C(0)NR1eRlD, and       C(0)
  having a cyclohexyl-pyrimidine backbone, a fused azadeca-               OR', wherein
  lin backbone, a heteroaryl ketone fused azadecalin back- 60           R114 is a member selected from hydrogen, unsubstituted
  bone, or an octahydro fused azadecalin backbone. For                    alkyl and unsubstituted heteroalkyl,
  example, Cushing's Syndrome can be treated with effective             RIC and RID are members independently selected from
  amounts of one of the foregoing GRAs and a GC or a GC                   unsubstituted alkyl and unsubstituted heteroalkyl,
  analog. Exemplary GRAs having a cyclohexyl-pyrimidine                 wherein Ric and RID are optionally joined to form an
  backbone include those described in U.S. Pat. No. 8,685, 65             unsubstituted ring with the nitrogen to which they are
  973. In some cases, the GRA having a cyclohexyl-pyrimi-                 attached, wherein said ring optionally comprises an
  dine backbone has the following structure:                              additional ring nitrogen;
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    R2 has the formula:                                               alternatively, two R2 groups are combined to form a
                                                                         heterocycloalkyl ring having from 5 to 6 ring members
                                                                         and from 1 to 3 heteroatoms each independently
                                                                         selected from the group consisting of N, 0 and S,
                                                                         wherein the heterocycloalkyl ring is optionally substi-
                                                                         tuted with from 1 to 3 R2d groups;
                                                                      Rea and R2b are each independently selected from the
     wherein                                                             group consisting of hydrogen and C1 _ 6 alkyl;
     R2G is a member selected from hydrogen, halogen, unsub-          each R2' is independently selected from the group con-
        stituted alkyl, unsubstituted heteroalkyl, unsubstituted 10      sisting of hydrogen, halogen, hydroxy, C1_ 6 alkoxy,
        cycloalkyl, unsubstituted heterocycloalkyl, CN, and              C1_ 6 haloalkoxy,   CN, and NR2a R2b;
           CF3;                                                       each R2d is independently selected from the group con-
     J is phenyl;                                                        sisting of hydrogen and C1_ 6 alkyl, or two R2d groups
     t is an integer from 0 to 5;                                        attached to the same ring atom are combined to form
                                                                 15
     X is S(02) ; and                                                    (=0);
     R5 is phenyl optionally substituted with 1-5 RSA groups,         R3 is selected from the group consisting of phenyl and
        wherein                                                          pyridyl, each optionally substituted with 1-4 R3a
     RSA is a member selected from hydrogen, halogen,                    groups;
                       S(02)NR5A2R5`43,     CN, and unsubsti- 20      each R3a is independently selected from the group con-
        tuted alkyl, wherein                                             sisting of hydrogen, halogen, and C1 _ 6 haloalkyl; and
     R5A1 is a member selected from hydrogen and unsubsti-            subscript n is an integer from 0 to 3;
        tuted alkyl, and                                              or salts and isomers thereof.
     RSA2 and RSA3 are members independently selected from
                                                                      Exemplary GRAs having an octohydro fused azadecalin
        hydrogen and unsubstituted alkyl,                        25
                                                                    backbone include those described in U.S. Provisional Patent
  or salts and isomers thereof.                                     Appl. No. 61/908,333, entitled Octahydro Fused Azadecalin
     Exemplary GRAs having a heteroaryl ketone fused aza-           Glucocorticoid Receptor Modulators, filed on Nov. 25,
  decalin backbone include those described in U.S. 2014/            2013. In some cases, the GRA having an octohydro fused
  0038926. In some cases, the GRA having a heteroaryl               azadecalin backbone has the following structure:
  ketone fused azadecalin backbone has the following struc- 30
  ture:



                                                                                                                          (R2 )14
                                                                    35
                                                         (R2 )14




                                                                    40

                                                                                       (R3"),z
  wherein
    fe- is a heteroaryl ring having from 5 to 6 ring members
       and from 1 to 4 heteroatoms each independently                   wherein
       selected from the group consisting of N, 0 and S, 45               RI is a heteroaryl ring having from 5 to 6 ring members
       optionally substituted with 1-4 groups each indepen-                  and from 1 to 4 heteroatoms each independently
       dently selected from R";                                              selected from the group consisting of N, 0 and S,
    each R" is independently selected from the group con-                    optionally substituted with 1-4 groups each indepen-
       sisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,         dently selected from R";
       C1 _ 6 alkoxy, C1 _ 6 haloalkoxy,      CN, N-oxide, C3 _ 8 50      each R" is independently selected from the group con-
       cycloalkyl, and C3 _ 8 heterocycloalkyl;                              sisting of hydrogen, C1 _ 6 alkyl, halogen, C1_ 6 haloalkyl,
    ring J is selected from the group consisting of a cycloalkyl             C1_ 6 alkoxy, C1_ 6 haloalkoxy, N-oxide, and C3 _ 8

       ring, a heterocycloalkyl ring, an aryl ring and a het-                cycloalkyl;
       eroaryl ring, wherein the heterocycloalkyl and het-                ring J is selected from the group consisting of an aryl ring
       eroaryl rings have from 5 to 6 ring members and from 55               and a heteroaryl ring having from 5 to 6 ring members
       1 to 4 heteroatoms each independently selected from                   and from 1 to 4 heteroatoms each independently
       the group consisting of N, 0 and S;                                   selected from the group consisting of N, 0 and S;
    each R2 is independently selected from the group consist-             each R2 is independently selected from the group consist-
       ing of hydrogen, C1_ 6 alkyl, halogen, C1_ 6 haloalkyl,               ing of hydrogen, C1_ 6 alkyl, halogen, C1_ 6 haloalkyl,
       C1_ 6 alkoxy, C1 _ 6 haloalkoxy, C1_ 6 alkyl-C1 _ 6 alkoxy, 60        C1_ 6 alkoxy, C1 _ 6 haloalkoxy, C1 _ 6 alkyl-C1 _ 6 alkoxy,
          CN, OH, NR2'R2b, c(o)R2a, C(0)0R2a ,                                  CN, OH, NR2aR2b, C(0)R2a,                    C(0)0R2a,
          C(0)NR2a
                      R2b,
                               SR2a,       S(0)R2a ,      S(0)2R2a ,            C(0)NR2a R2b,        SR2a,      S(0)R2a,       S(0)2R2a,
       C3 _ 8 cycloalkyl, and C3 _ 8 heterocycloalkyl, wherein the           C3_ 8 cycloalkyl, and C3 _ 8 heterocycloalkyl having from

       heterocycloalkyl groups are optionally substituted with               1 to 3 heteroatoms each independently selected from
       1-4 R2' groups;                                               65      the group consisting of N, 0 and S;
    alternatively, two R2 groups linked to the same carbon are            alternatively, two R2 groups on adjacent ring atoms are
       combined to form an oxo group (=0);                                   combined to form a heterocycloalkyl ring having from
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        5 to 6 ring members and from 1 to 3 heteroatoms each           ene glycol, and/or titanium dioxide, lacquer solutions, and
        independently selected from the group consisting of N,         suitable organic solvents or solvent mixtures. Dyestuffs or
        0 and S, wherein the heterocycloalkyl ring is option-          pigments may be added to the tablets or dragee coatings for
        ally substituted with from 1 to 3 R2' groups;                  product identification or to characterize the quantity of
     Rya, R2' and R2' are each independently selected from the 5 active compound (i.e., dosage). Pharmaceutical preparations
        group consisting of hydrogen and C1 _ 6 alkyl;                 of the invention can also be used orally using, for example,
     each R3a is independently halogen; and                            push-fit capsules made of gelatin, as well as soft, sealed
     subscript n is an integer from 0 to 3;                            capsules made of gelatin and a coating such as glycerol or
  or salts and isomers thereof.                                        sorbitol. Push-fit capsules can contain the compounds of the
  D. Pharmaceutical Compositions of Glucocorticoid Recep- 10 present invention mixed with a filler or binders such as
  tor Antagonists                                                      lactose or starches, lubricants such as talc or magnesium
     The GRA compositions of the present disclosure can be             stearate, and, optionally, stabilizers. In soft capsules, the
  prepared in a wide variety of oral, parenteral and topical           compounds of the present invention may be dissolved or
  dosage forms. Oral preparations of either include tablets,           suspended in suitable liquids, such as fatty oils, liquid
  pills, powder, dragees, capsules, liquids, lozenges, cachets, 15 paraffin, or liquid polyethylene glycol with or without sta-
  gels, syrups, slurries, suspensions, etc., suitable for ingestion    bilizers.
  by the patient. The GRA compositions of the present inven-              For preparing suppositories, a low melting wax, such as a
  tion can also be administered by injection, that is, intrave-        mixture of fatty acid glycerides or cocoa butter, is first
  nously, intramuscularly, intracutaneously, subcutaneously,           melted and the compounds of the present invention are
  intraduodenally, or intraperitoneally. Also, the GRA com- 20 dispersed homogeneously therein, as by stirring. The molten
  positions described herein can be administered by inhala-            homogeneous mixture is then poured into convenient sized
  tion, for example, intranasally. Additionally, the GRA com-          molds, allowed to cool, and thereby to solidify.
  positions of the present invention can be administered                  Liquid form preparations include solutions, suspensions,
  transdermally. The GRA compositions of this invention can            and emulsions, for example, water or water/propylene glycol
  also be administered by intraocular, intravaginal, and 25 solutions. For parenteral injection, liquid preparations can be
  intrarectal routes including suppositories, insufflation, pow-       formulated in solution in aqueous polyethylene glycol solu-
  ders and aerosol formulations (for examples of steroid               tion.
  inhalants, see Rohatagi, J. Clin. Pharmacol. 35:1187-1193,              Aqueous solutions suitable for oral use can be prepared by
  1995; Tjwa, Ann. Allergy Asthma Immunol. 75:107-111,                 dissolving one or more compounds of the present invention
  1995). Accordingly, the present invention provides pharma- 30 in water and adding suitable colorants, flavors, stabilizers,
  ceutical compositions of a GRA including a pharmaceuti-              and thickening agents as desired. Aqueous suspensions
  cally-acceptable carrier or excipient and a GRA compound             suitable for oral use can be made by dispersing the finely
  of the present invention.                                            divided active component in water with viscous material,
     For preparing pharmaceutical compositions from the                such as natural or synthetic gums, resins, methylcellulose,
  GRA compounds of the present invention, pharmaceutically 35 sodium carboxymethylcellulose, hydroxypropylmethylcel-
  acceptable carriers can be either solid or liquid. Solid form        lulose, sodium alginate, polyvinylpyrrolidone, gum traga-
  preparations include powders, tablets, pills, capsules,              canth and gum acacia, and dispersing or wetting agents such
  cachets, suppositories, and dispersible granules. A solid            as a naturally occurring phosphatide (e.g., lecithin), a con-
  carrier can be one or more substances, which may also act            densation product of an alkylene oxide with a fatty acid
  as diluents, flavoring agents, binders, preservatives, tablet 40 (e.g., polyoxyethylene stearate), a condensation product of
  disintegrating agents, or an encapsulating material. Details         ethylene oxide with a long chain aliphatic alcohol (e.g.,
  on techniques for formulation and administration are well            heptadecaethylene oxycetanol), a condensation product of
  described in the scientific and patent literature, see, e.g., the    ethylene oxide with a partial ester derived from a fatty acid
  latest edition of Remington's Pharmaceutical Sciences,               and a hexitol (e.g., polyoxyethylene sorbitol mono-oleate),
  Maack Publishing Co, Easton Pa. ("Remington's").                  45 or a condensation product of ethylene oxide with a partial
     In powders, the carrier is a finely divided solid, which is       ester derived from fatty acid and a hexitol anhydride (e.g.,
  in a mixture with the finely divided active component. In            polyoxyethylene sorbitan mono-oleate). The aqueous sus-
  tablets, the active component is mixed with the carrier              pension can also contain one or more preservatives such as
  having the necessary binding properties in suitable propor-          ethyl or n-propyl p-hydroxybenzoate, one or more coloring
  tions and compacted in the shape and size desired. The so agents, one or more flavoring agents and one or more
  powders and tablets preferably contain from 5% or 10% to             sweetening agents, such as sucrose, aspartame or saccharin.
  70% of the compounds of the present invention.                       Formulations can be adjusted for osmolarity.
     Suitable solid excipients include, but are not limited to,           Also included are solid form preparations, which are
  magnesium carbonate; magnesium stearate; talc; pectin;               intended to be converted, shortly before use, to liquid form
  dextrin; starch; tragacanth; a low melting wax; cocoa butter; 55 preparations for oral administration. Such liquid forms
  carbohydrates; sugars including, but not limited to, lactose,        include solutions, suspensions, and emulsions. These prepa-
  sucrose, mannitol, or sorbitol, starch from corn, wheat, rice,       rations may contain, in addition to the active component,
  potato, or other plants; cellulose such as methyl cellulose,         colorants, flavors, stabilizers, buffers, artificial and natural
  hydroxypropylmethyl-cellulose, or sodium carboxymethyl-              sweeteners, dispersants, thickeners, solubilizing agents, and
  cellulose; and gums including arabic and tragacanth; as well 60 the like.
  as proteins including, but not limited to, gelatin and colla-           Oil suspensions can be formulated by suspending the
  gen. If desired, disintegrating or solubilizing agents may be        compounds of the present invention in a vegetable oil, such
  added, such as the cross-linked polyvinyl pyrrolidone, agar,         as arachis oil, olive oil, sesame oil or coconut oil, or in a
  alginic acid, or a salt thereof, such as sodium alginate.            mineral oil such as liquid paraffin; or a mixture of these. The
     Dragee cores are provided with suitable coatings such as 65 oil suspensions can contain a thickening agent, such as
  concentrated sugar solutions, which may also contain gum             beeswax, hard paraffin or cetyl alcohol. Sweetening agents
  arabic, talc, polyvinylpyrrolidone, carbopol gel, polyethyl-         can be added to provide a palatable oral preparation, such as
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  glycerol, sorbitol or sucrose. These formulations can be          liposome, or attached directly to the oligonucleotide, that
  preserved by the addition of an antioxidant such as ascorbic      bind to surface membrane protein receptors of the cell
  acid. As an example of an injectable oil vehicle, see Minto,      resulting in endocytosis. By using liposomes, particularly
  J. Pharmacol. Exp. Ther. 281:93-102, 1997. The pharma-            where the liposome surface carries ligands specific for target
  ceutical formulations of the invention can also be in the form 5 cells, or are otherwise preferentially directed to a specific
  of oil-in-water emulsions. The oily phase can be a vegetable      organ, one can focus the delivery of the compositions of the
  oil or a mineral oil, described above, or a mixture of these.     present invention into the target cells in vivo. (See, e.g.,
  Suitable emulsifying agents include naturally-occurring           Al-Muhammed, J. Microencapsul. 13:293-306, 1996;
  gums, such as gum acacia and gum tragacanth, naturally            Chonn, Curr. Opin. Biotechnol. 6:698-708, 1995; Ostro, Am.
  occurring phosphatides, such as soybean lecithin, esters or 10
                                                                    J. Hosp. Pharm. 46:1576-1587, 1989).
  partial esters derived from fatty acids and hexitol anhy-
                                                                       Lipid-based drug delivery systems include lipid solutions,
  drides, such as sorbitan mono-oleate, and condensation
                                                                    lipid emulsions, lipid dispersions, self-emulsifying drug
  products of these partial esters with ethylene oxide, such as
  polyoxyethylene sorbitan mono-oleate. The emulsion can            delivery systems (SEDDS) and self-microemulsifying drug
  also contain sweetening agents and flavoring agents, as in 15 delivery systems (SMEDDS). In particular, SEDDS and
  the formulation of syrups and elixirs. Such formulations can      SMEDDS are isotropic mixtures of lipids, surfactants and
  also contain a demulcent, a preservative, or a coloring agent.    co-surfactants that can disperse spontaneously in aqueous
     The GRA compositions provided herein can also be               media and form fine emulsions (SEDDS) or microemulsions
  delivered as microspheres for slow release in the body. For       (SMEDDS). Lipids useful in the formulations of the present
  example, microspheres can be formulated for administration 20 invention include any natural or synthetic lipids including,
  via intradermal injection of drug-containing microspheres,        but not limited to, sesame seed oil, olive oil, castor oil,
  which slowly release subcutaneously (see Rao, J. Biomater         peanut oil, fatty acid esters, glycerol esters, Labrafil®,
  Sci. Polym. Ed. 7:623-645, 1995; as biodegradable and             Labrasol®, Cremophor®, Solutol®, Tween®, Capryol®,
  injectable gel formulations (see, e.g., Gao Pharm. Res.           Capmul®, Captex®, and Peceol®.
  12:857-863, 1995); or, as microspheres for oral administra- 25       The GRA composition can also contain other compatible
  tion (see, e.g., Eyles, J. Pharm. Pharmacol. 49:669-674,          therapeutic agents. The compounds described herein can be
  1997). Both transdermal and intradermal routes afford con-        used in combination with one another, with other active
  stant delivery for weeks or months.                               agents known to be useful in antagonizing a glucocorticoid
     In another embodiment, the GRA compositions of the             receptor, or with adjunctive agents that may not be effective
  present invention can be formulated for parenteral admin- 30 alone, but may contribute to the efficacy of the active agent.
  istration, such as intravenous (IV) administration or admin-      E. Administration
  istration into a body cavity or lumen of an organ. The               The GRA compounds or compositions of the present
  formulations for administration will commonly comprise a          invention can be delivered by any suitable means, including
  solution of the compositions of the present invention dis-        oral, parenteral (e.g., intravenous injection or intramuscular
  solved in a pharmaceutically acceptable carrier. Among the 35 injection) and topical methods. Transdermal administration
  acceptable vehicles and solvents that can be employed are         methods, by a topical route, can be formulated as applicator
  water and Ringer's solution, an isotonic sodium chloride. In      sticks, solutions, suspensions, emulsions, gels, creams, oint-
  addition, sterile fixed oils can conventionally be employed       ments, pastes, jellies, paints, powders, and aerosols.
  as a solvent or suspending medium. For this purpose any              The pharmaceutical preparation is preferably in unit dos-
  bland fixed oil can be employed including synthetic mono- 40 age form. In such form the preparation is subdivided into
  or diglycerides. In addition, fatty acids such as oleic acid can  unit doses containing appropriate quantities of the com-
  likewise be used in the preparation of injectables. These         pounds and compositions of the present invention. The unit
  solutions are sterile and generally free of undesirable matter.   dosage form can be a packaged preparation, the package
  These GRA formulations may be sterilized by conventional,         containing discrete quantities of preparation, such as pack-
  well known sterilization techniques. The formulations may 45 eted tablets, capsules, and powders in vials or ampoules.
  contain pharmaceutically acceptable auxiliary substances as       Also, the unit dosage form can be a capsule, tablet, cachet,
  required to approximate physiological conditions such as pH       or lozenge itself, or it can be the appropriate number of any
  adjusting and buffering agents, toxicity adjusting agents,        of these in packaged form.
  e.g., sodium acetate, sodium chloride, potassium chloride,           GRAs can be administered orally. For example, the GRA
  calcium chloride, sodium lactate and the like. The concen- so can be administered as a pill, a capsule, or liquid formulation
  tration of the compositions of the present invention in these     as described herein. Alternatively, GRAs can be provided
  formulations can vary widely, and will be selected primarily      via parenteral administration. For example, the GRA can be
  based on fluid volumes, viscosities, body weight, and the         administered intravenously (e.g., by injection or infusion).
  like, in accordance with the particular mode of administra-       Additional methods of administration of the compounds
  tion selected and the patient's needs. For IV administration, 55 described herein, and pharmaceutical compositions or for-
  the GRA formulation can be a sterile injectable preparation,      mulations thereof, are described herein.
  such as a sterile injectable aqueous or oleaginous suspen-           In some embodiments, the GRA is administered in one
  sion. This suspension can be formulated according to the          dose. In other embodiments, the GRA is administered in
  known art using those suitable dispersing or wetting agents       more than one dose, e.g., 2 doses, 3 doses, 4 doses, 5 doses,
  and suspending agents. The sterile injectable preparation can 60 6 doses, 7 doses, or more. In some cases, the doses are of an
  also be a sterile injectable solution or suspension in a          equivalent amount. In other cases, the doses are of different
  nontoxic parenterally-acceptable diluent or solvent, such as      amounts. The doses can increase or taper over the duration
  a solution of 1,3-butanediol.                                     of administration. The amount will vary according to, for
     In another embodiment, the formulations of the compo-          example, the GRA properties. To determine an effective
  sitions of the present invention can be delivered by the use 65 dose, the GRA must elevate the level of ACTH by at least
  of liposomes which fuse with the cellular membrane or are         two fold in persons with normal Hypothalamus Pituitary
  endocytosed, i.e., by employing ligands attached to the           Adrenal (HPA) function.
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     In some embodiments, the subject diagnosed as having             in the morning. The blood is spun down in a refrigerated
  Cushing's Syndrome is administered a therapeutically effec-         centrifuge and the plasma is immediately separated from
  tive amount of a GRA to ameliorate at least one symptom of          cells. 0.5 mL of the plasma sample is assayed for ACTH
  Cushing's Syndrome. In some case, therapeutically effective         using Mayo Clinic Test ID: ACTH, following the manufac-
  amount of the GRA can be administered to treat Cushing's        5   turer's instructions (http://www.mayomedicallaboratori-
  Syndrome.
                                                                      es.com/test-catalog/Specimen/8411). The result shows her
                          IV. Examples                                plasma ACTH is 80 pg/mL, which indicates that she has
                                                                      ACTH-dependent Cushing's syndrome.
          Example 1 Diagnosis of Hypercortisolemia
                                                                  10          Example 4. Diagnosis of Cushing Disease
     A 45-year-old female visits her endocrinologist. She
  appears to have abdominal obesity, thin arms and legs, a              Following the diagnosis of ACTH dependent Cushing's
  round red face, and a fat lump between the shoulders. She          syndrome, she then undergoes IPSS to identify the source of
  has acne and reddish purple stretch marks in the body that         abnormal ACTH secretion, i.e., whether it is pituitary or
  are more than 1 cm wide. She describes having fragile skin 15 ectopic. Mifepristone administration and IPSS are per-
  that heals poorly, irregular menstruation, and she often feels     formed to determine the cause of her ACTH-dependent
  changes in mood, headaches, and a chronic feeling of
                                                                     Cushing's syndrome. She first takes an oral dose of 300-
  tiredness. Her physical examination records show that she
                                                                     1500 mg of mifepristone at 11 pm the night before IPSS.
  has proximal muscle weakness and osteoporosis. Her blood
                                                                  20 Mifepristone at this dose is sufficient to increase ACTH from
  tests indicate that she has low potassium, diabetes and
  elevated blood pressure. She has not been taken exogenous          the pituitary gland by at least two-fold in persons having
  glucocorticoid drugs prior to this visit. Her endocrinologist      normal hypothalamic-pituitary-adrenal axis (HPA) function.
  suspects she has hypercortisolemia, and orders a late night        Between 8 to 10 am, an interventional radiologist performs
  saliva cortisol test for her.                                      a femoral microcatheterization, in which two 0.018 inch
     She complies to the requirement not to brush, eat, or drink 25 microcatheters are advanced from the femoral vein up to her
  for 30 minutes prior to the saliva collection. At midnight she     right and left inferior petrosal sinuses (IPS). Another 0.018
  collected her saliva by placing a swab into her mouth, while       microcatherter is inserted into the peripheral jugular vein. A
  rolling the swab, for approximately 2 minutes. The sample          5,000 unit bolus of heparin is administered to the veins to
  is assayed using Mayo Clinic Test ID: SALCT following the          prevent venous sinus thrombosis.
  protocol provided with the test. The result shows that her 30         After the microcathers enter the sinuses and the jugular
  cortisol level is 200 ng/dL, indicating that she has hyper-        bulb, a diagnostic venography is performed, in which a rapid
  cortisolemia.                                                      injection of contrast is performed to attempt to reflux
                                                                     contrast into the inferior petrosal sinus to guide placement of
         Example 2. Diagnosis of Cushing's Syndrome                  a microcatheter. After confirming the position of the micro-
                                                                  35 catheter and positioning it well in the IPS, two samplings are
     After diagnosis of hypercortisolemia, additional tests are      made at 5-10 minutes apart. Blood samples are drawn
  ordered for her to determine whether she has Cushing's             simultaneously from the IPS and the jugular vein at each
  syndrome. First, a dexamethasone suppression test is per-          sampling and immediately placed in EDTA-containing tubes
  formed. She is given 1 mg of dexamethasone at 11 pm, and           on ice.
  the next morning her blood sample are collected between 40            One half of each blood sample is centrifuged for 10
  8-9 am. Serum are collected from the blood and measured            minutes at 1,000-2,000 g to remove the cells and collect
  for cortisol using Mayo Clinic Test ID: CORT (http://              plasma. The other half is left undisturbed at room tempera-
  www.mayomedicallaboratories.com/test-catalog/Clinical+             ture for 30 minutes to clot, and serum is obtained after
  and+Interpretive/8545), according to manufacturer's                removal of the clot by a centrifugation. The plasma samples
  instructions. Her serum cortisol level is 2.2 mcg/dl, consis- 45 from both the jugular vein and the IPS are assayed for ACTH
  tent with the presence of Cushing's syndrome.                      using Mayo Clinic's Test ID: ACTH, as described above.
     Next, a 24 hour urine collection is ordered to measure her      The serum samples are assayed for prolactin using Mayo
  urine free cortisol. 3 mL of her 24-hour urine specimen is         Clinic's Test ID: PLPMA, following the manufacturer's
  collected into a container, with the addition of 10 gram of        instructions. The results show that the prolactin level in her
  boric acid as a preservative. The sample is centrifuged and 50 left IPS is 25 ng/ml and right IPS is 24 ng/ml. The prolactin
  removed of precipitate before the assay. Cortisol content is       level in her jugular vein is 12 ng/ml. The ACTH level in her
  analyzed using Mayo Clinic Test ID: COCOU, according to            IPS is 800 pg/ml and the ACTH in her jugular vein is 200
  manufacturer's instructions (http://www.mayomedicallabo-           pg/ml.
  ratories.com/test-catalog/Specimen/82948). The test shows             Her IPSs (both left and right) to jugular vein prolactin
  a cortisol level of 180 mcg-4 fold of the upper limit of the 55 ratio is greater than 1.8, which reflects the correct central-
  normal range of cortisol for the test: 3.5-45 mcg. Based on        to-periphery gradient, thus confirming the correct position-
  her 24-hour urine excretion test result as well as her clinical    ing of the catheterization. Her IPSs to jugular vein ACTH
  symptoms, she is diagnosed as having Cushing's syndrome.           ratio is greater than 3, which indicates she has Cushing
  The next step is to measure ACTH to differentiate between          Disease.
  ACTH-dependent and ACTH-independent Cushing's syn- 60                 Although the foregoing invention has been described in
  drome.                                                             some detail by way of illustration and example for purposes
                                                                     of clarity of understanding, one of skill in the art will
          Example 3. Diagnosis of ACTH-Dependent                     appreciate that certain changes and modifications may be
                       Cushing's Syndrome                            practiced within the scope of the appended claims. In
                                                                  65 addition, each reference provided herein is incorporated by
     A blood test is then performed to determine her plasma          reference in its entirety to the same extent as if each
  ACTH level. 1 mL of whole blood sample is drawn from her           reference was individually incorporated by reference.
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     What is claimed is:                                               wherein
     1. A method of concurrently treating Cushing's syndrome           the dashed line is absent or a bond;
  and differentially diagnosing adrenocorticotropic hormone            X is selected from the group consisting of 0 and S;
  (ACTH)-dependent Cushing's syndrome in a patient where               R1 is selected from the group consisting of cycloalkyl,
  the differential diagnosis is between ectopic ACTH syn- 5               heterocycloalkyl, aryl and heteroaryl, optionally sub-
  drome and Cushing's disease, the method comprising the
                                                                          stituted with from 1 to 3 R1' groups;
  steps of:
     (i) selecting a patient with Cushing's syndrome and also          each   R1' is independently selected from the group con-
        elevated ACTH levels;                                             sisting of H, C1 _ 6 alkyl, C2 _ 6 alkenyl, C,6 alkynyl, C1 _ 6
     (ii) administering a dose of glucocorticoid receptor                 alkoxy, C1 _ 6 alkyl °Rib, halogen, C1 _ 6 haloalkyl, C1 _ 6
                                                                 10       haloaloxy, °Rib, NR1bR1c, C(0)Rib, C(0)0R1b,
        antagonist (GRA) sufficient to increase ACTH from the
        pituitary gland by at least two fold in persons with              OC(0)R1b, C(0)NR1bRic, NR1bC(0)R1c, SO2R1b,
        normal Hypothalamus Pituitary Adrenal (HPA) func-                 SO2NR1bR1c, cycloalkyl, heterocycloalkyl, aryl and
        tion;                                                             heteroaryl;
     (iii) waiting for at least two hours; and,                        Rib and Ric are each independently selected from the
     (iv) obtaining from the patient an ACTH concentration 15             group consisting of H and C1 _ 6 alkyl;
        ratio wherein the ratio is derived from the ACTH               R2 is selected from the group consisting of H, C1 _ 6 alkyl,
        concentrations in fluid obtained from either the left or          C1 _ 6 alkyl-OR1b, C1 _ 6 alkyl NR1bRlc and C1 _ 6 alkylene
        right inferior petrosal venous sinus and from fluid               heterocycloalkyl;
        obtained from a periphery venous sample;                       R3 is selected from the group consisting of H and C1 _ 6
  wherein an ACTH concentration ratio of greater than 3 for 2             alkyl;
  the ACTH concentration from the inferior venous sinus                AT is aryl, optionally substituted with 1-4 R4 groups;
  sample over the periphery venous sinus sample is diagnostic          each R4 is independently selected from the group consist-
  of Cushing's disease.                                                   ing of H, C1 _ 6 alkyl, C1 _ 6 alkoxy, halogen, C1 _ 6
     2. The method of claim 1 wherein the periphery venous                haloalkyl and C1 _ 6 haloalkoxy;
  sample is a jugular venous sample.                             25    Li is a bond or C1 _ 6 alkylene; and
     3. The method of claim 1 wherein the glucocorticoid               subscript n is an integer from 0 to 3,
  receptor antagonist is a selective inhibitor of the glucocor-        or salts thereof.
  ticoid receptor.                                                     13. The method of claim 10, wherein the glucocorticoid
     4. The method of claim 1 wherein a first and second            receptor antagonist backbone is a fused azadecalin.
  sampling of the ACTH concentrations in the are taken 5-10 3          14. The method of claim 13, wherein the fused azadecalin
  minutes apart from both the inferior petrosal venous sinus        is a compound having the following formula:
  and a periphery venous sample.
     5. The method of claim 1, wherein the glucocorticoid
  receptor antagonist comprises a steroidal backbone with at                                    RI
  least one phenyl-containing moiety in the 1113 position of 35                                   E LI
  the steroidal backbone.
     6. The method of claim 5 wherein the phenyl-containing
  moiety in the 1113 position of the steroidal backbone is a
  dimethylaminophenyl moiety.
     7. The method of claim 5, wherein the glucoocoricoid 40
  receptor antagonist is mifepristone.
     8. The method of claim 1, wherein the glucocorticoid
  receptor antagonist is selected from the group consisting of         wherein
  1113-(4-dimethylaminoethoxypheny1)-17a-propyny1-1713-                   Li and L2 are members independently selected from a
  hydroxy-4,9 estradien-3-one and (17a)-17-hydroxy-19-(4- 45                 bond and unsubstituted alkylene;
  methylphenyl)androsta-4,9(11)-dien-3-one.                               R1 is a member selected from unsubstituted alkyl,
     9. The method of claim 1, wherein the glucocorticoid                    unsubstituted heteroalkyl, unsubstituted heterocy-
  receptor antagonist is (1113,17(3)-11-(1,3-benzodioxo1-5-y1)-              cloalkyl, OR1A, NR1CR1D, C(0)NR1cRiD, and
  17 -hydroxy-17 -(1 -propynyl)estra-4,9-dien-3 -one.                            C(0)ORiA, wherein
     10. The method of claim 1, wherein the glucocorticoid 50             RiA is a member selected from hydrogen, unsubstituted
  receptor antagonist has a non-steroidal backbone.                          alkyl and unsubstituted heteroalkyl,
                                                                          — lc and RlD are members independently selected from
                                                                          it
     11. The method of claim 10, wherein the glucocorticoid
  receptor antagonist backbone is a cyclohexyl pyrimidine.                   unsubstituted alkyl and unsubstituted heteroalkyl,
     12. The method of claim 11, wherein the cyclohexyl                   wherein Ric and RlD are optionally joined to form an
  pyrimidine has the following formula:                          55          unsubstituted ring with the nitrogen to which they
                                                                             are attached, wherein said ring optionally comprises
                                                                             an additional ring nitrogen;
                            0                                             R2 has the formula:

                                                                    60


                                                                                             -X




                           R3
                                                                    65       wherein
                                                                             R2G is a member selected from hydrogen, halogen,
                                                                               unsubstituted alkyl, unsubstituted heteroalkyl,
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          unsubstituted cycloalkyl, unsubstituted heterocy-            each R2' is independently selected from the group
          cloalkyl, CN, and CF3;                                          consisting of hydrogen, halogen, hydroxy, C1 _ 6
       J is phenyl;                                                       alkoxy, C1 _ 6 haloalkoxy, CN, and NR2a R2b;
      t is an integer from 0 to 5;                                     each R2d is independently selected from the group
      X is S(02) ; and                                                    consisting of hydrogen and C1 _ 6 alkyl, or two R2d
       R5 is phenyl optionally substituted with 1-5 RSA groups,           groups attached to the same ring atom are combined
          wherein                                                         to form (=0);
       RSA is a member selected from hydrogen, halogen,                R3 is selected from the group consisting of phenyl and
             OR5A1, S(02)NR5A2R5A3,        CN, and unsubsti-              pyridyl, each optionally substituted with 1-4 R3a
                                                                 0
          tuted alkyl, wherein                                            groups;
       RSA' is a member selected from hydrogen and unsub-              each R3a is independently selected from the group
          stituted alkyl, and                                             consisting of hydrogen, halogen, and C1 _ 6 haloalkyl;
       RSA2 and RSA3 are members independently selected                   and
          from hydrogen and unsubstituted alkyl,                15
                                                                       subscript n is an integer from 0 to 3;
      or salts thereof                                                 or salts thereof
    15. The method of claim 10, wherein the glucocorticoid           17. The method of claim 15, wherein the octahydro fused
  receptor antagonist backbone is a heteroaryl ketone fused        azadecalin has the formula:
  azadecalin or an octahydro fused azadecalin.
    16. The method of claim 15, wherein the heteroaryl 20
  ketone fused azadecalin has the formula:

                                                                                                                         (R2 )1-4
                                 0 0
                                 % //                              25
                                  s
                             N                          (R2 )14
     N
         N
         R3                                                        30



    wherein
                                                                        wherein
      R' is a heteroaryl ring having from 5 to 6 ring members
                                                                        R' is a heteroaryl ring having from 5 to 6 ring members
         and from 1 to 4 heteroatoms each independently
                                                                   35      and from 1 to 4 heteroatoms each independently
         selected from the group consisting of N, 0 and S,
                                                                           selected from the group consisting of N, 0 and S,
         optionally substituted with 1-4 groups each indepen-              optionally substituted with 1-4 groups each indepen-
         dently selected from R"';                                         dently selected from R"';
      each R"' is independently selected from the group                 each R"' is independently selected from the group con-
         consisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 40          sisting of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,
         haloalkyl, C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, CN, N-ox-            C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, N-oxide, and C3 _8
         ide, C3 _ 8 cycloalkyl, and C3 _ 8 heterocycloalkyl;              cycloalkyl;
      ring J is selected from the group consisting of a                 ring J is selected from the group consisting of an aryl ring
         cycloalkyl ring, a heterocycloalkyl ring, an aryl ring            and a heteroaryl ring having from 5 to 6 ring members
         and a heteroaryl ring, wherein the heterocycloalkyl 45            and from 1 to 4 heteroatoms each independently
         and heteroaryl rings have from 5 to 6 ring members                selected from the group consisting of N, 0 and S;
         and from 1 to 4 heteroatoms each independently                 each R2 is independently selected from the group consist-
         selected from the group consisting of N, 0 and S;                 ing of hydrogen, C1 _ 6 alkyl, halogen, C1 _ 6 haloalkyl,
      each R2 is independently selected from the group con-                C1 _ 6 alkoxy, C1 _ 6 haloalkoxy, C1 _ 6 alkyl-C1 _ 6 alkoxy,
         sisting of hydrogen, C1 _ 6 alkyl, halogen, Cl            50      CN, OH, NR2aR2b, C(0)R2a, C(0)0R2a, C(0)
                                                                                   R2b sR2,7 s(0)R2,7 s(0)2R2,7, C3 8 cycloalkyl,
         haloalkyl, Cl alkoxy, C1 _ 6 haloalkoxy, C1 _ 6 alkyl-            NR2a         ,     ,         ,                _
         C1 _ 6 alkoxy, CN, OH, NR2aR , c(0   2b      )R2,7,  c(0)         and   C3 _ 8 heterocycloalkyl having from 1 to 3 heteroa-
         0R2a, C(0)NR2aR2b, SR2a, S(0)R2a, S(0)2R2a, C3 _ 8                toms each independently selected from the group con-
                                                                           sisting of N, 0 and S;
         cycloalkyl, and C3 _ 8 heterocycloalkyl, wherein the
                                                                   55   alternatively, two R2 groups on adjacent ring atoms are
         heterocycloalkyl groups are optionally substituted
                                                                           combined to form a heterocycloalkyl ring having from
         with 1-4 R2' groups;
                                                                           5 to 6 ring members and from 1 to 3 heteroatoms each
      alternatively, two R2 groups linked to the same carbon               independently selected from the group consisting of N,
         are combined to form an oxo group (=0);                           0 and S, wherein the heterocycloalkyl ring is option-
      alternatively, two R2 groups are combined to form a 60               ally substituted with from 1 to 3 R2c groups;
         heterocycloalkyl ring having from 5 to 6 ring mem-             R2a R2b and R2' are each independently selected from the
                                                                            ,
         bers and from 1 to 3 heteroatoms each independently               group consisting of hydrogen and C1 _ 6 alkyl;
         selected from the group consisting of N, 0 and S,              each R3a is independently halogen; and
         wherein the heterocycloalkyl ring is optionally sub-           subscript n is an integer from 0 to 3,
         stituted with from 1 to 3 R2d groups;                     65   or salts thereof.
      Rea and R2b are each independently selected from the              18. A method of concurrently treating Cushing's syn-
         group consisting of hydrogen and C1 _ 6 alkyl;               drome and obtaining a measurement indicative of differen-
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  tial diagnosis of adrenocorticotropic hormone (ACTH)-de-
  pendent Cushing's syndrome in a patient where the
  differential diagnosis is between ectopic ACTH syndrome
  and Cushing's disease, the method comprising the steps of:
     determining the ACTH concentration ratio from a patient 5
        with Cushing's syndrome and an elevated ACTH level,
     where the patient has been administered a dose of gluco-
        corticoid receptor antagonist (GRA) at least two hours
        prior to the removal of venous samples and
     where the amount of GRA administered to the patient is 10
        sufficient to increase ACTH from the pituitary gland by
        at least two fold in persons with normal Hypothalamus
        Pituitary Adrenal (HPA) function;
     wherein the ACTH concentration ratio is derived from the
        ACTH concentrations in fluid obtained from either the 15
        left or right inferior petrosal venous sinus and from
        fluid obtained from a periphery venous sample; and
     wherein an ACTH concentration ratio of greater than 3 for
        the ACTH concentration from the inferior venous sinus
        sample over the periphery venous sinus sample is 20
        indicative of Cushing's disease.
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 9,829,495 B2                                                                                     Page 1 of 1
APPLICATION NO.             : 15/236015
DATED                       : November 28, 2017
INVENTOR(S)                 : Andreas G. Moraitis

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



         In the Claims

         In Column 33, Claim 4, Line 30, remove "in the";

         In Column 33, Claim 7, Line 40, remove "glucoocoricoid" and insert --glucocorticoid--;

         In Column 35, Claim 16, Line 50, remove "halogen, C1 6" and insert --halogen, C1_6--; and,

         In Column 35, Claim 16, Line 51, remove "C16 alkoxy" and insert --Ci_6alkoxy--.




                                                                                 Signed and Sealed this
                                                                           Twenty-sixth Day of December, 2017

                                                                                      Si p
                                                                                                     Joseph Matal
                                                                                     Performing the Functions and Duties of the
                                                                              Under Secretary of Commerce for Intellectual Property and
                                                                              Director of the United States Patent and Trademark Office
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                        EXHIBIT C
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